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             1   Þrip_q J.Mill s (#21 607 8)
                 bmillslÐ,swlaw.com
             2   Anne lfwyer (#2882t6)
                 advwer(ò|swlàw.com
             J   SI\IÉTTì& WILMER L.L.P.
                 600 Anton Blvd, Suite 1400
             4   Costa Mesa, Califomia 92626-7689
                 Telephon e:' 7 14.427 .7 000
             5   Facsimile: 714.427.7799
             6   Attomevs for Defendants
                 Diamond Resorts Manasement. Inc. and
             7   Diamond Resorts Internãtional'
             I
                                          UNITED STATES DISTRICT COURT
             9
                                         CENTRAL DISTRICT OF CALIFORNIA
            10

            l1
                                                                 Case No.
ËlcË        t2
                                                                 NOTICE OF'REMOVAL OF
>läå        13                                                   ACTION UNDER 28 U.S.C.
ði23                                                             EE1441Ib) IDIVERSITN & 1453
itãú        t4                                                   (ÖuqsS Á,ðrroN) '
rrl I B?
      -E
ãt          15   general public similarly situated;

            t6                      Plaintiffs,
            t7              V

            18   DIAMOND RESORTS
                 MANAGEMENT, INC., an unknown
            t9   business entitv: DIAMOND RESORTS
                 INTERNATIÔNAL. an unknown
            20   business entity; and DOES 1 through
                 100, inclusivó'
            2l
                                    Defendants.
            22

            23

            24              TO TI{E CLERK OF THE ABOVE ENTITLED COURT:

            25              Defendants Diamond Resorts Management, Inc. and Diamond Resorts

            26   International ("Defendants") hereby remove the action entitled Autumn Smith,

            27   individually, and on behalf the general public similarly situated and on behalf of
            28   other aggrieved employees pursuant to the Caliþrnia Private Attorneys General

                                                      NOTICE OF REMOVAL

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          Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 2 of 114 Page ID #:2



            1   Act, et al. v. Diamond Resorts Management, Inc., et al, Case No. RICl510389,
            2   previously pending in the Superior Court of California, County of Riverside,
            J   pursuant to 28 U.S.C. $$ 1332(d),l44l(a),1446, and 1453.
            4               Defendants remove this case on the grounds that it is a class action in which
            5   there is minimum diversity between the parties, the proposed class contains at least
            6   100 members, and the amount in controversy exceeds $5                  million in the aggregate.
            7   Accordingly, the Class Action Fairness Act, codified in relevant part at 28 U.S.C.
            I   $ 1332(d) ("CAFA"), confers original jurisdiction in this Court.
            9               In support of removal of this action, Defendants allege as follows:
           10

           11                                               BACKGROUND
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     es    T2               1.    On August 28, 2015, Plaintiff Autumn Smith filed a Class Action
EIAA       t3   Compliant in the Superior Court of California, County of Riverside, Case No.
,ziE3
ilãü       t4   RIC1510389, alleging wage and hour violations. [A copy of the Class Action
âluÉ       l5   Complaint is attached as Exhibit            1.1

           I6               2.    PlaintifPs Complaint contained virtually no facts from which
           t7   Defendants could ascertain the basis for Plaintiff s claims.
           18               3.    On October 30; 2015, Plaintifß Autumn Smith and Alice Alvarez filed
           19   a First Amended Class        Action Complaint ("FAC"). [A copy of the FAC is attached
           20   as   Exhibit2.l Onthis      date,   Plaintiffs' also served by U.S. Mail      a copy of their FAC

           2t   on counsel for Defendants.          [,See   FAC.] Therefore, service \¡/as deemed complete on
           22   November 4,2015. See Cal. Civ. Code $ 1013.
           23               4.    It was not until November 4,20t5, upon being served with Plaintiffs'
           24   FAC, which contained additional facts             as to the basis   of Plaintifß' claims, that
           25   Defendants first became aware the case was removable. Therefore, removal is
           26   timely in that it is filed within 30 days of service the FAC. 28 U.S.C. $ 1446(bX3)
           27   ("if the case stated by the initial pleading         is not removable, a notice of removal may

           28   be filed within thirty days after receipt by the defendant, through service or
                                                                   -2-
                                                            NOTICE OF REMOVAL

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       Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 3 of 114 Page ID #:3



         I   otherwise, of a copy of an amended pleading, motion, order or other paper from
         2   which it may first be asceftained that the case is one which is or has become
         a
         J   removable"); Harris v. Bankers Life & Cas. Co., 425 F.3d 689, 693-94 (9th Cir.
         4   200s).
         5              5.    On December 3, 20!5, Defendants filed an answer to Plaintiffs' FAC.
         6   A copy of the answer is attached         as   Exhibit 3.
         7

         I                                    BASIS F'OR JURISDICTION
         9              6.    28 U.S.C. $ 1332(d)(2) provides that:

        10                    The district courts shall have original jurisdiction of any
                              civil action in which the amount'ín cohtroversv exceeds
ús      1l                    the sum or value of $5,000,000, exclusive of iirterest and
                              costs, and is a class aciion in which-
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                              lA)    anv member of a class of olaintiffs is a citizen of a
        13                    Státe different from any defendaït;
diâ8
ltãÉ    t4                    (B)    any member of a class of plaintiffs is a foreign state
                              or a citizén or subject of a foreigh state and any citízen of
BluÊ    15                    a State; or
        t6                    lC)    anv member of a class of plaintiffs is a citizen of a
                              Státe and any defendant is a foréign state or a citizen or
        t7                    subject of a foreign state.
        18              7.    As defined by 28 U.S.C. $1332(dX1XB), "the term 'class action'
        t9   means any       civil action   f,rled under rule 23 of the Federal Rules of   Civil Procedure or
        20   similar State statute or rule ofjudicial procedure authorizing an action to be brought
        2l   by    1 or more representative persons as a class action." The       FAC expressly alleges
        22   that "Plaintiffs bring this action on their own behalf and on behalf of all other
        23   members of the general public similarly situated, and thus, seeks class certification
        24   under California Code of Civil Procedure section 382." [FAC,'l!T 14.] This case is
        25   therefore a "class action" under 28 U.S.C. $ 1332(d)(1XB).
        26              8.    "CAFA provides the federal district courts with 'original jurisdiction'
        27   to hear a'class action' if the class has more than 100 members, the parties are
        28   minimally diverse, and the 'matter in controversy exceeds the sum or value of
                                                               -3-
                                                      NOTICE OF REMOVAL

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                 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 4 of 114 Page ID #:4



                   1   $5,000,000."' Standard Fire Ins. Co. v. Knowles,133 S. Ct. 1345,1348 (2013).
                   2   Class actions that meet the above requirements are removable under 28 U.S.C.                     $

                   J   1453(b). Each of the requirements is satisfied in this action.
                   4

                   5     THIS CASE SATISFIES THE MINIMAL DIVERSITY REQUIREMENTS
                   6                                         oF 28 U.S.C. $ 1332
                   7               9.    Diamond Resorts Management, Inc. was, at the time filing of this
                   I   action, and still is a corporation incorporated under the laws of the state of Arizona
                   9   with its principal place of business in Clark County, Nevada. Diamond Resorts
                  10   International was, at the time of filing, and still is a corporation incorporated under
                  l1   the laws of the state of Delaware with its principal place of business in Clark
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¡    leË          t2   County, Nevada. Therefore, the Defendants are citizens of the states of Arizona,
F lHi
   dAaJ
                  13   Delaware and Nevada. See 28 U.S.C. $1332(c) ("a corporation shall be deemed to
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J                 t4   be a citizen of every State and foreign state by which it has been incorporated and
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U)                15   of the State or foreign state where it has its principal place of business"). The
                  16   Defendants are not citizens of California. Plaintiffs Autumn Smith and Alice
                  t7   Alvarezwere, at the time of filing of this action, and still are domiciled in and
                  18   citizens of the state of California.lSee FAC,         lTT   5   &   6.1   Accordingly, the parties are
                  t9   diverse for purposes of removal under CAFA, which requires only that "any
                  20   member of a class of Plaintiffs is a citizen of a State different from any defendant."
                  2T   28 u.S.C. $ 1332(d)(2XA).

                  22

                  z5                        ARE M RE THAN lOO PUTATIVE
                  24               10.   Plaintiffs' FAC alleges   a putative class        of more than 100 members.
                  25   Plaintiffs define the putative class as:
                  26                     All current   and former hourly-paid or non-exempt

                  27                     employees who worked for any of the Defendants within
                  28                     the State of Califomia at any time during the period from
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                                                              NOTICE OF REMOVAL

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          1                           August 28,2011 to final judgment
          2   [FAC,       1T   1s.]

          J               11.         From August 28,2011 through December 2,2015, Defendants
          4   employed approximately I,447 hourly-paid and non-exempt employees in
          5   California. [Declaration of Erion Knighton in Support of Defendants' Notice of
          6   Removal ("Knighton Decl."), T 2(a).]
          7

          I                                        T       T F'IVE MILLION IN
          9               12.         A defendant seeking removal of a putative class action satisfies the
         10   amount in controversy requirement by establishing by a preponderance of the

ús       ll   evidence that the aggregale amount in controversy exceeds five million dollars.
Ëles     t2   Rodriguez v. AT&T Mobility Serv. LLC, 728F.3d975,981 (9th Cir.2013). "Said
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FIãË     l3   burden is not daunting, as courts recognize that under this standard a removing
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ilEd     T4   defendant is not obligated to research, state, and prove the plaintiff s claims for
âluÊ     15   damages." Muniz v. Pilot Travel Centers, LLC, No. CIV 5-07-0325, 2007 WL

         T6   1302504, at*Z (8.D. Cal. May t,2007) (internal quotations and citations omitted).
         t7   "[A] defendant's notice of removal               need include only a plausible allegation that the

         18   amount in controversy exceeds the jurisdictional threshold." Dart Cherokee Basin
         I9   Operating Co., LLC v. Owens, 135 S. Ct. 547,554 (2014).
         20               13.         \Mhen determining the amount in controversy, the court must assume

         2l   that the allegations in the complaint are true and that a jury will return a verdict in
         22   the   plaintiff         s favor on   all claims in the complaint. Kenneth Rothschild Trust   v.

         23   Morgan Stanley Dean Witter,199 F. Supp. 2d993,1001 (C.D. Cal. 2002); see also
         24   Coleman           v. Estes Express Lines, lnc.,730 F. Supp. 2d II41, I 150 (C.D. Cal. 2010)
         25   ("Plaintiff included no limitation on the number of violations, and, taking the
         26   complaint as true, Defendants could properly calculate the amount in controversy
         27   based on a 100% violation rate.");              Kornv. Polo Ralph Lauren Corp.,536 F. Supp.
         28   2d 1199,1206 n.4 (8.D. Cal. 2008) ("Plaintiff cannot avoid satisfaction of the
                                                                    -5-
                                                            NOTICE OF REMOVAL

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         Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 6 of 114 Page ID #:6



           I   amount in controversy by arguing that the class plaintiffs maybe awarded less than
           2   the statutory maximum. The critical inquiry is the amount placed in controversy by
           J   the allegations in plaintiff s complaint."). "The ultimate inquiry is what amount is
           4   put 'in controversy' by the plaintiff s complaint, not what a defendant will actually
           5   owe." Korn,536 F. Supp. 2d at 1205 (emphasis in original).
           6                 14.       A defendant    can establish the amount in controversy through

           7   "affidavits or declarations or other 'summary-judgment-type evidence."' Ibarra                  v.

           I   Manheim Investments, 775 F.3d 1193,lI97 (9th Cir. 2015). Defendants need not
           9   produce detailed records to satisff their evidentiary burden. See Jones v. Tween
          l0   Brands,        ,Dec.,   No.14-cv-01631,2014 WL 1607636, at*2 (C.D. Cal. Apr. 22,2014)
          1l   ("While fplaintiff] argues that [the defendant] must provide the payroll data upon
Ëles
Jleâ      T2   which fdefendant's representative] relies to support removal, the Court finds that
FIãË      l3   fthe defendant] is not required to meet such a high burd.t."); Muniz, No. 07-cv-
Øi 2R
JIEó      t4   0325, 2007          WL     1   302504, at *7 ("There is no obligation by defendant to support
lr| 8Í
ãt-E      15   removal with production of extensive business records to prove or disprove liability
          l6   andlor damages with respect to plaintiff or the putative class members at this
          t7   premature þre-certification) stage of the litigation.").
          18                 15.       Plaintiffs' FAC alleges claims for overtime violations, meal period
          t9   violations, rest break violations, minimum wage violations, waiting time penalties,
          20   wage statement penalties, unreimbursed business expenses, violation of California
          2T   Business and Professions Code, and violation of the Private Attorneysl General
          22   Act. [FAC.]
          23                 16.       Even when only considering potentiãIlamages on some of these
          24   claims, the amount in controversy exceeds five million dollars.
          25                                            Wage Statement Penalties
          26                 17.       Under Labor Code section 226, an employee suffering an injury as a
          27   result of an employer's failure to issue accurate and compete wage statement is
          28   "entitled to recover the greater of all actual damages or fifty dollars ($50) for the
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              I   initial pay period in which     a   violation occurs and one hundred dollars ($100) per
              2   employee for each violation in a subsequent pay period." Penalties for violations         of
              J   Labor Code section 226 are limited to a one year statute of limiøtions. Cal. Code
              4   Civ. Proc. $ 3a0(a).
              5               18.   Plaintifß' FAC alleges, "[aJt all material times    set forth herein,

              6   Defendants failed to provide complete or accurate wage statements to Plaintiffs and
              7   the other class members." [FAC, fl 55 (emphasis added).] Further, Plaintifß allege
              8   that "Defendants have intentionally and willfully failed to provide Plaintifß and the
              9   other class members with complete and accurate wage statements. The deficiencies
             10   include, but are not limited to: the failure to include the total number of hours

ú            1l   worked by Plaintiffs and the other class members." [FAC,         11   115.]
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E            I2               19.   Plaintiffs further allege that Defendants "engaged in a uniform
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      ctx
      lE     13   policy/practice of wage abuse against their hourly paid or non-exempt employees
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J            T4   within the State of California. This uniþrm policy/practice involved, inter alia,
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U)           t5   failing to pay them for all regular and/or overtime wages earned, missed meal
             t6   periods and rest breaks in violation of California law." [FAC, fl 34 (emphasis
             l7   added).1

             18               20.   Taking Plaintiffs' allegations at true, Defendants' "uniform
             t9   policy/practice" of failing to pay for all regular and overtime hours worked and
             20   missed meal periods and rest breaks resulted in Defendants issuing inaccurate wage

             2t   statements'oat all material times." Based on these allegations, it is appropriate for

             22   removal purposes to calculate wage statement penalties based on a l00o/o violation
             23   rate. See Leos v. Fed. Exp. Corp., No. 14-cv-02864,2014 WL 2586866, at*6 (C.D.

             24   Cal. June lO,2014) (appropriate to assume each wage statement contained a
             25   violation when complaint alleged that the defendant "did not pay in full for all
             26   hours worked, including overtime" and that the defendant "applied this illegal wage
             27   device uniformly to all Class Members"); (Jnutoa v. Interstate Hotels and Resorts,
             28   1nc.,      No. 14-cv-09809,2015 \ML 898512,at * 3 (C.D. Cal. March3,2015) (finding
                                                           -7 -
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             I   100% violation rate for wage statement penalties was appropriate where                          plaintiff
             2                          "routinely" failed to provide accurate wage statements);
                 asserted that defendants
             a
             J   Fordv. CEC Ent.,1rzc., No. I4-cv-01420,2014WL3377990,at *5 (N.D.Cal. July
             4   I0,2014) (given the "general averments" in the complaint, it was reasonable to
             5   assume each wage statement given to each putative class member may have

             6   violated Labor Code ç 226).
             7               21.       From August 28,2014            - one year prior to Plaintifß' filing their
             8   Complaint         -   through December 2,2015, Defendants employed 893 employees who
             9   worked roughly 27,227 weeks. fKnighton Decl., T 2(d).] During this time,
            10   Defendants issued around 13,783 wage statements.lld.l

ú      g    11               22.       Therefore, potential damages on Plaintiffs' wage statement claim are
tr.l

ã lcs       T2   $1,333,650 based on the following calculations:
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F +_ot                         .                                                                                              :
     êõ     13                         $50   X    893 (which is the appropriate number of first time violations)
,z I áÕ-
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J tE6       t4                         s44,650.
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U)          15                 .       $   100   X 12,890 (which      is the appropriate number of subsequent

            t6                         violations)    :   $   t,289,0001.
            I7                 .       544,650 + $t,289,000: S1,333,650.
            18                                                 Off-the-Clock Overtime
            r9               23.       Under California law, an employer must pay all employees for all
            20   hours worked and must pay employees at overtime rates for all hours worked over                                  8

            2t   hours in one day or 40 hours in one week. Cal. Labor Code $$                       510,II97 &        1198.

            22   Claims for failure to pay overtime wages have a three year statute of limitations.
            23   Cal. Code Civ. Proc. 338(a); Aubry v. Goldhor,201 Cal. App. 3d399,406-07
            24   (1988). Plaintifß attempt to add an additional year to this claim as an unlawful
            25   business practice, for a total of four years of purported violations. See Cal. Bus.                       &
            26   Prof. Code 17208.
            27   I
                  Penalties under Labor Code section 226 are capped at $4,000 per employee, The $4,000 cap is not reached by any
            28   employee here because there were only 66 weeks and 33 bi-weekly wage statements issued between August 28,2014
                 and December 2,2015, resulting in a maximum penalty of $3,250 per employee.
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              1              24.         Plaintifß' FAC alleges, "[a|t all material times   set forth herein,

              2   Defendants failed to pay overtime wages to Plaintiffs and the other class members
              J   for all hours worked. Plaintiffs and the other class members were required to work
              4   more than eight (8) hours per day and/or forty (40) hours per week without
              5   overtime compensation." [FAC, n49, see also FAC, TT 65 &,66.l Plaintiffs
              6   specifically claim that "fd]uring the relevant time period, Plaintiffs and the other
              7   class members worked in excess of eight (8) hours in a day, and/or in excess                  of
              I   forty (40) hours in          a week   performing work duties off the clock and during meal
              9   periods and rest periods including, but not limited to, performing customer service,
             10   responding to business-related inquires, filing and providing cove rage." [FAC,                lT


ú      g     1l   65.] Further, Plaintiffs claim, "fd]uring the relevant time period, Defendants
LII

3 leË        t2   intentionally and willfully failed to pay overtime wages owed to Plaintiffs and the
F låi        13   other class members. Plaintiffs and the other class members did not receive
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 J tåÉ       t4   overtime compensation and one-and-one half times their regular rate of pay for all
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             15   hours spent performing job duties in excess of eight (8) hours in a day or forty (40)
             t6   hours in a week or for the first eight (8) hours worked on the seventh day of work."
             I7   [FAC,      11   66.]
             18              25.         Plaintiffs' allege that Defendants' failure to pay overtime to employees
             t9   was part of "a uniform policy/practice of wage abuse against their hourly paid or
            20    non-exempt employees within the State of California." [FAC, 1T34.]
            2I               26.         Given Plaintifß' broad allegations, that "at all material times"
            22    Defendants 'oengaged in a uniform policy/practice" of failing to pay employees for
            23    off-the-clock time at overtime rates, one hour of overtime per week, per employee
            24    is a conservative approximation of the amount in controversy for Plaintifß'
            25    overtime claims. Jasso v. Money Mart Express,1nc., No. 11-cv-05500,2012WL
            26    699465, at *5 Of.D. Cal. Mar. 1,2012) (denying remand based on estimate of one
            27    hour of overtime per week when plaintiff alleged that "Defendants engaged in a
            28    uniform policy and systematic scheme of wage abuse against their hourly paid or
                                                        -9 -
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          1   non-exempt employees"); Wilsonv. Best Buy Co.,1nc., No. 10-CV-03136,201I
          2   WL 445848, at *2 (8.D. Cal. Feb. 8,2011) (One hour per week assumption
          a
          J   appropriate when plaintiff "alleged that '[d]uring the relevant time period, Plaintiff
          4   and the other class members worked in excess of eight (8) hours in a day . . . [and]

          5   in excess of forty (40) hours in a week."'); Jimenez v. Allstate Ins. Co., No. 10-cv-
          6   08486,     20ll WL 65764, at*3       (C.D. Cal. Jan. 7,2011) ("Defendant's calculations
          7   were reasonable and conservative. Defendant estimated one hour of unpaid
          8   overtime compensation per week for each putative class member and arrived at a
          9   figure of $6,356 ,039.04 for the class period.").
         10              27.   Here, Defendants' employed I,447 hourly-paid, non-exempt
         11   employees in Califomia, who collectively worked approximately 65,I99 weeks

Ëls$     t2   between August 28,2011 and December 2,2015. fltuighton Decl.,'ìTlT2(a) & (b).]
FIAX     13   These employees' average base hourly wage is $10.83. fKnighton Decl.,'1T2(e).]

ETäË     t4   The majority of employees worked full time; therefore, any alleged off-the-clock
BluË     15   work would be at overtime rates.fld.l
         t6              28.   Potential damages on Plaintifß' overtime claim is $1,059,157 based on
         t7   the following calculation:
         l8                .   65,lgg weeks worked x t hour overtime per week x $10.832 (which is
         t9                    the average base hourly wage for Defendants' California Non-Exempt
         20                    employees)   x   1.5 (overtime premium   multiplier):   $1,059,157
         2I                                 Meal and Rest Period Violations
         22              29.   Under Labor Code section 226.7, a plaintiff is entitled to one
         23   additional hour of pay for each workday that ameal period was not provided and
         24   for each workday that rest break was not provided. Cal. Labor Code $226.7(c).
         25
              t
                  "[I]n calculating [the] amount in controversy, the average wage of class members
         26
              is an appropriate rubric for assessing wages as well as penalties based on wage-and-
         27   hour violations ." Leos,, No. 14-cv-02864,2014 \ML 2586866, at *5; see also, Jasso,
              No. 11-cv-05500,2012 WL 699465, af *4-5.
         28
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                                                     NOTICE OF REMOVAL

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       Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 11 of 114 Page ID #:11



          1   Plaintiffs bring their meal period and rest break claims as unlawful business
          2   practices; therefore, these claims have a four year statute of limitations. Bus.    &
          J   Prof. Code $ 17208; Cal. Code Civ. Proc. $ 338(a).
          4         30.       With respect to meal periods, Plaintiffs' FAC alleges:
          5                   Defendants failed to relieve Plaintiffs and the other elass
          6                   members of all duties, failed to relinquish control over
          7                   Plaintiffs and other class members activities, failed to
          8                   permit Plaintiffs and the other class members a
          9                   reasonable opportunity to take and impeded or

         10                   discouraged them from taking thirty (30) minute

ùs       11                   uninterrupted meal breaks no later than the end of their
Ëles
JleS     12                   f,rfth hour of work for shifts lasting at least (6) hours,
FIãä     l3                   andlor to take second thirty (30) minute unintemrpted

ÉÏëË     t4                   meal breaks no later than their tenth hour of work for
äluË     15                   shifts lasting more than ten (10) hours.
         T6   [F'AC, T 38.]
         t7          31.      With respect to rest periods, Plaintiffs allege:
         l8                   Defendants failed to provide, authorize, and permit
         t9                   Plaintiffs and other class members to take full,
         20                   unintemrpted, off-duty rest periods for every shift lasting
         2l                   three and one-half (3.5) to six (6) hours andlor two full,
         22                   uninterrupted, off-duty rest periods for every shift lasting
         23                   six (6) to ten (10) hours, and failed to make a good faith
         24                   effort to provide, authorize, and permit such rest breaks
         25                   in the middle of each work period.
         26   [FAC, 1T40.]
         27          32.      Further, Plaintiffs' claims that" [aJt all material times set forth herein,
         28   Defendants failed to provide the requisite uninterrupted meal and rest periods to
                                                       - 11-
                                                    NOTICE OF REMOVAL
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                     I    Plaintiffs and other class members. [FAC, fl 51 (emphasis added).]
                     2                 33.   Again, Plaintifß allege Defendants' failure to provide meal periods
                     ^J   and rest breaks was a "uniform policy/practice of wage abuse against their hourly

                     4    paid or non-exempt employees within the State of California." [FAC,n34.]
                     5                 34.   Based on the allegations in    Plaintifß' FAC,   a conservative

                     6    approximation of the amount in controversy is based on one meal period and one
                     7    rest break violation per week. See Jasso, No. 1 1-cv-05500, 2012           WL 699465, at * 5
                     I    (one meal and one rest break premium per week was a "reasonable and

                     9    conservative estimate"); Quintana v. Claire's Stores,Inc., No. 13-0368, 2013 WL
                    10    1736671, *6 (N.D. Cal. Apr.22,2013) ("Based on Plaintiff s allegations that class

                    11    members ooften' had to forego meal or rest breaks . . ..the court finds Defendants'
ú
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ã lsË               l2    estimates of one meal or rest break violation per week is an acceptable method to
  lã;
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                    13    calculate possible damages for these claims."); Giannini v. Nw.           Mut Life Ins. Co.,
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J                   T4    No. C 22-77 WC,2012 WL 1535196, at*3 (N.D. Cal. Apr. 30, 3012) (finding
rr]
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U)                  15    assumption of one missed meal period and one missed rest period per day was not
                    T6    "arbitrary or conjecture" given the complaint's broad allegations).
                    I7                 35.   As mentioned above, Defendants had I,447 hourly paid, non-exempt
                    18    employees in Califomia who worked approximately 65,199 weeks collectively
                    I9    from August 28, 2011 to December 2,2015. fKnighton Decl., Tll 2(a) & (b).]
                    20                 36.   Together, the approximate damages for Plaintiffs' meal period and rest
                    2l    break claims are       $1   ,412,210:
                    22                   .   65,199   x 1 meal period violation x $10.83 (the average    base hourly

                    23                       wage):     $706,105
                    24                   .   65,lgg x   1   rest break violation x $10.83 (the average base hourly

                    25                       wage):     $706,105
                    26                          Failure to Timely Pay Wages Upon Termination
                    27                 37.   Under Labor Code section 203, if an employer fails to pay any wages
                    28    due and owing to an employee who is discharged or quits, "the wages of the
                                                                           -12-
                                                                    NOTICE OF REMOVAL

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                Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 13 of 114 Page ID #:13



                   1   employee shall continue as a penalty from the due date thereof up to a maximum
                   2   penalty of 30 days of wages. Cal. Labor Code $ 203. The statute of limitations for
                   a
                   J   failure to timely pay wages upon termination of employment is three years. Pineda
                   4   v. Bank of Am., 50 Cal. 4th 1.389,1398-1401 (2010); Cal. Code Civ. Proc. 338(a).

                   5              38.   In the FAC, Plaintiffs allege that" [aJt all material times set forth
                   6   herein, Defendants failed to pay Plaintiffs and the other class members all wages
                   7   owed to them upon discharge or resignation." [FAC, T 53.] Also, "Plaintiffs and the
                   8   other class members did not receive all wages, eamed and unpaid, within seventy-
                   9   two hours of their leaving defendants employ." [FAC, T 102.] Therefore, according
                  10   to Plaintiffs' FAC, "Plaintiffs and the other class members are entitled to recover
                  11   from Defendants the statutory penalty wages for each day they were not paid."
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    l:F           t2   IFAC, T 106.1
F= tlaâ
      uo          13              39.   Plaintiffs' claim for waiting time penalties is allegedly based on
,z I ðÕ"
      JÉ'


 J                t4   Defendants' "uniform policy/practice of wage abuse." [FAC,I34.]
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(n                15              40.   Given these allegations Defendants can reasonably calculate waiting
                  t6   time penalties for removal purposes based on a I00Yo violation rate, i.e. full pay for
                  l7   thirty days. Coleman, 730 F. Supp. 2d at I 150 ("Plaintiff included no limitation on
                  18   the number of violations, and, taking his complaint as true, Defendants could
                  19   properly calculate the amount in controversy based on a I00Yo violation rate.");
                  20   Ford, l4-cv-01420,2014 WL 3377gg0 at*3 (allegations that "Defendant regularly
                  2l   required Plaintiff and class members work off-the-c1ock" and "Defendants also had
                  22   apolicy and/or prqctice of not paying meal period premiums" reasonably supported
                  23   a l00Yo violation rate assumption for 203 penalties).
                  24              4I.   Defendants had 924 non-exempt employees in California who
                  25   terminated their employment with Defendants between August 28,2012              -   three

                  26   years prior to Plaintiffs' filing their Complaint    - and December 2,2015. [Knighton
                  27   Decl., I2(Ð.1 The majority of these employees worked full time. [Knighton Decl., fl
                  28   2(e).1
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        Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 14 of 114 Page ID #:14



           I                42.       Potential penalties under Labor Code section 203 are $2,401,660:
           2                      a   924 employees x S10.83 x 8 hours x 30 days:$2,401,660
           J                                                    **¡&r&:È

           4                43.       In sum, the amount in controversy based solely on Plaintiffs' claims
           5   for wage statement penalties, ofÊthe-clock overtime, meal period violations, rest
           6   breaks violations, and waiting time penalties is over $5,000,000:

           7                      . Wage Statements Penalties:           $1,333,650
           I                      . Overtime:                            $I,059,I57
           9                      . Meal and Rest Periods:               51,412,210.
          l0                      o Waiting Time Penalties:              S2,401 ,660.

          11                      . Total:                               9612061677

HleË      t2
FIäã      l3                                               Attorneyst      X'ees
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¡låÉ      t4                44.       Plaintiffs also seek recovery of attorney's fees. [FAC, Prayer for
âluË      15   Relief.] Both mandatory and discretionary attorneys' fee awards can be considered
          I6   by the Court in determining the jurisdictional amount. Gatt G/S v. -rSS Scandinavia,
          T7   l42F.3d 1150, 1156 (9th Cir. 1998) ("[W]here                  an underlying statute authorizes an

          18   award of attomeys' fees, either with mandatory or discretionary language, such fees
          t9   may be included in the amount in controversy."). Courts in this circuit have held
          20   that, for purposes of calculating the amount in controversy in a wage-and-hour class
          2l   action, removing defendants can reasonably assume that plaintiffs are entitled to
          22   attorney fees valued at approximately twenty-five percent of the projected damages.
          23   See e.g., Jasso,          No. 11-cv-5500,20I2WL 699465, at*6-7 (noting that "it is well
          24   established that the Ninth Circuit 'has established 25o/o of the common fund as a

          25   benchmark award for attorneys fees"' (quoting Hanlon v. Chrysler Corp., 150 F.3d
          26   1   01, 1029 (9th Cir. 1998)); Giannini, No. C 12-77 CW , 2012 WL 1 535196 aI" * 4
                        1


          27   (finding defendants' calculation of attorneys' fees based on25o/o of the sum of
          28   amounts placed in controversy was not unreasonable).
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          Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 15 of 114 Page ID #:15



             I               45.   Assuming25% attorneys' fees on the above calculated amount in
             2   controversy of 56,206,677, attomeys' fees would be            $1   ,557,669. This brings the
             J   amount in controversy up to at least 57,758,346.
             4               46.   Accordingly, the amount in controversy here far exceeds the
             5   jurisdictional threshold.
             6

             7                                              VENUE
             8               47.   Venue is proper pursuant to 28 U.S.C. $ 1aa6(a) and l44l(a) because
             9   this Court is the United States District Court for the "district and division
            10   embracing the place where" the action was filed, i.e., Riverside County, Califomia.
            11
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     c*     l2                                       WRITTEN NOTICE
EIãa        13               48.   Pursuant to 28 U.S.C. $ 1446(d), written notice of the filing of this
ði2s
ilãË        t4   Notice of Removal will be promptly served upon all parties andlor counsel. A copy
âluË        l5   of the Notice of Removal will be promptly f,rled with the Clerk of the Superior
            16   Court of California, County of Riverside. A copy of the Notice that will be
            t7   provided to the State Court and to Plaintiffs is attached as Exhibit 4.
            l8
            T9               49.   The removal of this action to the united States District Court for the
            20   Central District of Califomia does not waive the ability of Defendants to assert any
            2l   defense in this action.

            22

            23   Dated:            December 4,2015                   SNELL & WILMER L.L.P.
            24

            25                                                       By :/s/ Anne
            26                                                                      for Defendant
                                                                                   Resorts Manasement. Inc.
            27                                                            and Diam on d Resorts In"ternati ónal
            28
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                                                      Exhibit                     1
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       SHORT TITLE;                                                                                        CAgE NUMBER3



   - Smith vs. Diamond Resorts Management,                        Ino., et al.


                                                                INSTRUCT]ONS FOR USE
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      t    lf thls attachment ls used, lnserl the followlng stEtement ln lhô plâlntlff or defendant box on the summons: 'Addltlonal Parllos
           Attaohment form ls attaohed.'l

      Llst add¡tlonal partles (Chec| only one box. Use a separate page lor each type        of   pafi.):

          If     Plalntlff l7l               Dofendant   EJ   Cross-Complalnant   I    cross-Defondant

      DIAMOND RESORTS INTERNATIONAL,                                 an unknown business entity; and DOES 1 through 100,
      inclusive,




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  SUM'200{A) lRðv. Jonusry 1, 2007¡                           Attachmont to summon8
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      SHORTTITLE:
                                                               Inc., et al,
   - Smith vs. Diamond Resorts Management,
                                                              INSTRUCTIONS FOR USE
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     *   lf thls attachment ls used, lnsert the followlng slatement ln the plalntiff or defendant box on thE summons: "Addltlonal Parties
         Attachment form ls âttached."

      Llst addltlonal partles (Chec| only one box. Use a sepamle page for oach lype       of   parly.):

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     and on behalf of other members of the general public similarly situated and on behalf of other aggrieved
     employees pursuant to the California Private Attomeys Genoral Act;




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             I          COMES NOW, Plaintiff AUTUMN SMITH ("Plaintiff'), individually, and on
             2   behalf of other members of the general public similarly situated and on behalf of other
             3   aggrieved employees pursuant to the California Private Attorney General Act, and

             4   alleges as follows:

             5                                 JURISDICTION AND YENUE
             6          1.     This class action is brought pursuant to the California Code of Civil

             7   Procedure section 382, The monetary damages and restitution sought by Plaintíff

             8   exceeds the minimal jurisdiction limits of the Superior Court and            will   be established

             9   according to proof at   trial. The "amount in controvetsy" for          the named Plaintift,

            10   including claims for compensatory damages, restitution, penalties,            \ryages, premium pay,

U                and pro rata share of attorneys' fees, is less than seventy-five thousand dollars
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f, Ë'F      13          2,     This Court   has   jurisdiction over this action pursuant to the California
iåÉ         l4   Constitution, Article VI, Section 10, which grants the superior court "original
e.¡ Q
pÈË         15                in all other causes" except those given by statute to other courts. The
Ëss
<o          L6   statutes under which this action is brought do not speciff any other basis for
5"          17

            l8          3.     This Court has jurisdiction over Defendants because, upon information

            19   and belief, Defendants are citizens of Califomia, have sufficient minimum contacts in

            20   California, or otherwise intentionally avail themselves of the California market so as to
            2l   render the exercise ofjurisdiotion over them by Califotnia courts consistent with

            22   traditional notions of fair play and substantial justioe.
            23          4.     Venue is proper in this Court because, upon information and belief,
            24   Defendant maintains offices, has agents, employs individuals, and/or transacts business

            25   in the Statc of California, County of Riverside. The majority of acts and omissions
            26   alleged herein relating to Plaintiff and the other class members took place in the State

            27   California, including the County of Riverside.

            28   t//
                                                                   2
                   CLASS ACT¡ON COMPLAINT FOR DAMAGES   &   ENFORCEMENT I'NDER THE PRIVATE ATTORNEYS CENERAL ACT,
                                  CAL¡FoRN¡A LABoR coDE 0 2698, ET SEQ. ewp   Dnvnì¡n   FoR JURY TRIAL
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 22 of 114 Page ID #:22



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           I                                            PARTIES

           2           5.      Plaintiff AUTUMN SMITH is an individual residing in the State of
           3   California.
           4          6,       Defendant DIAIvIOND RESORTS I\4ANAGEMENT, INC., at all times

           5   herein mentioned, was and is, upon information and belief, an unknown business entify,

           6   and at all times herein mentioned, an employer whose employees are engaged

           7   throughout the State of California, including the County of Riverside.

           8          7.       Defendant DLAMOND RESORTS INTERNATIONAL, at all times herein

           9   mentioned, was and is, upon information and belief, an unknown business entity, and at

          l0   all times heroin mentioned, an employer whose employees are engaged throughout the.
u
ÍLm       il   State of Califomia, including the County of Riverside.
   o
ii+   n   t2          8.       At all relevant times, DefendantDIAMOND RESORTS
l-Ulã
úl 9'o         MANAGEMENT, INC. and DIAMOND RESORTS INTERNATIONAL were the
:) Ë'Ë    l3
îåÊ       l4   "employer" of Plaintiff within the meaning of all applicable California laws and
€.¡.s.
p5Ë       ls   statutes.
Ëss
<o        l6          9,       At all times herein relevant, Defendants DIAMOND        RESORTS
s*        t7   MANAGEMENT, NC., DIAMOND RESORTS INTERNATIONAL, and DOES I through
          l8   100, and each of them, \ilere the agents, partners,   joint venturers, joint employers,

          l9   representatives, servants, employees, successors-in-interest, co-conspirators and/or

          20   assigns, each of the other, and at all times relevant hereto were acting within the course

          2l   and scope of their authority as such agents, partners,   joint venturers, joint employers,

          22   representatives, servants, employees, successors, co-conspirators and/or assigns, and all

          23   acts or omissions alleged herein were duly committed with the ratification, knowledge,

          24   permission, encouragement, authorization and/or consent of each defendant designated

          25   as a DOE herein.

          26           10.     The true names and capacities, whether corporate, associate, individual or

          27   otherwise, of defendants DOES I through 100, inclusive, ate unknown to Plaintiff who

          28   sues said defendants by such    fictitious names. Plaintiff is informed and believes, and

                                                             3

                 CLASS ACTION COMPLAINT FOR DAMAGBS & ENFORCEMENT UNDERTHE PRIVATE ATTORNEYS GBNERALACT,
                                CALIFORNIA LABOR CODE $ 2698, ET SEQ. AND DEMA}.¡D FOR JURY TRIAL
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 23 of 114 Page ID #:23


                          Ðt        b,




                    I    based on that information and belief alleges, that each of the defendants designated as a

                   2     DOE is legally responsible for the events and happenings referred to in this Complaint,
                   3     and unlawfully caused the injuries and damages to Plaintiff and the othet class members

                   4     as alleged in   this Complaint. .Plaintiff will seek leave of court to amend this Complaint
                   5     to show the true names and capacities when the same have been ascertained.
                   6            I   l'   Defendant DIAI\,IOND RESORTS I\4ANAGEMENT, INC., DIAMOND

                   7     RESORTS INTERNATIONAL, and DOES 1 through 100                  will hereinafter colleotively be
                    8    refened to as "Defendants."
                   9            12.      Plaintiff further alleges that Defendants, directly or indirectly controlled
                  l0     or affected the working conditions' wages, working hours, and conditions            of
(,                1l     employment of Plaintiff and the other class members and aggrieved employees so as to
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                  t2     make each of said Defendants employers and employers liable under the statutory
t-   :. ot
trt 9o
Þ 0ã J.=          l3     provisions set forth herein.
    <:5
                                                       CLASS ACTION ALLEGATIONS
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                  l5            13.      Plaintiffbrings this action   on her own behalf and on behalf of all othor
     5.D
3    o            t6     mernbers of the general public similarly situated, and, thus, seeks class certifrcation
f    d
     sl

                  r7     under California Code of Civil Procedure section 382.

                  18             14.     The proposed class is defined as follows:

                  l9                     All   ourrent and former hourly-paid br non-exempt employees who worked

                  '90.
                                         for any of the Defendants within the State of Califorr;,lia at any time during
                  21                     the period from four years preceding the filing of this Complaint to final

                  22                     judgment.

                  23            15.      Plaintiff reseryes the right to establish subclasses as appropriate.
                  24            16.      The class is ascertainable and there is a well-defined community of

                  25     interest in the litigation:

                  26                     ù.      Numerosity: The olass members are so numerous that joinder of all

                  27                             class members is impracticable. The membership of the entire

                  28                             class is unknown to Plaintiff at this time; however, the class is

                                                                           4
                           CLASS ACTION COMPLAINT FOR DAMAOES   &   ENFORCEMSI.¡T UNDER THE PRIVÀTB ATTORNEYS GSNERAL   ACT,
                                           CALIFoRNIA LABoR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRTAL
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 24 of 114 Page ID #:24


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               I                            estimated to be greater than   fifty (50) individuals     and the identity

               )                            of such rnembership is readily ascertainable by inspection of

               3                            Defendants' employment reoords.

               4               b.           Typicality: Plaintiffs claims are typical of all other class members'
               5                            as demonstated    herein. Plaintiffwill fairly and adequately protect
               6                            the interests ofthe other class members with whom she has a well-

               7                            defïned community of interest.

               8               c.           Adequacy: Plaintiffwill fairly and adequately protect the interests

               I                            of each class member, with whom she has a well-defined

              l0                            community of interest and typicality of claims, as demonstrated
(,            l1                            herein. Plaintiffhas no interest that is antagonistio to the other
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              t2                            class members.   Plaintiffls attorneys, the proposed class counsel,
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3     qÞ      l3                            are versed in the rules governing class action discovery,
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\ <Ë                                        certification, and settlement. Plaintiff has incurred, and during the
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æ, !ît        l5                            pendency of this action will continue to incur, costs and attorneys'
¡¡¡E6
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  o
  ri          t6                            fees, that have been, are, and   will   be necessarily expended for the
      É
3                                           prosecution ofthis action for the substantial benefìt ofeach class
              l7
              t8                            mernber.

              t9               d.           Superiority: A class action is superior to other available methods

              20              rsi,i .       for the fair and effioient adjudioation of this litigation because . iv¡
              2l                            individual joinder of all class members is impractical.

              22               e.           Public Policy Considerations; Certifïcation of this lawsuit as a class

              23                            action will advance public policy objectives. Employers of this

              24                            great state violate employment and labor laws every day. Current

              25                            employees are often afraid to assert their rights out of fear of direct

              26                            or indirect retaliation. However, class actions provide the class

              27                            mombers who are not named in the complaint anonymity that

              28
                                        '   allows for the vindioation of their rights,

                                                                     5

                   CLAss AcT¡oN Covpl,¡¡u roR Dnunc¡s &      ENFORCEMENT UNDER THE PRIVATE ATTORNEYS GENEMI. ACT,
                                  CALIFORNIA LABOR CODE $ 2698, ET SEQ. AND DEMÁND       FOR JURY   TRIAT
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 25 of 114 Page ID #:25


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               I           17.    There are common questions of law and fact as to the class members that

               2    predominate over questions affecting only individual members. The following common

               3    questions of law or faot, among others, exist as to the members of the olass:

               4                  a.     \ilhether Defendants' failure to pay \ryages, without abatement or

               5                         reduotion, in accordance with the California Labor Code, was

               6                         willtul;
               7                  b.     Whether Defendants'had a corporate policy and practice of failing

               I                         to pay their hourþ-paid or non-exempt employees within the State

               9                         of California for all hours worked, missed (short, late, intemrpted,

             l0                          and/or míssed altogether) mealperiods and restbreaks in violation
(J           ll                          of California law;
Èroct
$'ce         12                   o.     V/hether Defendants required Plaintiff and the other class members
Þas
l/lIo                                                                                       fofy   (40) hours
2   é,',-F   t3                          to work over eight (8) hours per day and/or over
qQã
 ¡-{E                                    per week and failed to pay the legally required overtime
.9.48        t4
pË€          15                          compensation to Plaintiffand the other class members;
¡uE5
ÈÈ6
<cr          l6                   d.     Whether Defendants deprived Plaintiff and the other class members
S*           17                          of meal and/or rest periods or required Plaintiff and the other class

             l8                          members to work during meal and/or rest periods without

             19                          compensation;

             20                   e.     Whether Defendants failed to pay minimum wages to Plaintiff and

             2l                          the other olass members for all hours worked;
             ')')                 f.     Whether Defendants failed to pay all wages due to Plaintiff and the

             23                          other class members within the required time upon their discharge

             24                          or resignation;

             25                   g.     Whether Defendants failed to timely pay all wages due to Plaintiff

             26                          and the other class membçrs during their employment;

             27                   h.     Whether Defendants complied with wage reporting as required by

             28                          the California Labor Code; including, lnter alia, section 226;

                                                                  6
                      CLASS ACTION COMPLA¡NT FOR DAMAOES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS OENERAL ACT,
                                     CIUIpoRN¡e LABoR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                 èl




                            1                 i.         Whether Defendants kept complete and accurate payroll records as

                            2                            required by the California Labor Code, including, ínter alia, section

                            3                            I 174(d);

                            4                 j.         Whether Defendants failed to reimburse Plaintiffand the other

                            5                            class members for necessary business-related expenses and costs;

                            6                 k.         Whether Defendants' conduct was willfrtl or reokless;

                            7                 l.         Whether Defendants engaged in unfair business practices in

                            8                            violation.of California Business & Professions Code section
                            I                            17200, et seq.;

                           l0            .    m,^    .   The appropriate amount of damages, restitution, and/or monetary                ...-


         ç)
         È     d)
               (t
                           il                            penalties resulting from Defendants'violation of California law;
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                           l2                            and
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         f     cÞ
               o=
                           l3                 n.         Whether Plaintiffand the other class members are entitled to
               åÈ                                        compensatory damages pursuant to the California Labor Code.
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         tn E
            <ß       -c'
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         t¡J
               ;'E
               vrc         l5                                        PAGA ALLEGATIONS
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               36
         3     ct
               r-{
               <l
                           16          18,    At all times herein set forth, PAGA was applicable to Plaintiff's
         5
                           t7   empl oyment by Defendants.

                           l8          19.    At all times herein set forth, PAGA provides that            any provision of law

                           l9   under the California Labor Code that provides for a civil penalty, including unpaid

i lË,¡                     20   wages and premium lryages, to be assessed and collected by the LWDA for violations                  of
                           2l   the California Labor Code may, as an alternative, be recovered through a civil action

                           22   brought by an aggrieved employee on behalf of himself and other curren-t or former
                           23   employees pursuant to procedures outlined in California Labor Code section2699.3.

                           24          20.    Pursuant to PAGA, a civil action under PAGA may be brought by an

                           25   "aggrieved employee," who is any person that was employed by the alleged violator
                           26   and against whom one or more of the alleged violations was committed.

                           27   t/t
                           28   ilt
                                                                                      7
                                  CLASS ACTION COMPLAÍhÍT FOR DAMAGES      &   ENFORCEMENT UNDER THE PRIVATE ATTORNEYS GENERAL AC,I.,
                                                   CALIFORNIA LABOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY'TI'IAL
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             I          21.      PlaintÍff was employed by Defendants and the alleged violations were
             2   committed against him during her time of employment and she is, therefore, an
                                                                           ¡'aggrieved employees" as
             3   aggrieved employee. Plaintiff and the other employees are

             4   defined by California Labor Code section2699(o) in that they are eurent or fonner

             5   employees of Defendants, and one or more of the alleged violations were committed

             6   against them.

             7          22.      Pursuant to California Labor Code sections 2699.3 and 2699.5, an

             I   aggrieved employee, including Plaintiff, may pursue a civil action arising under PAGA

             9   afrer the following requirements have been met:

            t0                   a.     The aggrieved.employee shall give written notioe by certified mail
(J                                      (hereinafter "Employeers Notice") to the LrüDA and the employer
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            t2                          of the specific provisions of the California Labor Code alleged to
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      cb    l3                          have been violated, including the facts and theories to support the
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e   bL,
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t¡, Püt
            t4                          alleged violations.
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    t4c
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            t5                   b.    The LWDA shall provide notice (horeinafrer "L'WDA Notice") to
    5t0
3   c'
    rl
    sf
            L6                         the employer and the aggrieved employer by certified mail that it
5
            t7                          does not intend to investigate the alleged violation withÍn thirty

            18                         (30) calendar days of the postmark date of the Employee's Notice.

            19                         Upon receipt of the LïVDA Notioe, or if the LWDA Notioe is not
            20                         provided within thirly-three (33) calendar days of the postmark

            2l                         date of the Employee's Notice, the aggrieved employee rnay

            22                         commence a    civil action pursuant to California Labor Code section
            23                         2699 to recover civil penalties in addition to any other penalties to

            24                         which the employee may be entitled.
            25          23.      On July 24,z}ls,Plaintiffprovided written notice by certified mail to the

            26   LWDA and to Defendants DIAMOND RESORTS IvÍANAGEMENT, INC. and
            27   DIAMOND RESORTS INTERNATIONAL of the specific provisions of the California
            28   Labor Code alleged to have been violated, including the facts and theorios to support


                  CLAss AGTION COMPLAÍNT FOn DnU¡oeS & BNFORCEMENT IJNDERTHE PRIVATE ATTORNEYS GENERAL ACT,
                                 CALIFoRNIA LABoR CoDE $ 2698, ET SEQ. AND DEMAND FoR JURY TRIAL
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             I   the alleged violations, Therefore, the administrative prerequisites under California

             2   Labor Code section2699,3(a) to recover civil penalties, including unpaid wages and

             3   premium wages per Califomia Labor Code section 558 against Defendants, in addition

             4   to other remedies, for violations of California Labor Code sections 201, 202,203,204,
             5   226(a),226,7,510, 5 t2(a),1 174(d), t194, 1197, tl97 .1, I 198, 2800 and 2802 have
             6   been satisfied.

             7                                   GENERAL ALLEGATIONS
             8          24.      At all relevanttimes   set forth herein, Defendants employed         Plaintiffand
             9   other persons as hourly-paid or non-exempt employees within the State of California.

            l0          25,      Defendants, jointly and severally, employed Plaintiff as an hourly-paid,
(J          ll   non-exempt employee from approximately December 2013 to approximately September
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L' .€o      L2   2014, in the State of Califomia, County of Riverside.
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      or:
            13          26.      Defendants hired Plaintiff and the other class members and classified
      <Ë         them as hourly-paid or non-exempt employees, and failed to compensate them for all
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ú,  !; !t   l5   hours worked, missed meal periods and/or rest breaks.
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            l6          27.      Defendants had the authority to hire and terminate Plaintiffand the other
s           L7   class members; to set work rules and conditions governing          Plaintiffs    and the other

            18   class members' employment; and to supervise their daily employment activities.

            l9          28.      Defendants exercised suflìcient authority over the terms and conditions             of
            20   Plaintiff   s and theibther class members' employment        for them to   be   joint employers of       tì11


            2t   Plaintiff and the other class mernbers.
            22          29.      Defendants directly hired and paid wages and benefits to Plaintiff and the

            23   other class members.

            24          30.      Defendants continue to employ hourly-paid or non-exempt employees

            25   within the State of California.
            26          31.      Plaintiff and the other class members worked over eight (8) hours in a
            27   day, and/or forty (40) hours in a week during their employmcnt with Defendants.

            28   t/t
                                                                   9
                   CLASS ACTION COMPLAINT FOR DAMACES   &   ENFORCEMENT I,JNDER THE PRIVATB AI-TORNEYS CENBRAL ACT,
                                   CALIFORNIA LABOR CODE $ 2698, ET SUq. AND DEMAND FOR JURY TR¡AL
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              ¡.




         I             32,    Plaintiffis infonned and believes,   and based thereon alleges, that

         2   Defendants engaged in a uniform polioy/practice of wage abuse against their hourly-

         3   paid or non-exempt employees within the State of California. This uniform

         4   policy/practice involved,lnter aliø,failingto pay them for all regular and/or overtime

         5   wages earned, míssed meal periods and r'est breaks in violation of California law.

         6             33.    Plaintiff is informed and believes, and   based thereon alleges, that

         7   Defendants knew or should have known that Plaintiffand the other class members were

         I   entitled to receive certain \ilages for overtime compensation and that they were not

         9   receiving wages for overtime compensation.
        10         ..-. 3A. . Plaintiffis informcd and believes, and based thereon alleges,.that.
U            Defendants failed to provide Plaintiffand the other class members the required rest and
èg      11


9en     t2   meal periods during the relevant time period as required under the Industrial \Melfarc
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        l3   Commission Wage Orders and thus they are entitled to any and all applicable penalties.
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                       35.    Plaintiff is informed and believes, and based thereon alleges, that
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PE€     15   Defendants knew or should have known that Plaintiff and the other class members were
Ës€
5s      l6   entitled to receive all meal periods or payment of one additional hour of pay at
Í*                                                                                   a meal period was
        t7   Plaintiff s and the other class member's regular tate of pay when
        18   rnissed, and they did not receive all meal periods or payment of one additional hour        of
        t9   pay at Plaintiff s and the other class member's regular rate of pay when a meal period

        20   was    missed.                        ;tËit

        21           36, Plaintiff is informed and believes, and based thereon alleges, that
        22   Defendants knew or should have known that Plaintiff and the other class members were

        23   entitled to receive all rest periods or payment of one additional hour of pay at Plaintiff       s

        24   and the other class member's regular rate of pay when a rest period was missed, and

        25   they did not receive all rest periods or payment of one additional hour of pay at

        26   Plaintiffs    and the other class members' regular rate of pay when a rest period was

        27   missed.

        28   lil
                                                            t0
               CLASS ACTION COMPLAINT FOR DAMAGES & ENPORCEMENT UNDER THE PRIVATE ATToRNEYS GpNeReL   Act,
                              CATIFORN¡A LEBOR COPE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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              I          37.    Plaintiffis informed and believes, and based thereon alleges, that
              2   Defendants knew or should have known that Plaintiff and the other class members \ryere

              3   entitled to receive at least minimum wages for compensation and that they were not
              4   receiving at least minimum wages for all hours worked.
              5          38.    Plaintiff is informçd   and believes, and based thereon alleges, that

              6   Defendants knew or should have known that Plaintiffand the other class members were

              7   entitled to receive all wages owed to them upon discharge or resignation, including
              8   overtime and minimum wages and meal and rest period premiums, and they did not, in
              I   fact, receive all such rvages owed to them at the time of their discharge or resignation.

             10          39.    Plaintíff is informed and believes, and based thereon alleges, that
(J           l1   Defendants knew or should have known that Plaintiffand the other class members were
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l¡J' o rfl
C'    ËR     t2   entitled to receive all wages owed to them during their employment. Plaintiffand the
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f 9õ¿'Ê      l3   other class members did not receive payment of all wages, including overtime and
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             l4   minimum wages and meal and restperiod premiums, within any time permissible under
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      qro    l5   Calìfornia Labor Code sectionâ04.
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             16          40.    Plaintiff is informed   and believes, and based thereon alleges, that
s            t7   Defendants knew or should have known that Plaintiff and the other class members were

             18   entitled to receive complete and accurate wage statements in accordance with California

             l9   law, but, in fact, they did not reoçive complete and accurate wage statements from
             20   Defendants. The defrciencies included, ínter alta, the failure to include the total
             21   number of hours worked by Plaintiffand the other class members.

             22          41.    Plaintiff is informed and believes, and based thereon alleges, that
             23   Defendants knew or should have known that Defendants had to keep complete and

             24   accurate payroll records for Plaintiff and the other class members in accordance       with
             25   California law, but, in fact, did not keep complete and accurate payroll records.
             26          42.    Plaintiffis informed    and believes, and based thereon alleges, that

             27   Defendants knew or should have known that Plaintiffand the other class members were

             28   entitled to reimbursement for necessary business-related expenses.

                                                                  lt
                   CLASS ACTION COMPLATNT FOR DAMAGES   &   ENFORCEMENT UNDER THB PRIVATE ATTORNEYS CENERAL   ACÍ,
                                  CATIFoRNIA LABoR CoDE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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           I             43.     Plaintiff is informed and believes, and based thereon alleges, that
           2   Defendants knew or should have known that they had a duty to compensate Plaintiff

           3   and the other class members pursuânt to California law, and that Defendants had the

           4   financial ability to pay such compensation, but willfully, knowingly, and intentionally
           5   faited to do so, and falsely represented to Plaintiff and the other class members that they
           6   were properly denied rryages, all in order to increase Defendants' profits.

           7             44,     At all material times set forth herein, Defendants failed to pay overtime
           I   wages to      Plaintiff   and the other class members for all hours   worked. Plaintiff and the
           9   other class members were required to work more than eight (8) hours per day and/or

          l0   forty (40) hours per week without overtime compensation.
u
o-B       ll             45.     At all material times   set forth herein, Defendants failed to provide the

9cn       12   requisite uninterrupted meal and rest periods to Plaintiffand the other class members.
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úl 9lo
    Ë'F   l3             46.     At all material times set forth herein, Defendants failed    to pay   Plaintiff
=¡.éts
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€.a8      t4   and the other class members at least minimum wages for all hours worked.

PEË       l5          47.        At all material times set forth hereín, Defendants failed    to pay   Plaintiff

Ëås       16   and the other class members all wages owed to them upon discharge or resignation.
f*        17          48.        At all material times set forth herein, Defendants failed    to pay   Plaintiff

          18   and the other class members all wages within any time permissible under California

          19   law, inoluding, inter alía, California Labor Code seotion204,
          20        .u49, At all material          times set forth herein, Defendants failed to providÈl

          2t   complete or accurate wage statements to Plaintiff and the other class members.

          22             50.     At all material times set forth herein, Defendants failed to keep complete
          23   ot accurate payroll records for Plaintiff and the other class members.
          24             51.     At all material times set forth herein, Defendants failed to reimburse
          25   Plaintiff and the other class members for        necessary business-related expenses and costs.

          26             52.     At all material times set forth herein, Defendanls failed to properly
          27   compensate       Plaintiffand the other class members pursuant to California law in order to
          28   increase Defendants' proftts.

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                 CLASS   A   T¡ON COMPLANff FOR DAMAOE$ &  ENFORCEMENT UNDERTHE PRryATE ATTORNEYS GENERAL ACT,
                                    CALIFoRNIA LABOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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             I             53.     California Labor Code section 218 states that nothing in Article I of the

             2    Labor Code shall limit the right of any wage claimant to "sue directly . . . for any wages
             J    or penalty due to him [or her] under this article."

             4                                     FIRST çAIJSE OF' ACTTOT!
             5                       (Violation of California Labor Code $S 510 and 1198)
             6                     (Against DIAMOND RESORTS MANAGEMENT, INC,,
             7             DIAMOND RESORTS INTERNATIONAL, and DOES                          I   through 100)
             I             54.     Plaintiff incorporates by reference the allegations contained in Paragraphs
             9    I   through 53, and each and every part thereof with the same force and effect as though

          .- 10   fully   set forth herein
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  o
            n              55.    California Labor Code section 1198 and the applicable Industrial \Melfare

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            12    Commission ("I'WC") lVage Orderprovide that it is unlawful to employ persons
l/l 9o      l3    without oompensating them at a rate of pay either time-and-one-half or two-times that
    Ë'E
=\ìÈ
€.s8        t4    person's regular rate ofpay, depending on the number of hours worked by the person
pr€         l5    on a daily or weekly basis.
Ëås         l6             56.    Specifïcally, the applicable IWC Wage Order provides that Defendants
5*          t7    are and were required to pay Plaintiffand the other class members employed by

            l8    Defendants, and working more than eight (8) hours in a day or more than foÉy (40)

            l9    hours in a workweek, at the rate of time-and-one-half fot all hours worked in exoess          of
           20     eight (8) hours in a day oÈirnore than forty (40) hours in a workweek.                             ¡i;
           2t              57.    The applicable IWC Wage Order fi.lrther provides that Defendants are and

           22     were qequired to pay Plaintiff and the other class members overtime compensation at a

           23     rate of two times their regular rate of pay for all hours worked in excess of twelve (12)

           24     hours in a day.

           25              58.    California Labor Code section 510 codifïes the right to overtime
           26     compensation at one-and-one-half times the regular hourly rate for hours worked in

           27     excess of eight (8) hours in a day or forly (40) hours in a week or for the first eight (8)

           28     hours worked on the seventh day of work, and to overtime compensation at twice the

                                                                   l3
                      CLAss Ac-rIoN CoÌvípInmr FoR DAMAGES & ENTORCEMENT UNDER THE PN¡V¡TS A TTORNEYS GENERAL AgT,
                                      CALIFoRNIA LABoR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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         I   regular hourly rate for hours worked in excess of twelve (12) hours in a day or in excess

         2   of eight (8) hours in a day on the seventh day of work.

         3            59.      During the relevant time period, Plaintiff and the other class members
         4   worked in exoess of eight (8) hours in a day, andl/or in excess of forty (40) hours in a
         5   week.

         6            60.      During the relevant time period, Defendants intentionally and willfully
         7   failed to pay overtime wages owed to Plaintiffand the other class members.
         8            61.      Defendants' failure to pay Plaintiff and the other class members the

         9   unpaid balanoe of overtime compensation, as required by California laws, violates the

        l0   provisions of California Labor Code sections 510 and 1198, and is therefore unlawful.
(,      il            62.      Pursuant to Califomia Labor Code section 1t94, Plaintiff and the other
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FUI 3
        t2   class members are entitled to recover unpaid overtime oornpensation, as well as interest,
(rtgó   l3   costs, and attorneys' fees.
 \åË                                         sEcoNp cê.TtsE oF ACTION
,Ps8    t4
p-E$    15                     (Violation of California Labor Code $$ 226'7 and 512(a))
Ëgs
<o      l6                     (Against DIAMOND RESORTS MANAGEMENT' INC.,
f*      t7           DIAMOND RESORTS INTERNATIONAL' and DOES I úhrough                                100)

        18            63.      Plaintiff incorporates by reference the allegations contained in paragraphs
        t9   I   through 62, and each and every part thereof with the same force and effect           as   though

        20   fully set forth   herein.                             ¡+it.

        21            64,      At all relevant   tirnes, the   ItilC Order and California Labor   Code seotions

        22   226.7 and 512(a) were applicable to Plaintiff s and the other class members'

        23   employment by Defendants.

        24            65.      At all relevant tirnes, California Labor Code section226.7 provides that
        25   no employer shall require an employee to wotk during any meal or rest period
        26   mandated by an applicable order of the California IWC.

        27   lt/
        28   lt/
                                                                   t4
                 CLASS ACTION COMPLATNT FOR DAMAOES & ENFORCEMENT UNDER THB PR¡VATE fioRNEYs GENERAL         Acr,
                                CEI.TOR¡¡IN LABOR CODE $ 2698, ET SEQ, AND DEMAND FOR JURY TRIAL
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                    I          66.    At all relevant times, the applicable IWC Wage Order and California
                   2    Labor Code section 512(a) provide that an employer may not require, cause or permit
                   J    an employee to work for a work per¡od of more than five (5) hours per day without

                   4    providing the employee u'ith    a meal period of not less than      thirly (30) minutes, exoept
                   5    that if the total work period per day of the employee is no more than six (6) hours, the

                   6    mealperiod may be waived by mutual consent of both the employer and employee,
                   7           67.    At all relevant times, the applicable IWC         \Mage Order and Califomia

                   8    Labor Code section 512(a) further provide that an employer may not require, cause or

                   I    permit an employee to work for      a       work period of more than ten (10) hours per day

                  l0    without providing the employee with a second unintemrpted meal period of not less
(J
À     fn
      o
                  il    than thirty (30) minutes, except that if the total hours worked is no more than twelve
      N
l¡l   o, îr¡            (12) hours, the second meal period may be waived by mutual consent of the employer
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tl      .qì
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      Éþ          13    and the ernployee only   if the first   meal period was not waived.
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e Pdi
  58              l4           68.    During the relevant time period, Plaintiff and the other class members
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                  l5    who were scheduled to work for          a   period of time no longer than six (6) hours, and who
      30
3     o           16    did not waive their legally-mandated meal periods by mutual consent, were required to
f
      F{
      <t

                  17    work for periods longer than five (5) hours without an unintemrpted meal period of not
                  l8    less than thirty (30) minutes and/or rest period.

                   l9          69.    During the relevant time period, Plaintiffand the other class members

               ::Y.20   who were scheduled to work for          a   period of time in excess of sixr(6) hours were

                  2l    required to work for periods longer than fïve (5) hours without an uninterrupted meal
                  )')   period of not less than thirty (30) minutes and/or rest petiod.

                  23           70.    During the relevant time period, Defendants intentionally and willfully

                  24    required Plaintiff and the other class members to work during meal periods and failed to

                  25    compensate   Plaintiff and the other class members the full meal period premium for
                  26    work performed during meal periods.
                  27    ///
                  28    ill
                                                                             t5
                          CLAss AcTIoN COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THB PRIVATE ATTORNEYS CENERAL ACT,
                                         CAL¡FORNIA LRSOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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             I            71,    During the relevant time period, Defendants failed to pay Plaintiff and the
             2   other class members the full meal period premium due pursuant to California Labor

             3   Code section226.7.

             4            72.    Defendants'bonduct violates applicable IWC lilage Order and Califomia

             5   Labor Code sections226.7 and 512(a).
             6            73,    Pursuant to applioable IWC Wage Order and California Labor Code

             7   section 226,7(b), Plaintiff and the other class rnembers are entitled to recover from

             I   Defendants one additional hour of pay at the employee's regular rate of compensation

             9   for each work day that the meal or rest period is not provided.
            l0                                     THIRD CAUSE OF ACTION
u
â.    fn    11                              (Violation of California Labor Code 5226.7)
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     6rmo                         (Against DIAMOND RESORTS MANAGEMENT' INC.'
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f "ã cþ     13            DIAMOND RESORTS INTERNATIONAL' and DOES                             I through r00)
     Eõ
      &E                  74,    Plaintiff incorporates by reference the allegations contained in paragraphs
e   bu-6

lrt E-c.
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            t4
É     gît   15   I through 73, and each and every part thereof with the same force            and effect as though
l¿¡   E6
3 ct=6      t6   fully   set forth herein
f
      Fl
  \t
            t7            75.    At all times herein   set forth, the applicable   IWC Wage Order and

            18   California Labor Code section226.7 were applicable to Plaintiffls and the other class
            19   rnembers' employment by Defendants'

            20            '16..,ts:t/lt all relevant times, California Labor Code section226,7 provides that

            2L   no employer shall require an employee to work during any test period mandated by an

            22   applicable order of the California IWC.

            23            77.    At all relevant times, the applicable IWC Wage Order provides that
            24   "[e]very employer shall authorize and permit all employees to take rest periods, which
            25   insofar as practicable shall be in the middle of each work period" and that the "rest
            26   period time shall be based on the total houts workcd daily at the rate of ten (10) minutes

            27   net rest time per four (4) hours or major fraction thereof'unless the total daily work
                                                              ¡/z)
            28   time is less than three and one-half (3             hours.

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                   CLAss ACT¡ON COMPLAINT FOR DAMAGES    &   ENFORCEMENT UNDBR THE PRTVATE   ATToRneYs Gennnel   Acr,
                                    CATIFORNIA LABOR CODE $ 2698, ET SEq. AND DEMAND FOR JURY TRIAL
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 36 of 114 Page ID #:36



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                 1                78.      During the relevant time period, Defendants required Plaintiffand other
                2    class members to work four (4) or rnore hours without authorizing or permitting a ten

                J    (10) minute rest period per each four (4) hour period worked.

                4                 79.      During the relevant time period, Defendants willfrtlly required Plaintiff
                5    and the other class members to work during rest periods and failed to pay Plaintiff and

                6    the other class members the fr¡ll rest period premium for work performed during rest

                7    periods.

                I                 80.      During the relevant time period, Defendants failed to pay Plaintiff and the
                9    other class members the full rest period premium due pursuant to California Labor

              ."10   Code        section226.l
u
o-    ó        l1                 81.      Defendants'conductviolates applicable IWC rWage Orders and California
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l¡¡ ôlofn
C' .Ëo         t2    Labor Code section 226.1 .
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    -e         l3                 82.      Pursuant to the applicable IWC Wage Orders and California Labor Code
\ åË                 section 226,7(b), Plaintiffand the other class members are entitled to recover from
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      IDÉ      l5    Defendants one additional hour of pay at the employees' regular hourly rate                    of
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      c,
      r{       l6    compensation for each work day that the rest period was not provided.
      $
3                                                          FOURTH çAUSE QF ACTIq¡{
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               t8                       (Violation of California Labor Code $$ 1194' 1197, and 1197.1)
               t9                          (Against DIAMOND RESORTS MANAGEMENT' INC.'
               20                DIAMOND RESORT&INTERNATIONAL' and DOES                                  1 through 100)

               2l                 83.      Plaintiff incorporates by reference the allegations contained in paragraphs
               22    1       through 82, and each and every part thereof with the same foroe and effect as though
               23    ñrlly      set   forth herein.
               24                 84.      At all relevant times, California Labor Code sections 1194, I197, and
               25    ll97.l       provide that the minimum wage to be paid to employees, and the payment of a

               26    lesser wage than the minimum so fïxed is unlawful.

               27                 85.      During the relevant time period, Defendants failed to pay minimum wage
               28    to Plaintiff and the other class members              as   tequired, pursuant to Califomia Labor Code

                                                                                l7
                             CInss AgT¡oH CoMPLATNT FoR DAMAOES & BNFORCEMENT        TJNDER THE PRIVATE ATTORNSYS CENER/{L   AgT,
                                             CALTFORNIA   Lnson copg   $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
        Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 37 of 114 Page ID #:37




                    I   sections 1194, 1l97,and 1197.1.

                    2             86.      Defendants' failure to pay Plaintiff and the other olass members the

                    3   minimum wage         as   required violates California Labor Code sections 1194, I197, and

                    4   lI97 ,1. Pursuant to those sections Plaintiff and the other class members are entitled to
                    5   recover the unpaid balance of their minimum wage compensation as well as interest,

                    6   costs, and attorney's fees, and liquidated damages in an amount equal to the wages

                    7   unlawfully unpaid and interest thereon.
                    I             87   .   Pursuant to California Labor Code seotion      1   I 97, I ,   Plaintiff and the other
                    9   class members are entitled to recover a penalty of $100.00 for the initial failure to

                   10   timely pay each e¡nployee minimum wages, and $250.00 for each subsequent failure,to
      L)           i1   pay each employee minimum wages.
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      L' .€o
          5^¡      t2             88.      Pursuant to California Labor Code section 1t94.2, Plaintiff and the other
      t- "ld
      Itt 9a
      ) EÞ   Jt=   13   class members are entitled to recover liquidated damages in an amount equal to the
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                   l4   wages unlawfully unpaid and interest thereon.
      É,           l5                                      T'IF'TII CAUSE OF' ^A.CTION
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            5tD
      3     cl     t6                        (Violation of California Labor Code $$ 201 and202)
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            r.{
            qf

                   t7                      (Against DIAMOND RESORTS MANAGEMENT' INC.'
                   18            DIAMOND RESORTS INTERNATIONAL, and DOES                                   I through   100)

                   t9             89.      Plaintiffincorporates by reference the allegations contained in paragraphs
.!i                20   I through 88, and each and every part thereof          with..'the same force and effect as though

                   2t   fully   set forth herein.

                   22             90.      At alt relevant times herein set forth, California Labor          Code sections 201

                   23   and202 provide that if an employer discharges an employee, the wages earned and

                   24   unpaid at the time of discharge are due and payable immediately, and if an employee

                   25   quits his or her employment, his or her wages shall become due and payable not later
                   26   than seventy-two (72) hours thereafter, unless the employee has given seventy-two (72)

                   27   hourso notice of his or her intention to quit, in which case the employee is entitled to his

                   28   or her wages at the time of quitting.

                                                                          t8
                          CLAss   AcfloN Cot"rpue¡r.tr roR DAMA0ES &ENFoRCEMENT UNDER THE PRIVATE ATToRNEYS CENERAL           Acr,
                                             CALIFORNIA LABOR CODE $ 2698, ET SEQ, AND DEMAND FOR JURY TRIAL
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 38 of 114 Page ID #:38




                                                                                            ll
              I             91.     During the relevant time period, Defendants intentionally  and willfully

              2     failed to pay Plaintiff and the other class members who are no longer employed by
              3     Defendants their wages, earned and unpaid, within seventy-two (72) hours of their

              4     leaving DefEndants' employ.
              5
                        .    92.    Defendants' failure to pay Plaintiff and the other class members who are
              6     no longer employed by Defendants' their wages, earned and unpaid, within seventy-two

              7     (72) hours of their leaving Defendants' employ, is in violation of California Labor Code

              I     sections 201 and202.

              I              93,    California Labor Code section2ùS provides that if an employer willfrtlly

             l0     fails to pay wages owed, in accordance with sections 201 and202,then the wages of the
to-   ln     11     employee shall continue as a penalty from the due date thereof at the same rate until
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             t2     paid or until an action is commenced; but the wages shall not continue for more than
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t     9o            thirly (30) days.
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  58         t4              94.    Plaintiffa¡d the other   class members are entitled to recover from
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             15     Defendants the statutory penalty wages for each day they were not paid, up to a thirty
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3     ct
      d      16     (30) day maximum pursuant to California Labor Code section203.
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5                                                   srxTH    CAU.}Sp OF ACEO.N.
             17

             18                              (Violation of California Labor Code $ 204)
             l9                     (Against DIAMOND RESORTS MANAGEMENT' INC.'
             20,¡           DIAMOND RESORTS INTERNATIONAL, and DOES LitHrough                          100)

             2L              95.    Plaintiffincorporates by reference the allegations contained in paragraphs

             22     1   through 94, and each and every part thereof with the samo force and effect as though
             23     fully set forth herein
             24              96.    At all times herein set forth, California Labor Code section204 provides
             25     that all wages earned by any person in any employment between the lst and 15th days,

             26     inclusive, of any calendar month, other than those wages due upon termination of an
             27     employee, are due and payable between the l6th and the 26th day of the month during

             28     which the labor was performed.

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                        CLASS ACTION COT'IPMTNT POR DAMAOES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS CENERALACT,
                                       CALIFORNTA LABOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 39 of 114 Page ID #:39


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                  I                97.     At ail times herein set forth, California Labor Code sectioî2}4provides
                  2   that all wages earned by any person in any employment between the 16th and the last

                  J   day, inclusive, of any calendar month, other than those wages due upon termination                     of
                  4   an employee, are due and payable between the               lst   and the 1Oth day   of the following
                  5   month.

                  6                98,     At all tirnes herein set forth, California Labor Code sectioî204 provides
                  7   that all wages earned for labor in excess of the nonnal work period shall be paid no
                  I   later than the payday for the next regular payroll period.

                  9                99.     During the relevant time period, Defendants intentionally and willfully
                 l0   failed to pay Plaintiff and the othpr class members.all wages due to them, within any
()               ll   time period permíssible under California Labor Code seotion204.
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    -5N          12                100. Plaintiff and the other class members          are entitled to recover all remedies
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Þ     cþ         t3   available for violations of California Labor Code sectíon204,
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   bu       6i
                 t4                                      SEVENTH CAUSE OF' ACTION
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      gE
      bc         l5                               (Viotation of California Labor Code $ 226(a))
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                 l6                        (Against DIAMOND RESORTS MANAGEMENT' INC.'
s                L7                DIAMOND RESORTS INTERNATIONAL' and DOES                            1 through 100)

                 l8                101. Plaintiff incorporates by reference       the allegations contained in paragraphs

                 l9   I       through 100, and each and every part thereof with the same force and effeot as though
                 20   fully set forth      h'e'Èein.

                 2l                102. At all material    times set forth herein, California Labor Code section

                 22   226(a) provides that every employer shall furnish each of his or her employees an

                 23   accurate itemized statement in writing showing (1) gross wages eamed, (2) total hours

                 24   worked by the employee, (3) the number of piece-rate units earned and any applicable
                 25   piece rate if the employee is paid on a piece-rate basis, (a) ail deductions, provided that

                 26   all deductions made on written orders of the employee may be aggregated                   and shown as

                 27   one item, (5) net wages earned, (6) the inclusive dates of the period for whích the

                 28   ernployee is paid, (7) the name of the employee and his or her social security number,

                                                                            20
                              CLASS ACTION COMPLAINT FOR DAMAOES  &   ENFORCEMENT UNDER THE PRIVATE AîTORNEYS GENEML    AgT,
                                             CALIFORNTA LABOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                         I

         I   (8) the name and address of the legal entity that is the employer, and (9) all applicable

         2   hourly rates in effect during the pay period and the conesponding number of hours

         3   worked at each hourly rate by the employee. The deductions made from payments of
         4   wages shall be recorded in ink or      othq indelible form, properly dated, showing the
         5   month, day, and year, and a copy of the statement or a record of the deductions shall be

         6   kept on file by the employer for at least threeyears at the place of employment or at a

         7   central location within the State of California.

         I             103.   Defendants have intentionally and willfully failed to provide Plaintiffand

         I   the other class members with complete and accurate wage statements. The deficiencies

        10              but are not limited to: the failure to include the total number.oflhours worked
U       11   by Plaintiff and the other class members.
tLmo

Ë4n     t2             104. As a result of Defendants' violation of California            Labor Code section
hiH
¿cþ     13   226(a),   Plaintiff and the other   class members have suffered injury and damage to their
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.9; I   t4   statutorily-protected   ri ghts.
p'E $   l5             105. More speoifically, Plaintiff         and the other class members have been injured
Ëgs
<c,     16   by Defendants' intentional and willful violation of Califomia Labor Code section
5*      t7   226(a) because they were denied both their legal right to receive, and their protected

        t8   interest in receiving, accurate and itemized wage statements pursuant to California

        t9   Labor Code section 226(a).
        20             106. Plaintiff and the othercdlass members           are entitled to recover from

        2l   Defendants the greater of their actual damages oaused by Defendants' failure to comply

        22   with California Labor Code section226(a), or an aggregate penalty not exceeding four
        23   thousand dollars per employee.

        24             107, Plaintiff and the other   class members are also entitled to injunotive           relief

        25   to ensure compliance with this section, pursuant to California Labor Code section
        26   226(e).

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        28   ilt
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               CLAss Ac'rIoN CoMPLAINT FOR DAMAOES   &       ENFORCEMENT TJNDER THE PRIVATE ATToRNEYS GET.¡ENAL ACT,
                               CALIFORNTA LABOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
        Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 41 of 114 Page ID #:41




                   I                                 AIGHTH CAUSE OF ACTION
                   2                        (Violation of Callfornia Labor Code $ 1174(d))
                   3                  (Against DIAMOND RESORTS MANAGEMENT, INC.,
                   4          DIAMOND RESORTS INTERNATIONAL, and DOES                              I   through 100)
                   5          108. Plaintiff     íncorporates by reference the allegations contained ín paragraphs

                   6   I through   107, and each and svery part thereof with the same force and effect as though

                   7   fully set forth herein.
                   I          109. Pursuant      to California Labor Code section 1174(d), an employer shall
                   9   keep, at a central location in the state or at the plants or establishments at whioh

                  10   omployees"are employed, payroll records showing the hours worked daily by and the
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                  ll   wages paid to, and the number of pioce-rate units earned by and any applicable piece
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                  t2   rate paid to, employees employed at tho respective plants or establishments. These
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          cþ      t3   records shall be kept in accordance with rules established for this purpose by the
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                  l4   commission, but in any case shall be kept on file for not less than two years.
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                  l5          110. Defendants have intentionally         and   willñ¡lly failed to keep   accurate and
        5\t
        o
    B rtH         16   complete payroll records showing the hours worked daily and the wages paid, to
    s
                  l7   Plaintiff and the other class members.
                  l8          111. As a result of Defendants' violation of California Labor Code section
                  t9   I174(d), Plaintiff and the other class members have suffered injury and damage to their
;stll             20   statutorily-protected   rights.                              ,í,''',l   .




                  2l          Il2.   More specifically, Plaintiff and the other class members have been injured

                  22   by Defendants' intentional and willful violation of California Labor Code seotion

                  23   1174(d) because they were denied both their legal right and protected interest, in having

                  24   available, açcurate and complete payroll records pursuant to California Labor Code

                  25   section 1174(d).
                  26   /lt
                  27   lil
                  28   Iil
                                                                        ,,,
                         CLASS ACTION COMPLA¡NT FOR DAMAOES   &   ENFORCEMENT TJNDER THE PRIVATE ATTORNEYS GENERAL ACT,
                                       CALIFORNIA LAEOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 42 of 114 Page ID #:42




                   I                                    NINTH CAUSE OF'ACTION
                   2                      (Violatlon of California Labor Code $$ 2800 ând 2802)
                   3                     (Against DIAMOND RESORTS MANAGEMENT' INC.'
                   4             DIAMOND RSSORTS INTERNATIONAL, atrd DOES                           1    through 100)

                   5              I13. Plaintiff incotporates by reference       the allegations contained in para$aphs

                   6   I through      112, and each and every part thereof with the same force and effect as though

                   7   fully set forth herein
                   8              I14.   Pursuant to California Labor Code sections 2800 and2802, an employer

                   9   must reimburse its employee for all necessary expenditures incurred by the employee in

                  10   direct consequence of thedischarge of,his.or her job duties or in direct consequence of
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À     m           ll   his or her job duties or in direct oonsequence of his or her obedience to the directions         of
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                  t2   the employer.
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                  l3              115. Plaintiffand the other class members         incurred necessary business-related
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                  14   expenses and oosts that were not fully reimbursed by Defendants.
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                  15              I16.   Defendants have intentionally and willfully failed to reimburse Plaintiff
    5to
ã   o F{          t6   and the other class members for all necessary business-related expenses and costs.
      rù
5                                                                   are entitled to recovçr from Defendants their
                  t7   Plaintiff and the other class members
                  18   business-related expenses and costs incurred during the course and scope oftheir

                  t9   employment, plus interest acorued from the date on which the employee incurred the

                  20   neoossary expenditures at the same rate        as   judgments in civil âctions in the¡State of

                  2l   California.
                  22   t/t
                  23   ilt
                  24   ilt
                  25   ilt
                  26   t/t
                  27   ilt
                  28   ilt
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                             CLASS ACÎ¡ON COMPLAINT FOR DAMAOES   & ENFORCEMENT UNDBRTHE PRIVATE ATTORNEYS GENERAL ACT,
                                           CALIFoRNIA LASOR COPB $ 2698, ET SEQ. AND DEMAND   FOR JURY   TRIAL
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           I                                  TENTH     CAU_ SJE     OF'.ACTION

           2          (Violation of California Business & Professions Code $S 17200' et seq.)
           3                    (Against DIAMOND RESORTS MANAGEMENT' INC.'
           4         DIAMOND RESORTS INTERNATIONAL' and DOES I through                            100)

           5          LI\   .   Ptaintiff incorporates by referenoe the allegations oontained in paragraphs
           6   t through    116, and eaoh and every part thereof with the same force and effect as though

           7   ñrlly set forth herein.
           I          118. Defendants'       conduct, as alleged herein, has been, and continues to be,

           9   unfair, unlawful and harmful to Plaintifl other class members, to the general public,
          JO   and Defendants' competitors.      Accordingl¡ Plaintiff    seeks to.enforce important rights

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""        ll   affecting the public interest within the meaning of Code of Civil Procedure section

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          t2   1021.5.
l/l 9-o                   19.   Defendants' activities as alleged herein are violations of California law,
.JCI-
          l3          I
\ãE       t4   and oonstitute unlawful business acts and practices in violation of California Business
Qa8
pË$       15   & Professions Code section 17200,et       seq.
Ës$
s?        t6             lZO. A violation of Califomia    Business    & Professions Code section t7200, et
SO                                                                                 law. In this instant   case,
          t7   seq. may be predicated on the violation of any state or federal

          t8   Defendants' policies and practices of requiring employees, including Plaintiff and the
          l9   other class members, to work overtime without paying them proper compensation

          20   violate Califomia Labot.Code sections 510 and 1198. Additionally, Defendants'
          21   policies and practices of requiring employees, including Plaintiff and the other class

          22   *"*b"rr,     to work through their meal and rest periods without paying them proper

          23   compensation violate California Labor Code sections 226,1 and 512(a). Defendants'

          24   policies and practices of failing to pay minimum wages violate California Labor Code
          t{   sections   llg4, !Ig7   , and 1197,1. Moreover, Defendants' policies and praotices    of
          26   failing to timely pay wages to Plaintiff and the other class members violate California
          27   Labor Code sections 201, 202 and 204. Defendants also violated California Labor
          28   Code sectio ns 226(a), 1 174(d), 2800 and 2802.

                                                                24

                 CLASS ACTION COMPLA¡NT FORDAMAOES & ENFORCEMENT UNDER THE PRTVATE ATTORNEYS GENERAL AC'Tt
                                CAL¡FoRNI.A LABOR CODE $ 2698, ET SEQ, AND DEMAND FOR JURY TIIAL
    Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 44 of 114 Page ID #:44




                1              tZI. As a result of the herein described violations of California law,
                2    Defendants unlawfully gained an unfair advantage over other businesses.

                3              122. Plaintiffand the other     class members have been personally injured by

               4     Defendants' unlawful business aots and praotices as alleged herein, including but not
                5    necessarily limited to the loss of money and/or property.

                6              123.   Pursuant to California Business & Professions Code seotions 17200, et

                7    seq.,   Plaintiff and the other   class members are entitled to restitution of the wages

                I    withheld and retained by Defendants during a period that oommences four years príor to
                9    the filing of this Complaint; an award of attorneys' fees pursuant to California Code         of
               10"   Civil"prooedure section 1021.5 and other applicable laws;,and an award of          costs...   -

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l¡J    om                               (Vtolation of California Labor Code $$ 2698' et seq.)
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vt 9o          l3                     (Against DIAMOND RESORTS MANAGEMENT' INC.'
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      àË                      DIAMOND RESORTS INTERNATION^ÀL, and DOES                            through 100)
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      tâÉ      l5              124. Plaintiffincorporates by referenoe      the allegations contained in paragraphs
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      r{       16    I through 123, andeach      and every part thoreof with the same foroe and effect as though
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               17    frrlly set forth herein.
               l8              lZ5.   PAGA expressly establishes that any provision of the Califomia Labor
               t9    Code which provides for a         civil penalty to be assessed and collected by the LWDA, or
               20    any of its departments, divisions, commissions, boards, agencies or employees fot a

               2l    violation of the Califomia Labor Code, may be teoovered through a civil action brought
               22    by an aggrieved employee on behalf of himself or herself, and other cunent or former
               23    employees.

               24              126.   Whenever the LWDA, or any of its departments, divisions, commissions,
               )<    boards, agenoies, or employees has discretion to assess a civil penalty, a court in a civil

               26    action is authorized to exercise the same disoretion, subject to the same limitations and

               27    conditions, to assess a civil penalty.
               28    lt/
                                                                       25

                       CLASS ACTION COMPLATNT FOR DAMAGES & ENFORCEMENT IJNDER THE PR¡VATE ATToRNEYS GENERAL ACT,
                                      CALIFoRNIA LABOR CODE $ 2698, ET SBQ. AND DEMAND FOR JURY TRIAL
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                  I                127, Plaintiffand   the other hourly-paid or non-exempt employees, are

                  2   "aggrieved employees" as defined by Califomia Labor Code section2699(c) in that
                  3   they are all current or former employees of Defendants, and one or more of the alleged

                  4   violations was committed against them.
                  5                                         f,'ailure to Pay Overtime
                  6                128. Defendants' failure to pay legally required     overtime wages to Plaintiff and

                  7   ths other aggrieved employees is in violation of the Wage Orders and constitutes

                  I   unlawful or unfair activity prohibited by Califomia Labor Code sections 510 and I 198.
                  I                                    F'ailure to Provide Meal Periods

                 l0           . 129,. Defendantsl failure.to provide legally required      meal per[ods to   Plaintiff
(J                    and the other aggrieved employees is in violation of the Wage Orders and constitutes
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                 12   unlawfr¡l or unfair activity prohibited by California Labor Code sections226,7 and
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                 t4                                     X'ailure to Provide Rest Periods
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                 t5                130. Defendants' failure to provide legally required    rest periods to Plaintiff and
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                 t6   the other aggrieved employees is in violation of the Wage Orders and constitutes
s                t7   unlawful or unfair activity prohibited by California Labor Code section226,7,
                 l8                                    F'ailure to Pay Minimum Wages
                 l9                t3l.   Defcndants' failure to pay legally required minimum wages to Plaintiff
      .f*s       ?Q   and the other aggrieved employees is in violation of the Wago Orders and constitutes

                 2T   unlawful or unfair activity prohibited by California Labor Code sections I194, I197
                 22   and 1197.1.

                 23                            Fallure to Timely Pay Wages Upon Termination
                 24                132, Defendants' failure to timely   pay wages to the aggrieved employees upon

                 25   termination in accordance with Labor Code sections 201 and202 constitutes unlawful
                 26   and/or unfair aotivity prohibited by California Labor Code sections 201 and202.

                 27   t//
                 28   /il
                                                                        26
                          CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS GENERAL AgT,
                                         CALIFoRNIA LABOR CODE $ 2698, ET SNq. AND DEMAND FoR JURY TRIAL
Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 46 of 114 Page ID #:46




              I                     Failure to Timely Pay Wages During Employment
             2           133. Defendants' failure to timely    pay wages to Plaintiff and the other

             J    aggrieved employees during employment in aocordance with Labor Code section204

             4    constitutes unlawful and/or unfair activity prohibited by California Labor Code section

             5    204.
             6                 Failure to Provide Complete and Accurate Wago Staternents
             7           134. Defendants' failure to provide complete     and accurate wage statements to

              I   Plaintiff and the other aggrieved employees in accordance with Labor Code section
              9   226(a) constitutes unlawful and/or unfair activity prohibited by California Labor Code

             t0   section 226(a).
(J                               Failuro to Keep Complete and Accurate Payroll Records
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             12          135. Defondants' failurc    to keep complete and accurate payroll records relating
LT  ËR
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Þ CF         l3   to Plaintiff and the othor aggrioved employees in accordance with California Labor
    Eð
    <Ë            Code section 1174(d) constitutes unlawful and/or unfair activity prohibited by
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l¡¡ cr0      15   California Labor Code section I174(d).
    ìit
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     +
             l6           Failure to Reimburse Necessary Business-Related Expenses and Costs
5                        136. Defendants' failure to reimburse Plaintiff    and the other aggrieved
             t7
             l8   employees for necessary business-related expenses and costs in accordance with

             t9   California Labor Code sections 2800 and2802 constitutes unlawful and/or unfair
             2ù   activityrprohibited by California Labor Code sections 2800 and     2802.         ¿#ä

             2l          t37,   Pursuant to California Labor Code section2699, Plaintiff, individually,

             22   and on behalf of all aggrieved employees, requests and is entitled to recover from

             23   Defendants and eash of them, business expenses, unpaid wages, and/or untimely wages

             24   according to proo{ interest, attorneys' fees and costs pursuant to California Labor Code

             25   section 218.5, as well as all statutory penalties against Defendants, and each of them,

             26   including but not lirnited to:

             27   /il
             28   /il
                                                               27
                    CLASS ACTION COMPLATNT FOR DAMACES & ENFORCEMENT UNDER THE Pn¡vnre ATToRNeY$ GEneRal   Acl,
                                   CALIFORNTA LABOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 47 of 114 Page ID #:47


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               I                 a,      Penalties under California Labor Code section2699 in the amount         of
               2                         a hundred dollars ($lOO¡        for each aggrieved employee per pay

               3                         period for the initial violation, and two hundred dollars ($200) for

               4                         each aggrieved employee per pay period for each subsequent

               5                         violation;

               6                 b.      Penalties under California Code of Regulations Title 8 section I1070

               7                         in the amount of fifly dollars ($50) for each aggrieved employee per

               I                         pay period forthe initial violation, and one hundred dollars ($lOO¡

               9                         for each aggrieved employee per pay period for each subsequent
              l0                         violation;
U
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      (f,
              ll                 c.      Penalties under Califomia Labor Code section 210 in addition to,
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    :. or
              12                         and entirely independent and apart from, any otherpenalty provided
vl 9o                                    in the California Labor Code in the amount of a hundred dollars
f             13
 \ ëÉ                                    ($tOO¡ for each aggrieved employee per pay period for the initial
e  58
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      sÌ,
      14c     l5                         violation, and two hundred dollars ($200) for each aggrieved
      q¡ d,
      5(,
B odsf        l6                         employee per pay period for each subsequent violation; and
f             t7                 d.      Any and all additional penaltìes and sums       as   provided by the

              l8                         California Labor Code and/or other statutes.

              19          138.   Pursuant to California Labor Code section2699(i), civil penalties

              20   recovered by aggrieved employees shall be distributed as follows: seventy-five percent

              2l   (75%) to the Labor and Workforce Development Agency for the enforcement of labor

              22   laws and education of employers and employees about their rights and responsibilities
              23   and twenty-five percent (25o/o) to the aggrieved employees.

              24          t39.   Further, Plaintiff is entitled to seek and recover reasonable attomeys' fees
              25   and costs pursuant to California Labor Code sections 210, 218.5 and2699 and any other

              26   applicable statute.

              27   t//
              28   il/
                                                                    28
                     CLASS ACTION COMPLAÍNT FOR DAMAGES   &   ENFORCEMENT UNDER THE PR¡VATB ATTORNEY$ GENERAL ACT,
                                   CALIFORNIA LABOR CODB $ 2698, ET SEQ. AND DEMAND FOR JURY TÍÌIAL
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 48 of 114 Page ID #:48


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         I                                    DEMAND F'OR JURY TRIAL
         2          Plaintiff, individually,    and on behalf of other members of the general public

         3   similarly situated and on behalf of other aggrieved employees pursuant to the California
         4   Private Attorney General Act, requests a hial by jury.

         5                                       PRAYER X'OR RELIEF'
         6          ïIiHEREFORE, Plaintiff, indívidually and on behalf of all other members of the
         7   general public similarly situated and on behalf of other aggrieved employees pursuant

         I   to the California Private Attorney General Act, prays for relief and judgment against
         9   Defendants,    jointly   and severally, as follows:

        t0                   ...                     Class Certification
(J
ÉLm     t1          L        That this action be certified as a class action;

9ep     t2          2,       That Plaintiff be appointed as the representative of the Class;
hi*     t3          3.       That counsel for Plaintiff be appointed as Class Counsel; and
?åÊ                 4.       That Defendants provide to Class Counsel immediately the names and
€.s8    t4
pE$     15   most ounenVlast known contact information (address, e-mail and telephone numbers)

Ëås     l6   of all class members.
f*      17                                    As to the X'irst Cause of Action
        18          5.       That the Court declare, adjudge and decree that Defendants violated

        t9   California Labor Code seotions 510 and 1198 and applicable IWC Wage Orders by
        20   willfully failing to pay all overtime    \ryages dua*o   Plaintiffand the other class members;
        2l          6.       For general unpaid wages at overtime wage rates and such general and
        22   special damages as may be appropriate;

        23          7,       For pre-judgment interest on any unpaid overtime compensation
        24   cornmencing from the date such amounts were due;

        25          8.       For reasonable attorneys' fees and costs of suit incurred herein pursuant to
        26   California Labor Code section 1194;
        27          9.       For civil penalties pursuant to Califomia Labor Code sections 2699(a), (f¡,
        28   and (g); and

                                                              29
               CLAss AcTIoN CoMPLAINT FoR DAMAGES & ENFORCEMENT IJNDER THE PRIVATE AfiORNEYS CENERAL ACT,
                              CALIFoRNIA LABoR CoDE $ 2698, ET SEQ. AND DEM¡c,ND FOR JURY ifRIAL
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 49 of 114 Page ID #:49


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            t               10.      For such other and further relief as the Court may deem just and proper,
            2                                      As to the Second Cause of Action
            3               I   l.   That the Court declare, adjudge and decree that Defendants violated

            4   Califomia Labor Code sections226.7 and 512 and applicable IWC Wage Orders by
            5   willfully failing to provide all      meal periods (including second meal periods) to    Plaintiff
            6   and the other olass members;

            7               12,      That the Court make an award to Plaintiffand the other class members      of
            I   one   (l)   hour of pay at each employee's regular rate of compensation for each workday

            9   that a meal period was not provided;

        _10                 13.      For all actual, consequential, and incidental losses and damages,
ç,         11   according to proof;
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   c¡

SEn        t2               14.      For premium wages pursuant to California Labor Code section226,7(b);
hË*
 Ë'E       l3               15.      For pre-judgment interest on any unpaid wages from the date such
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8.s8       t4   amounts were due;
p5Ë        15               16.      For reasonable attorneys' fees and oosts of suit incuned herein;
Ëg€
<Êt        t6               17.      For civil penalties pursuant to California Labor Code seotions 2699(a), (f),
f*         t7   and (g); and

           l8               18.      For such other and fi¡fher relief as the Court may deem just and proper,
           t9                                      As to the Third Cause,of 4,ction
        ,rs90               19.      That the Court declare, adjudge and decree that Defehdants violated
          2l    California Labor Code section226.7 and applicable IWC Wage Orders by willñrlly
          22    failing to provide all rest periods to Plaintiff and the other class members;
          23                20.      That the Court make an award to Plaintiffand the other cláss members of
          24    one   (l)   hour of pay at each employeo's regular rate of compensation for each workday

          25    that a rest period was not provided;
          26               2t.       For all actual, consequential, and incidental losses and damages,
          27    according to proof;

          28               22.       For premium wagos pursuant to California Labor Code section226.7(b);

                                                                   30
                 CLAss ACTION CoMPLAINT FOR DAMAGES & E¡ITOnCEMS}IT UNDER THE PR¡veTe ATToR¡¡EYS GENEML AcT,
                                CALIFoRNIA LABoR CoDE $ 2698, ET SEQ. AND DEMAND FoR JURY 1ÌJAL
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 50 of 114 Page ID #:50


                       tlt



                 1            23.     For pre-judgment interest on any unpaid wages from the date such
                 2   amounts \ilere due;

                 3            24.     For civil penalties pursuant to California Labor Code sections 2699(a), (f),
                 4   and (g); and

                 5            25,     For such other and further relief      as   the Court may deem just and proper.

                 6                                  As to the X'ourth Cause of Ac!io,.n

                 7            26,     That the Court declare, adjudge and decree that Defendants violated

                 I   California Labor Code sections 1194, I197, and               ll97,l   by willfully failing to pay

                 9   minirnum wages to Plaintiff and the other olass members;
                l0            27,     For general unpaid wages and such general and special damages               as   may
(,              ll   be appropriate;
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                12            28.     For statutory wage penalties pursuant to California Labor Code section
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                l3   ll97.I   for Plaintiff and the other class members in the amount             as may be established
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                t4   according to proof at hial;
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l¡¡ oo          t5            29.     For pre-judgment interest on any unpaid compensatíon ûom the date such

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     d
     \t
                l6   amounts were due;
s               l7            30.     For reasonable attorneys' fees and costs of suit incurred herein pursuant to
                l8   California Labor Code section I194(a);
                l9            31.     For liquidated damages pursuant to California Labor Code section 1194.2;
                20            32. ,r.-t'Sor civil penalties pursuant   to California Labor Code sectÍons 2699(aþ:l(rf),

                2l   and (g); and

                22            33.     For such other and further relief as the Court may deem just and propor.
                23                                   As to the X'ifth Cause of Action

                24            34.     That the Court declare, adjudge and decree that Defendants violated

                25   California Labor Code sections 201, 202,          and 203 by     willfully failing to pay all
                26   compensation owed at the time of termination of the employment of Plaintiff and the

                27   other class members no longer employed by Defendants;

                28   lil
                                                                        3t
                       CLASS ACÎION   COMPLAINT FOR DAMACES   &   ENFORCEMBNT T.INDER THB PRIVATE ATTORNEYS GENERAL AC"T,
                                        CALIFORNIA LABOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 51 of 114 Page ID #:51


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               I            35.    For all actual, consequential, and incidental losses and damages,
               2   according to proof;

               3            36.    For statutory wage penalties pursuant to California Labor Code section
               4   203 for Plaintiffand the other class members who have left Defendants' employ;

               5            37.    For pre-judgment interest on any unpaid compensation from the date such

               6   amounts were due;

               7            38.    For civil penalties pursuant to California Labor Code sections 2699(a), (f),
               8   and (g); and

               9            39.    For such other and further relief as the Court may deem just and proper.
              l0   -                              As to ths Sixth Cause of Action
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              ll            40.    That the Court deolare, adjudge and decree that Defendants violated
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              12   California Labor Code section2D4 by willñrlly failing to pay all compensation owed at
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:f EÞ         13   the time required   by California Labor          Code section204 to Plaintiffand the other class
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              14   members;
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              15            41.    For all actual, consequential, and incidental losses and damages,
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              16   according to proof;
5
              t7            42,    For pre-judgment interest on any unpaid compensation from the date such

              18   amounts were due;

              19            43.    For civil penalties pursuant to California Labor Code seotions 2699(a), (Ð,

              20   and (g);   and                    i¡:{it

              2t            44,    For such other and further relief as the Court may deem just and proper.
              22                                As to the Soventh Cause of Action

              23            45.    That the Court declare, adjudge and decree that Defendants violated the
              24   record keeping provisions of California Labor Code section226(a) and applicable IWC

              25   Wage Orders as to Plaintiff and the other class members, and willfully failed to provide

              26   accurate ítemized wage statements thereto;

              27            46.    For actual, consequential and incidental losses and damages, according to
              28   proof;

                                                                        32
                       CLASS ACTION COMPLAINT FOR DAMAGES     &   ENFORCEMSNT UNDERTHE PN¡V¡rTE ATTONNNYS GCNENEI ACT,
                                     CEI¡TONWN LABOR CODE $ 2698, ET SBQ, AND DEMAND FOR JURY TRIAL
         Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 52 of 114 Page ID #:52


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                 I            47.   For statutory penalties pursuant to Califomia Labor Code section226(e);
                 2            48.   For injunctive relief to ensure compliance with this section, pursuant to
                 3   California Labor Code sectio n 226(ù;
                 4            49.   For civil penalties pursuant to California Labor Code sections 2699(a), (f),
                 5   and (g); and

                 6            50.   For such other and fi¡rther relief    as   the Court may deem just and proper.

                 7                                As to the Eighth Cause of Action
                 8            51.   That the Court deolare, adjudge and decree that Defendants violated
                 9   California Labor Code section I174(d) by willfully failing to keep accurate and
                l0   completg payroll re.cords for Plaintiff and the other class members as required by
        (J      ll   California Labor Code section I174(d) ;
        ÊLo(]

        9en     t2            52.   For actual, consequential and incidental losses and damages, according to
        hi*
        ¿Êþ     l3   proof;
        -¡9ð
        ¡.€ts
        .Pa8    l4            53.   For statutory penalties pursuant to Califomia Labor Code section 1174.5;
        p'E $   l5            54.   For civil penalties pursuant to California Labor Code sections 2699(a), (f),
        Ësg
        5e      l6   and (g); and
        f"      l7            55.   For such other and further relief as the Court may deem just and proper.
                l8                                 As to the.Ninth Cîuse of Action

                t9            56.   That the Court deolare, adjudge and decree that Defendants violated
.,,¿;           20   California Labor Code sections 2800 and2802 by willfully failing to reimburse
                2l   Plaintiffand the other class members for all necessary business-related expenses            as

                22   required by California Labor Code sections 2800 and2802;

                23            57,   For actual, oonsequential and incidental losses and damages, according to
                24   proof;

                25            58.   For the imposition of civil penalties and/or statutory penalties;
                26            59.   For reasonable attorneys' fees and costs of suit incurred herein;
                27            60.   For civil penalties pursuant to California Labor Code sections 2699(a), (f),
                28   and (g); and

                                                                     33
                      CIesS ACTIOW CoMPLAT¡rr FOR DAMAGES &   EWNORCSIVÍENT UNDER THE PRIVATE   ATToRNByS GENER.AL   ACr,
                                      CALTFORN|A LABOR CODE $ 2698, ET SEQ. AND DEMAND FOR JURY TR¡AL
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 53 of 114 Page ID #:53


                     rt   1.,




                                                                                                                ii
               I                6l   .     For such other and further relief as the Court may deem jusl and proper.
           2                                                As to the Tenth Cause of Action
           3                    62.        That the Court decree, adjudge and decree that Defendants violated
           4        California Business and Professions Code sections 17200, et seq. by failing to provide
           5        Plaintiff and the other class members all overtime compensation due to them, failing to
           6       provide all meal and rest periods to Plaintiff and the other class members, failing to pay

           7        at least minimum wages to Plaintiff and the other class members, failing to pay

           I       Plaintiffs            and the other class members'wages timely as required by California Labor

           I       Code section 201, 202 and204 and by violating California Labor Code sections226(a),

          l0        I 174(d),2800 and 2802.
(-t
lLmct     1l                    63,        For restítution of unpaid wages to Plaintiffand all the other class

Uen       t2       members and all pre-judgment interest from the day such amounts were due and
t-u¡Ë
U/, Ci
Ð   Ë'E   13       payable;
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€.as      14                    64.        For the appointment of a receiver to receive, manage and distribute any
piË'      15       and all funds disgorged from Defendants and determined to have been wrongfully
Ëgs
59        t6       acquired by Defendants as a result of violation of California Business and Professions
5*        t7       Code sections 17200, ot seq.;

          l8                    65.        For reasonable attorneys' fees and costs ofsuit incurred herein pursuant to
          t9       California Code of Civil Procedure section 1021.5;
          20       ¡',1 66.                For injunctive relief to ensure compliance with this section:, pursuant to
          2t       Califomia Business and Professions Code sections 172Q0, et seq.; and
          22                    67.        For such other and further relief as the Court may deem just and proper.
          23                                              As to the Eleventh Cause of ActÍon

          24                    68.        For civil penalties and wages pursuant to California Labor Code sections
          25       2699(a), (f) and (g) and 558 plus costs and attorneys' fees for violation of California

          26       Labor Code seçtions 201, 202,203,204,226(a),226.7,510, 512(a), ll74(d), 1194,
          27       1197,        ll97.l,     I 198, 2800 and 2802; and
          28       il/
                                                                              34
                     CLAss AcTtoN CoMPLAINT FoR DAMAGES            &   ENFoRCEMENT T,NDER THE PRIVATE ATToRNBYS CENERAL   AcT,
                                             CALTFoRNTA   LenoR Cope   $ 2698, ET SEe. AND DEMAND FoR   JuRy TRTAL
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 54 of 114 Page ID #:54


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         I              69.   For such other and lirther relief as the Court nlay deern equitable ancl

         2   appropriate.

         3
             Dated:August      27,2075                                 LAWVIIRS/oTJUSTICE, PC
         4

         5
                                                                 By:
         6                                                             Edlvin Ailvazian
                                                                       Attorneys J'or Plaintiff
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              CLASS ACTÍON COIVÍ PLAINl' FOR ÞA¡V!ÂOES & EN¡IOIICEMÍINT UNDER 1'III] PRIVATE AïTORNDYS GENERÄL AC1',
                              c^LtFoRNr^ L^Bon coDE $ 2698, E1'sEe. AND DEMAND FoR JURY TRt^t,
Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 55 of 114 Page ID #:55




                                                      Exhibit                     2
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                                       FIRST AMENDED
                                         SUMMONS                                                                             FORCOURT USE ONLY
                                                                                                                         ISO¿O PARá USO DE LA CORTE)
                                     (ctTACtoN JUDTCLAL)
   NOTICE TO DEFENDANT:
   (AV|SO AL DEMANDADO):
   DIAMOND RESORTS MANAGBMENT, INC., an unknown business
   entity; "Additional Parties Attachment form is attached,"
   YOU ARE BEING SUED BY PLAINTIFFI
   (LO ESTÁ DEMANDANDO EL DEMANDANTE):
   AUTUMN SMITH; individually, "Additional Parties Attachment form is
   attached."
                         ^A          -S-¿'. i?.                            le.\ "- to! le,
    NOTlcEl You have Þeen Sued. The court may decide agahst you wilf¡out your Þelng heard unloss you respond w¡thln 30 days. Read the information
     below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to flle a wrlttsn response at thls court and havo a cÒpy
    serv€d on lhe plalnl¡ff. A letter or phone call w¡ll not protect you. Your wrltten response must be ln propor legâl form if you want the courl to hear your
    case. There may be a courù form that you can use for your response, You can f¡nd lhos€ court forms and more informallon al lhe Callfornia Courls
    Online Self-Help Ça(úar (www.courtinlo.ca.gov/selfherp), your county law llbrary, or lho courthouse nearest you. lf you cannol. pay the f l¡ng fee, ask
    lhe court clerk for a lee waiver form, lf you do not file your response on timo. you may lose lho case by default, and your wages, money, and prope¡"ty
    may be taken without furthor warning from lhe court.
        There are olher legal requirements. You may want to call an attorney tight away. lf you do not know an sttornsy, you may want to call an atiorney
    referral servlce, lf you cannot afford an attorney, you may be ol¡gible for free legal servlces Íiom a nonpfotit legal services progfam. You can locate
   lheso nonproflt groups at the California Legal Servlces Web slte (www,lawhelpaallfornla,orgl,lhe Ca¡lfomla Courts Onllns Self-Help Center
    (www.couñlnfo.ca.gov/selfhelpJ, or by contacllng your local courl or county bar associatlon. NOTE: The oourt has a statutory lien for walved fees and
   costs on any sottlement or arbilratlon award of $10,000 or more ln a civll case, The court's llen mu6t be pald boforo the court wlll dlsmlss the case.
    tAVlSOl Lo han demandado, S/no responde dontro de 30 dlas, Ia aofte puede deçidir en su contra s/n osouchersu versión. Lea Ia lnfotñaolón a
   contlnuaalón.
       T¡ene 30 DIAS DE CALENDARIO después de quo le enlreguon esta cltaolén y papeles legales para presenlar una rcspuosta por osct¡to on esla
   cprte y hacer que se entregtte una copla al demandante. Una oarta o una llamada telefúnlcd no lo protegen, Su rosp¿¡esfa por èscrito tione que estar
   en formeto legal coffecto s/ døsea que procesen su oaso an la code. Es pos/b/e gue hayd un lomularlo que usted pueda usat paÍa su respuestå.
   Puade encontril estos formulsíos de la corte y más ¡nlormaclón en el Contro de Ayuda de las Corles de Cal¡hnlâ lw\¡vw.sucorte,ca.gov), en Ia
   b¡bl¡oteca de /oyes do su condar/o o on la coúe que le quede ñés 6elca. S/ ño puede pagar la cuota de prcsentaclón, plda al socratat¡o de la cofte
   que Ie dé un lormularìo de sxenalón de pago de cuoles, Si no prosanfa su respuesla a t¡empo, puede perder el caso por inaumplimiento y la oorle le
   podrá qultst su suøldo, dlnero y b/enes sin más edvertencla,
      Hay otros requisltos /egalos. Es tecomêndable que llame a un abogado Inmediatamente. Sl no conoce a un abogado, puede llamar a un sorviclo do
   rornlslón a abogados. SI no puede pagar a un ahogado, es pos/ble que aumpla con ,os ¡ogulsÍos para obtener sevlc¡os legales gntultos de un
   progftma do sorvrb/os lega/es sln Ínos de lucro. Puede enconfrar eslos grspos sln flnes de lucto en el sltío wob de California Legal Servicos,
   (www.larri¡helpcalifornia.org) en ol Centrc de Ayuda de las Corfes de Callfomla,lwww.sucorte.ca.gov) o ponléndose en contacto con la Çone o el
   coleglo de abogados /ocdres. AVISO: Por ley, la code tlene derocho a reclamar las cuofas y /os costos exentos por imponer un gravamen sobro
   cuatquler rccupèración de 910,000 ó más de valor roclbìda medlante un acuetdo o una conces¡ön de Búltrale en un oaso de derecho clvll. Tlana quo
   pagar el gravanen de la code arfes de guo la corte pueda desochar o/ caso,

  The name and address ofthe court is:                                                                      CASE NUMEER:
                                                                                                            (Núñem dølCaso):
  (El nombre y dirección de Ia corle es):         Riverside County Superior Court
                                                                                                                               RIC1sl0389
   4050 Main Street
   Riversíde, California 9250           I
  The name, address, and telephone number of plalntiffs attorney, or plaintiff without an attorney, is:
  (El nombro, la dirección y el n{tmerc de teléfono del abogado del dgmendante, o da! demandante que no tieno abogado, es):
   Edwin Aiwazian,4l0ArdenAve., Suite203, Glendale,CA91203;Telephone (8i8) 265-1020
   DATE:                                                                         Clerk,   bY                                                               , DePutY
   (Fecha)                                                                       (secrotario)

  (Para prueba de enlrega de esta citatlón use el formularlo Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
   fsEAt)                                   as an lndlvldual defendant.
                                 1




                                              under:   l---l   ccP 416,10 (oorporation)                               CCP 416.60 (minor)
                                                       T-l     ccP 416.20 (defunct corpòratlon)                       CCP 41 6.70 (conservatee)
                                                       T-l     CCP 416.40 (associatlon or partnership)       |_-]     CCP 416.90 (authorized person)

                                                       E    other (specify):
                                        4.          by personal delivery on (date):
   Fom Adopted for Mrndslory Uso
     Judici€l Comcil of Calllornls
                                             FI                           SUMMONS                                                 Cade ol Civlt Prc@durc S $ 4 1 2,20, 4€ 5
                                                                                                                                                    utw,coud¡n19.ñ.gov
    6UM.100 [Rov, July l, 2008]
Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 57 of 114 Page ID #:57




                                                                                                                                      suM-200
                                                                                                           CASE NUMBER:
       SHORTTITLE:
           Smith, et al. vs. Diamond Resorts Management, Inc., et al                                                      Rrcl5 r 0389
   -
                                                                 INSTRUCTIONS FOR USE
       i    This form may be used as an attaohment to any summons lf space does not permit the listlng of all parties on the summons.
       *    lf this attachmeni ls used, lnsert the following statement ¡n the plalntlff or defendant box on the summons: 'Addltional Parties
            Attachment form ls attached,"

       List addltional parties (C/reck only one box Use a separato page for each type        of pafty'):


           tf    Plaintiff l-ll Defendant f]             cross-complalnant             Cross-Defendant

       DIAMOND RESORTS INTERNATIONAL,                             an unknown business entity; and               DOES I through      100,
       inclusive,




                                                                                                                             Pago I        of   2
                                                                                                                                            Pss€ 1 ol   1


    Form Adoptod for Mãndatory u58
      Judlclal Counc.il of Califomlô
                                                 ADDITIONAL PART]ES ATTACHMENT
   SUM-200(A) lRou Janu8ry 1,20071                         Attachment to Summons
                                                     FIRST AMENDED SUMMONS
Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 58 of 114 Page ID #:58




                                                                                                                                     SU
                                                                                                       CASË NUMÈER:
       SHORTTITLET
       Smith, et al. vs. Diamond Resods Management, Inc,, et al.                                                      RIc1510389
   -
                                                                INSTRUCTIONS FOR USE
       *   This   form may be used  as  an attachment   to any summons    lf space does not permlt the listing of all parties on tho summons.
       *   lf this attachment ls used, insert the follow¡ng siatement ln the plaint¡ff or defendant box on the summons: 'Additional Parties
           Attachment form ls attachod."

       Líst addítlonaf parties (Cåeck only one þox, Use a saparate page for each type of party.):

           n       Plalntiff l-l Defendant [J            Cross-Cornplalnant      I     Cross-Defendant

       and on behalf of other members of the general public similarly situated and on behalf of other aggrieved
       employees pursuant to the Califomia Private Attorneys General Act; AI-ICE ALVAREZ; individuaily, and
       on behalf of other meinbers of the general public sirnilarþ situated;




                                                                                                                         Pase 2           ot    2
                                                                                                                                           Pâqo   I ofl
   Fom Adopt€d forMandalory U6o
    Judicial Councll of Callfomlû
                                                 ADDITIONAL PARTIES ATTACHMENT
  SUM.200(Ð Rov. Jenusry'1, 2004
               f                                          Attachment to Summons
                                                     FIRST AMENDED SUMMONS
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 59 of 114 Page ID #:59




              I   Edwin Aiwazian (SBN 232943)
                  LAWYERS                for JUSTICE,                   PC
              2   410 West Arden Avenue, Suite 203
                  Glendale, California 91203
              J   Tel: (81 8) 265-1020 / Fax: (818) 265-1021

              4   Att   or   ney s .þr   Plaintiffs

              5

              6
                                             SUPEIIIOR COURT OF THE STATE OF CALIFORNIA
              7                                                  F'OR   THE COUNTY OF'RIVERSIDE
              8   AUTTJMN SMITH; individually, and on                            Case       No.: RIC1510389
                  behalf of other members of the general publi
              9   similarly situated and on behalf of other                      I{onorable Sharon        .T.   Waters
                  aggrieved ernployees pursuant to tlie                          Department l0
             r0   California Private Attorneys General Act;
                  ALICE ALVAREZ; individually, and on                            FIRST AMENDED CLASS ACTION
u
ô-    fn     11   behalf of other members of the general publi                   COMPLAINT FOR DAMAGES &
      o
      c{          similarly situated;                                            ENFORCEMENT UNDER THE PRIVATE
t¡l of)
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    rN       t2                                                                  ATTORNEYS GENERAL ACT,
      dñd
       .oì                               Plaintiffs,                             CALIFORNIA LABOR CODE $ 2698, ET
t^ 9o                                                                            SEQ.
3     o=
             13
                               vs.
      åÈ                                                                         (1)
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a¡t
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                  DIAMOND RESORTS MANAGEMENT,
                                                                                           Violation of California Labor Code
                                                                                           $$ 510 and 1198 (Unpaid
É, <rs
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   øc        15   INC., an unknown business entity;                                        Overtime);
l¿J   O@
      3õ          DIAMOND RESORTS INTERNATiONAL,                                 (2)       Violation of California Labor Code
      o      16   an unknown business entity; and DOES I                                   Sç 226.7 and 512(a) (Unpaid Meal
      r+
=                 through 1 00, inclusive,                                                 Period Prerniums);
             17                                                                  (3)       Violation of California Labor Code
                                         Defendants.                                       ç 226.7 (Unpaid Rest Period
             18                                                                            Premiums);
                                                                                 (4)       Violation of California Labor Code
             r9                                                                            $$ I 194, 1197 , and 1197.1 (Uripaid
                   ^fìesyovrJx.          i   tzf   tt                                      Minirnum Wages);
             20                                                                  (5)       Violation of California Labor Code
                    ,-'yu Í*L: lo[3;r                   e'-ø:*
                                                                                           $$ 201 and202 (Final Wages Not
             2l                                                                            Timely Paid);
                                                                                 (6)       Violation of California Labor Code
             11
                                                                                           $ 204 (Wages Not Timely Paid
                                                                                           During Employment);
             23                                                                  (7)       Violation of California Labor Code
                                                                                           $ 226(a) (Non-Compliant Wage
             24                                                                            Statements);
                                                                                 (8)       Violation of Califolnia Labor Code
             25                                                                            $ 1174(d) (Failure To Keep
                                                                                           Requisite Payroll Records);
             26                                                                  (9)       Violation of California Labor Code
                                                                                           $$ 2800 and2802 (Unreimbursed
             27                                                                             Business Expenses);
                                                                                 (   1   0) Violation of California Business &
             28                                                                             Professions Code {i$ 17200, et seq.


                   FITTST     AveNoI]D CLASS ACTION COvpUINT'FOR DAMACËS & ENFoIICËMËNl.UNDER TI{E PRIVATE ATTORNEYS
                                 GENERAL Ac'l', CAT.TFoRNIA LABoR Coor $ 2698,8r Sne. aNu DrrM^ND ron Juny TRlel
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 60 of 114 Page ID #:60




             1                                                     (   I 1) Violation of California Labor Code
                                                                            $ 2698, et seq. (California Labor
            2                                                               Õode Private Attorneys General
                                                                          Act of2004)
             J
                                                                   DEMAND FOR JURY TRIAL
            4

             5          COME NOW, Plaintiff AUTUMN SMITH ("Plaintiff SMITH"), individually,

             6   and on behalf of other members of the general public sirnilarly situated and on behalf of

             7   other aggrieved employees pursuant to the California Private Attorney General Act,
                 and p l aintiff ALI CE ALVAREZ ("Plaintiff        AlvAREz")(collectively,           "Pl ainti   ffs")   and
             I
             9   allege as follows:

            10                                 JURISDICTION AND VENTJE
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            1i          1.       This class action is brought pursuant to the California Code of Civil
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¡¡J G' rô        procedure section 382. The monetary damages and restitution sought by Plaintiffs
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     9o     13   exceeds the rninimal jurisdiction limits of the Superior Court and                 be established
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     <=          according to proof at   trial. The "amount in controversy" for each named Plaintiff,
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    u-Þ     15   including clairns for conpensatory damages, restitution, penalties, wages, prernium
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     o      I6   pay, and pro rata share of attorneys' fees, is less than seventy-five thousand dollars
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=                ($75,000).
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            t8          Z.       This Court has jurisdiction over this action pursuant to the California

            T9   Constitution, Article VI, Section 10, which grants the superior court "original

            20   jurisdiction in all other causes" except those given by statute to other courts. The

            21   statutes under which this action is brought do not specify any other basis for

            22   jurisdiction.

            23          3.       This Court has jurisdiction over Defendants because, upon inforrnation

            24   and belief, Defendants are citizens of California, have sufficient rninirnum contacts in

                 California, or otherwise intentionally avail themselves of the California market so                 as to
            25

            26   render the exercise of.jurisdiction over thern by California courts consistent with

            27   traditional notions of fair play and substantial justice.

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                  FII<sr AVPNUEP CUSS ACI.ION COVI,I.RINI.FOIì DAMAGËS & ENTONCEMEN UNDER.II-IE PRIVA.IE A,T1'ORNEYS
                            GENIìRAL. ACl', CAt.tFoRNtA LABoIì CODE $ 2698,81'Seq. nnn D¡:vRNo I'oR JURY TIìlÂL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 61 of 114 Page ID #:61




                  I           4.    Venue is proper in this Court because, upon information and belief,

                  2   Defendant maintains offices, has agents, employs individuals, and/or transacts business

                  J   in the State of California, County of Riverside. The majority of acts and omissions
                  4   alleged herein relating to Plaintifß and the other class members took place in the State

                  5   of California, including the County of Riverside.
                  6                                             PARTIES
                  7           5.    Plaintiff AUTUMN SMITH is an individual residing in the State of
                  8   California.
                  9          6.     Plaintiff ALICE ALVAREZ is an individual residing in the State of
                 10   California.
rv)
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                 11          7.     Defendant DIAMOND RESORTS MANAGEMENT, INC., at all tirnes
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                 12   herein mentioned, was and is, upon inforrnation and beliet an unknown business entity,
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      èc         13   and at all tirnes herein mentioned, an employer whose ernployees are engaged
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                 14   throughout the State of California, including the County of Riverside.
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      øC         15          8.     Defendant DIAMOND RESORTS INTERNATIONAL, at all tirnes herein
      3t¡
3     o          16   mentioned, was and is, upon information and belief, an unknown business entity, and at
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      st

                 t7   all times herein mentioned, an employer whose employees are engaged throughout the
                 18   State of California, including the County of Riverside.

                 19          9.     At all relevant times, Defendant DIAMOND RESORTS
                 20   MANAGEMENT, INC. and DIAMOND RESORTS INTERNATIONAL were the
                 2I   "etnployer" of Plaintiffs within the rneaning of all applicable California laws and
                 22   statutes.

                 23           10.   At all times herein relevant, Defendants DIAMOND RESORTS
                 24   MANAGEMENT, INC., DIAMOND RESORTS IN'|ERNATIONAL, and DOES I through
                 25   100, and each of them, were the agents, partners, joint venturers,    joint employers,
                 26   representatives, servants, employees, successors-in-interest, co-conspirators and/or

                 27   assigns, each of the other, and at all tirnes relevant hereto were acting within the course

                 28   and scope of their authority as such agents, partners, joint venturers, joint employers,
                                                                     3

                       FIRSl'AMENDTU Cless AclroN Covlpu,rNr FOn DAMAcES & ENFoncEMENI'UNDER THE PruvAlE ATloRNËys
                                 GI]NERAL ACT, CALIFORNIA LAT]OIì CODE S 2698,81.SEQ. AND DEMAND I.oIì JIJRY TI{IAL
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 62 of 114 Page ID #:62




            1   representatives, servants, elnployees, successors, co-oonspiralors and/or assigns, and all

            2   acts or omissions alleged herein were duly committed with the ratiflrcation, knowledge,

            J   permission, encouragement, authorization and/or consent of each defendant designated

            4   as a DOE herein.

            5           11.    The true names and capacities, whether corporate, associate, individual or
            6   otherwise, of defendants DOES        I through    100, inclusive, are unknown to Plaintiffs

            7   who sues said defendants by such fictitious nalnes. Plaintiffs are informed and believe,
            I   and based on that infonnation and belief allege, that each of the defendants designated

            9   as a DOE is legally responsible for the events and happenings referred to in this

           10   Cornplaint, and unlawfully caused the injuries and damages to Plaintiffs and the other
L)
lL co     11    class members as alleged in this Cornplaint, Plaintiffs         will   seek leave of court to
   o
UËe       t2    amend this Complaint to show the true names and capacities when the same have been
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-rl':     13    ascertained.
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                       12.     Defendant DIAMOND RESORTS MANAGEMENT, INC., DIAMOND
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BEË       15    RESORTS INTERNATIONAL, and DOES 1 through 100                    will hereinafter collectively     be
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           16   referred to as "Defendants."
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=ã.       I7           13.     Plaintiffs further allege that Defendants, directly or indirectly controlled
           18   or affected the working conditions, wages, working hours, and conditions of

           I9   employrnent of Plaintiffs and the other class rnembers and aggrieved ernployees so                as

          20    to rnake each of said Defendants ernployers and employers liable under the statutory
          21    provisions set forth herein.

          22                                 CLASS ACTION AI,I,E,GATIONS
          23            14.    Plaintiffs bring this action on their own behalf and on behalf of all other
          24    members of the general public sirnilarly situated, and, thus, seeks class certification

          25    under California Code of Civil Procedure section 382.

          26    ilt
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                 FIRS,I' AMENDËD CLASS ACI.IoN CovIpIaINT.TOnDaH¿¿GeS   & ENFORCI]MENT UNDER TI.ÍE PIìIVATE ATI.ORNEYS
                          CENììrì^L Ac't, C^Llt:oRNtA LABorì Coor $ 2698,8t'SEQ. AND DEMAND FOIt JuRy TRtAr-
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 63 of 114 Page ID #:63




                 1           15.    The proposed class is defined as follows:

                 2                  CLASS. All current and former hourly-paid or non-exempt ernployees
                 J                  who worked for any of the Defendants within the State of California at

                 4                  any time during the period frorn August 28, 2011 to finaljudgment.

                 5                  SUBCLASS         A. All   current and former hourly-paid or non-exempt

                 6                  employees who worked for any of the Defendants within the State                 of
                 7                  California at any tirne during the period frorn four years preceding the
                 I                  fîling of this Cornplaint to final.judgrnent who earned commissions/non-
                 9                  discretionary bonuses/non-discretionary performance pay which was not

                l0                  used to calculate the regular rate of pay used to calculate the overtirne rate
(J              11                  for the payment of overtime wages.
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                12           16.    Plaintiffs reserve the right to establish subclasses as appropriate.
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                13           17.    The class is ascertainable and there is a well-defrned comrnunity of
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                t4   interest in the litigation:
É, <o           15                  a.      Nurnerosit),: The class members are so numerous that joinder of all
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      o         16                           class rnembers is impracticable. The mernbership of the entire
      sf
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                17                           class is unknown to Plaintifß at this tirne;however, the class is

                18                           estirnated to be greater than      fifty (50) individuals and the identity
                T9                           of such membership is readily ascertainable by inspection of
                20                          Defendants' employment records.

                2t                  b.      Typicalit),': Plaintiffs' claims are typical of all other class metnbers'

                22                           as demonstrated     herein. Plaintiffs will fairly and adequately
                23                          protect the interests of the other class tnembers with whom she has

                24                           a   well-defined community of interest.
                25                  c.       Adequacy: Plaintiffs will fairly and adequately protect the interests

                26                           of each class member, with whorn she has a well-defined
                27                           community of interest and typicality of claitns, as demonstrated

                28                           herein. Plaintiffs have no interest that is antagonistic to the other
                                                                         5
                                                                                                     .I[-IE
                      FIRsT AMENDED CI-ASS ACTIoN CovpmINT      I.OIì DAMACES & ENI.ORCEMI]NT UNDER     PIìIVATE A.I.TORNEYS
                               GENERAL Ac.I., CALII:ofìNIA LABOIì CODIÌ $ 2698, ET SEQ, AND DEM^ND FOR JUIIY TIUAL
          Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 64 of 114 Page ID #:64




                     I                           class rnembers. Plaintiffs' attorlleys, the pfoposed class counsel,

                    2                            are versed in the rules governing class action discovery,

                    ^J                           certification, and settlement. Plaintiffs have incurred, and during

                    4                            the pendency of this action        will continue to incur,     costs and

                    5                            attorneys' fees, that have been, are, and will be necessarily

                    6                            expended for the prosecution of this action for the substantial

                    7                            benefit of each class member.

                     8                   d.      Superiorit)r: A class action is superior to other available methods

                     9                           for the fair and efficient adjudication of this litigation because

                    10                           individual joinder of all class members is irnpractical.
u
CL        (n        11                   e.      public Policy Considerations: Certiflrcation of this lawsuit as a class
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(J .Èo              t2                           action   will   advance public policy objectives. Employers of this
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v,         9o       13                           great state violate employment and labor laws every day. Current
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                                                 ernployees are often afiaid to assert their rights out of fear of direct
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   øC               15                           or indirect retaliation. However, class actions provide the class
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          d         16                           members who are not narned in the cornplaint anonyrnity that
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                    t7                           allows for the vindication of their rights.

                    18          l   B.   There are colnmon questions of law and fact as to the class members that

                    t9   predominate over questions affecting only individual rnetnbers. The following

                    20   colnlnon questions of law or fact, alxong others, exist as to the members of the class:

                    21                   a.       Whether Defendants' failure to pay wages, without abatement or

                    22                            reduction, in accordance with the California Labor Code, was

                    23                            willful;
                    24                   b.       V/hether Defendants' had a corporate policy and practice of failing

                    25                            to pay their hourly-paid or non-exempt ernployees within the State

                    26                            ol. California   for all hours worked and rnissed, short, late, and/or

                    27                            interrupted lneal pel'iods atid rest breaks in violation of California

                    28                            law;
                                                                               (r


                          Prnsr Av¡Nopn Cl¡ss AcrloN CoMPLAIN'I I'oR DAMACES &         ENNONCRN¡EN'f I.JNDER TI{E PRIVATE ATTORNEYS
                                     GENFIRAL Ac1 , CAl..lFOlìNlA LABOR Coor $ 2698,F1'SuQ. nruo Duv¡,Ntl I'oÌì JURY TIìlAL
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              1                 c       Whether Defendants required Plaintiffs and the other class

              2                         lnembers to work over eight (8) hours per day and/or over forty

              3                         (40) hours per week and failed to pay the legally required overtime

              4                         compensation to Plaintiffs and the other class tnetnbers;

              5                 d       Whether Defendants failed to use the comrnissions/non-

              6                         di screti   onary bonuses/non    - cli s creti   onary performan ce pay to

              7                         calculate the regular rate of pay used to caloulate the overtitne rate

              I                         for the payrnent of overtitne wages where Plaintiffs and the other

              9                         class rnembers were paid cornrnissions/non-discretionary

             10                         bonuses/non-discretionary performance pay and overtime rvages in
rJ           11                         the same workweek;
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t¡l o flt                               Whether Defendants deprived Plaintiffs and the other class
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             13                         members of meal and/or rest periods or requirecl Plaintiffs and the
    9-Þ
    <=                                  other class tnembers to work during meai and/or rest periods
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t¡JØC        15                         without compensation;
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      30                                Whether Defendants failed to pay minitnum wages to Plaintiffs and
3     o      16                 f,
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             17                         the other class members for all hours worked;

             18                 o
                                ¡r'     Whether Defendants failed to pay all wages due to Plaintifß and

             19                         the other class members within the required tirne upon their

             20                          discharge or resignation;

             21                 h        Whether Defendants failed to tirnely pay all wages due to Plaintiffs

             22                          and the other class tnetnbels during their ernployrnent;

             23                          Whether Defbndants cornplied with wage reporting as required by

             24                          the California Labor Code; including, inter alia, section 226;

             25                 j        V/hether Defendants kept complete and accurate payroll records                as


             26                          required by the California Labor Code. including, inter alia, section

             27                          trTaß);
             28
                                                                     7

                  FIRSl' AMENDIIP C¡,ASS ACTION COMPLAINT I'OR DAMA6ES & ENIJORCEMËNl' UNDER 1]-IE PRIVAl'E ATTORNËYS
                            GENETìAI, AC'r', Cz{l-ll'OIìNìA LABOII CODIì {i 2698, ET StìQ. ¡rtu,¡ DËMAND FOIì JURY TIìIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 66 of 114 Page ID #:66




               1                    lc.    Whether Defendants failed to reirnburse Plaintifß and the other

               2                           class members for necessary business-related expenses and costs;

               J                    l.     V/hether Defendants' conduct was       willful   or reckless;

               4                    ln.    Whether Defendants engaged in unfair business practices in

               5                           violation of California Business & Professions Code section

               6                           17200, et seq.;
               "l                   n.     The appropriate alnount of darnages, restitution, and/or monetary

               8                           penalties resulting from Defendants'violation of California law;

               9                           and

              10                    o.     Whether Plaintiffs and the other class members are entitled to
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fL    rn
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              il                           compensatory damages pursuant to the California Labor Code.
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l¡J oco                                                PAGAJ.LLEGATIONS
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      FC      13              ß.    At all tirnes herein set forth, PAGA was applicable to Plaintiff SMITH's
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              14    employrnent by Defendants,
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              15              20.   At all times herein set forth, PAGA provides that any provision of law
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  s   d       i6    under the California Labor Code that provides for a civil penalty, including unpaid

              T7    \¡/ages and premiuln wages, to be assessed and collected by the Labor and Workforce

              18    Developrnent Agency ("L'WDA'') for violations of the California Labor Code tnay,               as


              19    an alternative, be recovered through a civil action brought by an aggrieved ernployee

              20    on behalf of hirnself and other current or former etnployees pursuant to procedures

              21    outlined in California Labor Code section 2699.3'

              22              21.   Pursuant to PAGA, a civil action under PAGA rnay be brought by an

              23    "aggrieved employee," who is any person that was employed by the alleged violator
              24    and against whotn one or more of the alleged violations was commìtted.

              25              22.   Plaintiff SMITH was ernployed by Defendants          and the alleged violations

              26    \ryere   colnmitted against her during her tirne of ernployment and she is, therefore, an

              27    aggrieved ernployee. Plaintiff SMITH and the other ernployees are "aggrieved

              28    employees" as defined by California Labor Code section 2699(c) in that they are
                                                                     I


                     FIRS'| AMENDen CIess Acr.¡oN COMPLAINI.POR DNV¡TCNS & ENFORCEMENT UNDER TI-IE PIIIVATE ATI-ORNEYS
                               GENç¡ìAL Acr, CAI-IFOIINIA LAl3oll CODË $ 2698,8'r'SnQ. n¡p DtiM^ND FOR JURY TRIAI-
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 67 of 114 Page ID #:67




                I   currenl or former employees of Defendants, and one or lnore of the alleged violations

                2   were colnlnitted against them.

                J          23.     Pursuant to California Labor Code sections 2699 .3 and 2699 .5, an

                4   aggrieved employee, including Plaintiff SMITH, may pursue a civil action arising

                5   under PAGA after the following requirements have been met:

                6                  a.      The aggrieved ernployee shall give written notice by certified rnail

                7                          (hereinafter "Employee's Notice") to the LWDA and the elnployer

                8                          of the specific provisions of the California Labor Code alleged to

                9                          have been violated, including the facts and theories to support the

               l0                          alleged violations.
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               11                  b.      The LWDA shall provide notice (hereinafter "LWDA Notice") to
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               t2                          the ernployer and the aggrieved ernplo¡rer by certified mailthat it
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      9o       l3                          does not intend to investigate the alleged violation within thirty
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      <=                                   (30) calendar days of the postmark date of the Ernployee's Notice.
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l¡¡hc          15                          Upon receipt of the LWDA Notice, or if the LWDA Notice is not
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3 o=6          16                          provided within thirty-three (33) calendar days of the postrnark
f  st

               T7                          date of the Employee's Notice, the aggrieved employee lnay

               18                          cotntnence a civil action pursuant to California Labor Code section

               19                          2699 to recover civil penalties in addition to any other penalties to

               20                          which the ernployee lnay be entitled.

               2l           24.     On July 24,2015, Plaintiff SMITH provided written notice by certifTed

               22   rNAil tO thE   LWDA   ANd tO DEfENdANtS      DIAMOND RESORTS MANAGEMENT, INC.
               23   and DIAMOND RESORTS INTERNATIONAL of the specific provisions of the

               24   California Labor Code alleged to have been violated, including the facts and theories to
               25   support the alleged violations. Therefore, the adrninistrative prerequisites under

               26   Calilornia Labor Code section 2699.3(a) to recover civil penalties, including unpaid
               27   wages and premium wages per California Labor Code section 558 against Defendants,

               28   in addition to other remedies, for violations of California Labor Code sections 201,
                                                                       9

                     FIIìSI.AMENDED CLASS Acl.IoN CoMPLAINT T.oIì DAMAGES & ENFORCEMENT UNDER 1.I-IIJ PRIVAl.Ë AT OR¡IPYS;
                                GrNrn¡rl Acl, CAl,ll'onNrA LABotì CoDE g 2698,8lSnQ. ¡rruo DËMAND FoR JURY TlìlAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 68 of 114 Page ID #:68




                    I   202,203,204,226(a),226.7,510,512(a),1174(d),1194,1197,1197.1, 1198,2800and
                    2   2802 hav e been satisfied.

                    J                                    GENERAL                     ,{TIONS
                    4             25.   At all relevant tirnes set fbrth herein, Defendants employed Plaintiffs             and

                    5   other persons as hourly-paid or florloxolnpt ernployees within the State of Caiifornia.

                    6             26.   Defendants,iointly and severally, ernployed Plaintiff SMITH                as an

                    7   hourly-paid, non-exempt employee fiom approximately December 2013 to
                    8   approximately Septernber20I4, in the State of California, County of Riverside.
                    9             27.   Defendants, jointly and severally, ernployed Plaintiff ALVAREZ as an

                   10   hourly-paid, non-exempt employee from approxilnately June 201.2 to approxirnately
(J                 11   March 2013 and frorn approxirnately March 2014 to approximately April 2014, in the
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                   12   State of California, County of Riverside.
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3 bË               13             28.   Defendants hired Plaintiffs and the other class members and classified
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                        them as hourly-paid or non-exernpt employees, ancl failed to compensate ther¡ for all
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   qc              i5   hours worked and rnissed, short, late, and/or interrupted rneal periods and/or rest
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3     o            16   breaks.
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                   T7             29.   Defendants had the authority to hire and terminate Plaintiffs and the other

                   18   class members; to set work rules and conditions governing Plaintiffs' and the olher

                   19   class members' employrnent; and to supervise their daily employment activities.

                   20             30.   Defendants exercised sufficient authority over the terms and conditions of

                   21   Plaintiffs' and the other class rnembers' employlnent for thern to             be   joint ernployers of

                   22   Plaintiffs and the other class tnembers.
                   ¿)             31.   Defendants directly hired and paid wages and benefits to Plaintiffs and the

                   24   other class mernbers.

                   25             32.   Defendants continue to ernploy hourly-paid or non-exempt employees

                   26   within the State of California.
                   27             33.   Plaintiffs and the other class mernbers worked over eight (8) hours in               a

                   28   day, andlor forty (40) hours in a week during their ernployrnent with Defendants.
                                                                          l0
                         F¡IUjl.AMENDuu CI-¡.ss AcTIoN CovpIeIN.r FoR DAMACES & ENFORCEMEN.f.UNDER       TI.IE PRIVAI.E ATTORNEYS
                                   GËNEI{AL ACI'I, CALII'OIINIA LABOR CODË   S 2698,81'SEQ. AND DEMAND FOIì. JURY TRIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 69 of 114 Page ID #:69




              I           34.    Ptaintiffs are informed and believe. and based thereon allege, that
              2    Defendants engaged in a uniform policy/practice of wage abuse against their hourly-

              J    paid or non-exempt ernployees within the State of California. This unifonn

              4    policy/practice involved, inter alia, failing to pay thern for all regular and/or overtime

              5    wages earned, rnissed meal periods and rest breaks in violation of California law.

              6           35.    Plaintiffs are informed and believe, and based thereon allege, that
              7    Defendants knew or should have known that Plaintiffs and the other class members

              8    were entitled to receive certain wages for overtime compensation and that they were

              I    not receiving wages for overtirne colnpensation.

             10           36.    Plaintiffs are informed and believe, and based thereon allege, that
IÈ    rn
             l1    Defendants failed to use the commissions/non-discretionary bonuses/non-discretionary
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(J  5c{      12    performance pay to calculate the regulat raÍ.e of pay used to calculate the overtitne rate
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ttt 9ro            for the payment of overtime wages where Plaintiffs and the other class members were
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     bu      t4    paid commissions/non-discretionary bonuses/non-discretionary perfortnance pay and
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      øc     15    overtime wages in the satne workweek.
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             16           37.    Plaintifß are infonned and believe, and based thereon allege, that
s            17    Defendants failed to provide Plaintiffs and the other class tnernbers the required rest

             18    and meal periods during the relevant tirne period as required under the Industrial

             t9    V/elfare Cornmission Wage Orders and thus they are entitled to any and all applicable
             20    penalties.

             21           38.    Plaintiffs are informed and believe, and based thereon allege, that
             22    Defèndants failed to relieve Plaintiffs and the other class tnetnbers of all duties, failed

             23    to relinquish control over Plaintiffs and the other class tnembers activities, failed to
             aÀ
             L.+   perrnit Plaintiffs and the other class rnernbers a reasonable opportunity to take, and

             25    irnpeded or discouraged thern from taking thirty (30) rninute uninterrupted rneal breaks

             26    no later than the end of their fifth hour of work for shifts lasting at least six (6) hours,

             27    andlor to take second thirty (30) rninute uninterrupted meal breaks no later than their

             28    tenth hour of rvorl< for shifts lasting more than ten (10) hours.
                                                                  ll
                    FInsT.AvINoED CLASS AcTIoN CoMPLAINT FoIì DAMAoES & ENFORCËMENT UNDER TI-IE PRIVATE ATTORNEYS
                              GENErìAr- Acr", CALTFORNTA LABorì CoDË g 2698,8t See. n¡¡u DEM^ND FoR JuRv TRIAL
   Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 70 of 114 Page ID #:70




            1           39.    PlaintilÏs are informed and believe, and based thereon allege, that
            2   l)efendants knew or should have known that Plaintiffs and the other class members
            J   were entitled to receive all rneal periods or payrnent of one additional hour of pay at
            4   Plaintiffs' and the other class mernber's regular rate of pay when a meal period was
            5   short, interrupted, late, and/or missed, and they did not receive all rneal periods or
            6   payment of one additional hour of pay at Plaintiffs' and the other class member's

            7   regular rate of pay when a meal period was short. late, interrupted, andlor tnissed.
            I           40.    Plaintiffs are informed and believe, and based thereon allege, that
            9   Defendants failed to provide, authorize, and perrnit Plaintiffs and other class members

           10   to take full, uninterrupted, off-duty rest periods for every shift lasting three and one-
ICL rn     11   half (3.5) to six (6) hours and/or two full, uninterrupted, off-duty rest periods for every
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UEe        12   shift lasting six (6) to ten (10) hours, and failed to make a good faith effort to provide,
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           13   authorize, and permit such rest brealcs in the middle of each work period.
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                        41.    Plaintiffs are infbrmed and believe, and based thereon allege, that
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PEË        15   Defendants knew or should have known that Plaintiffs and the other class rnembers
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r<o        t6   were entitled to receive all rest periods or payment of one additional hour of pay at
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           17   Plaintiffs' and the other class member's regular rate of pay when a rest period was
           t8   short, late, interrupted, andlor missed, and they did notreceive all restperiods or
           t9   payment of one additional hour of pay at Plaintiffs' and the other class mernbers'

           20   regular rate of pay when a rest period was short, late, interrupted, andlor missed.

           21          42.     Plaintiffs are inforrned and believe, and based thereon allege, that
           22   Defendants knew or should have known that Plaintiffs and the other class mernbers

           23   were entitled to receive at least minimum wages for compensation and that they were
           24   not receiving at least minimurn wages for all hours worked.
           25           43.    Plaintiffs are infonned and believe, and based thereon allege, that
           26   Defendants knew or should have known that Plaintiffs and the other class members
           11   were entitled to receive all wages owed to thern upon discharge or resignation,

           28   including overtirne and minimulr wages and rneal and rest period prerniurns, and they
                                                                  t2
                 FIIIST AMENDED CLASS Acr.IoI.I CovpIeINr ¡-Cx DnMaCrS & ENFORCEMENT UNDnR Tf.IE PÍìIVATE ATTOIìNEYS
                           GENERAI., 4C1., CALIIIORNIA LABOR COoe $ 2698,8.1 SpQ, ¡iNI> DBMAND I.OR JURY TRIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 71 of 114 Page ID #:71




             I   did not, in fact, receive all such wages owed to thern at the tirne of their discharge or
             2   resignation.

             J          44.     Plaintiff's are informed and believe, and based thereon allege, that

             4   Defendants knew or should have l<nown that Plaintiffs and the other class lnembers

             5   were entitled to receive all wages owed to thern during their ernployment. Plaintiffs

             6   and the other class rnembers did not receive payrnent of all wages, including overtitne

             7   and minirnum wages and meal and rest period prelniums, within any time permissible

             8   under California Labor Code section 204.

             9          45.     Plaintiffs are infonned and believe, and based thereon allege, that
            10   Defendants knew or should have known that Plaintiffs and the other class members
IIL   cf)
            1t   were entitled to receive complete and accurate wage statements in accordance with
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            t2   California law, but, in fact, they did not receive cornplete and accurate wage statements
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      )'=   I3   from Defendants. The defîciencies included, Ìnter alia, the failure to include the total
    9.Þ
    <È           number of hours worked by Plaintiffs and the other class tnetnbers.
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É, È-o      15          46.     Plaintiffs are informed and believe, and based thereon allege, that
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    oro
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3     o     16   Defendants knew or should have known that Defendants had to keep cornplete and
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      s
            T7   accurate payroll records for Plaintiffs and the other class metnbers in accordance with

            18   California law, but, in fact, did not keep cornplete and accurate payroll records.
            T9          47.     Plaintiffs are informed and believe, and based thereon allege, that
            20   Defendants knew or should have known that PlaintifÏs and the other class members

            2T   were entitled to reitnbursement for necessary business'related expenses.

            22          48.     Plairitiffs are infornred and believe, and based theleon allege, that
            23   Defendants knew or should have known that they had a duty to compensate Plaintiffs

            24   and the other class members pursuaut to California law, and that Defendants had the

            2s   fïnancial ability to pay such compensation, but willfully, knowingly, and intentionally

            26   failed to do so, and falsely represented to Plaintiffs and the other class members that

            27   they were properly denied wages, all in order to increase Defendants' profits,

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                  FIRST AMENDËD CI,ASS Ac.TIoN CovpLnIwI. I.OR DAMAGES & ENI'ORCEMENT.UNDEIì 1'I-IE PRIVATE ATTORNEYS
                           GENTjRAI. Ac],T, CALII:OIìNIA L^BOI{ COOE $ 2698,F1'SEQ, AND DËMAND T,ON JUNY TNIAI
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 72 of 114 Page ID #:72




              i            49.   At all material times     set   forth herein, Defendants failed to pay overtime
              2   wages to Plaintiffs and the other class members for all hours worked. Plaintiffs and the

              3   other class rnembers were required to work more than eight (8) hours per day and/or

              4   forty (40) hours per week without overtime cotnpensation.
              5            50.   At all matelial times     set   forth herein, Defendants failed to use the
              6   commissions/non-discretionary bonuses/non-discretionary perfonnance pay to calculate
              7   the regular rate of pay used to calculate the overtime rate for the payrnent of overtime

              I   wages where Plaintiffs and the other class metnbers were paid comrnissions/non-

              9   discretionary bonuses/non-discretionary performance pay and overtime \¡/ages in the
             10   sarne workweek.
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tL rno       11            51.   At all material tirnes set forth herein, Defendants failed to provide the
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9ÈR          T2   requisite uninterrupted rneal and rest periods to Plaintiffs and the other class members.
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             13            52.   At all rnaterial times set forth herein, Defendants failed to pay Plaintiffs
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             t4   antl the other class mernbers at least rninimum wages for all hours worked.
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             15            53.   At all rnaterial times    set forth herein, Defendants failed to pay Plaintiffs

             16   and the other class members all wages owed to them upon discharge or resignation.
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=ã_,         17            54.   At all material tirnes set forth herein, Defendants failed to pay Plaintiffs
             18   and the other class members all wages within any time perrnissible under California

             19   law, including, inter alia, California Labor Code section 204.
             20            55.   At all material tirnes set forth herein, Defendants failed to provide
             2t   cornplete or accurate wage statements to Plaintiffs and the other class tnembers.

             22            56.   At all rnaterial times    set forth herein, Defendants failed to keep complete

                  or aoourate payroll records for Plaintiffs and the other class metnbers.
             24            57.   At all material times     set forth herein, Defendants failed to reimburse

             25   Plaintiffs and the other class members for necessary business-related expenses and
             26   costs.

             27   ill
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                   FIRSI.AMIjNDED CI.ASS   AcTIoN COMPLAINl.FOIì DAMAGËS & ENT'OIìCEMENT UNDER 1]IE PRIVATE ATTORNEYS
                            GENEIIAL Ac,I., C^LITc¡ITNIA LABOR CODI' S 2698,8.1.S8Q. AND DI]MAND FOR JURY TRIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 73 of 114 Page ID #:73




               i            49,   At all material times    set forth herein, Defendants f¿iled to pay overtime

               2   wages to Plaintiffs and the other class lnembers for all hours worked. Plaintiffs and the
               a
               J   other class mernbers were required to work more than eight (8) hours per day and/or

               4   forty (40) hours per week without overtime compensation'
               5            50,   At all material tirnes set forth herein, Defendants failed to use the
               6   commissions/non-discretionary bonuses/non-discretionary perforlnance pay to calculate
               7   the regular rate of pay used to calculate the overtime rate for the payrnent of overtime

               8   wages where Plaintiffs and the other class tnembers were paid cornrnissions/non-

               9   discretionary bonuses/non-discretionary performance pay and overtitne wages in the
              10   sarne workweek.
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È (no         11            51.   At all material tirnes set forth herein, Defendants failed to provide the
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(J i{J O      t2   requisite uninterrupted rneal and rest periods to Plaintiffs and the other class members.
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Ð   )'=       13            52.   At all material times set forth herein, Defendants failed to pay Plaintiffs
      9.õ
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       -o     14   and the other class rnernbers at least rninimuln wages for all hours worked.
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              15            53.   At all material times set forth herein, Defendants failed to pay Plaintiffs
      5\e
3     o       16   and the other class members all wages owed to thern upon discharge or resignation.
f     s
              17            54.   At all material times set forth herein, Defendants failed to pay Plaintiffs
              18   and the other class rnernbers all wages within any time perrnissible under California

              I9   law, including, inter alia, California Labor Code section 204.
              20            55.   At all material times set forth herein, Defendants failed to provide
              2I   cornplete or accurate wage staternents to Plaintiffs and the other class members.
              ))            56.   At all rnaterial times   set forth herein, Defendants failed to keep complete

              ¿5   or acourate payroll records for Plaintiffs and the other class members.

              24            51.   At all material tirnes set forth herein, Defendants failed to reilnburse
              25   Plaintiffs and the other class members for necessary business-related expenses and
              26   costs.

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                    FIRSI.AMENDTo CI¡ss AcTIoN COMPLAINT'FOtì DAMAGES & ENI'OIìCEMENT UNDER ]]-IE PRIVATE AI.TORNI,JYS
                             GENEIIAL ACT, CALIFOI{NIA LABOR COOE $ 2698,Fl,S8Q. AND DTVNNN FOR JURY']-RIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 74 of 114 Page ID #:74




                   1             58.     At all material tirnes set forth herein, Defendants failed to properly
                   2   compensate Plaintiffs arld the other class rnembers pursuant to California law in order

                       to increase Defendants' profits.
                   4              59.    California Labol Code section 218 states that nothing in Article               I   of the

                   5   Labor Code shall limit the right of any wage clairnant to "sue directly . . . for any
                   6   wages or penalty due to hirn for her] under this article'"

                   7                                       F'IRST CAUS              OF'ACTION

                   8                        (Viotation of California Labor Code $$ 510 and 1198)
                   9                     (Against DIAMOND RESORTS MANAGEMENT, INC.,
                  10            DIAMOND RESORTS INTERNATIONAL' and DOES 1 through 100)
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                  11             60.     Plaintiffs incorporate by reference the allegations contained in Paragraphs
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                  T2   1   through 59, and each and every part thereof with the satne force and effect as though
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f õ:              13   fully set forth herein.
      <=                         61.     California Labor Code section I i98 and the applicable Industrial Welfare
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      Øç          15   Comrnission ("IWC") Wage Order provide that it is unlawful to ernploy persons
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      d           16   without cornpensating them at a. rate of pay either tirne-and-one-half or two-times that
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                  17   person's regular rate of pay, depending on the number of hours worked by the person

                  18   on a daily or weekly basis.
                  19             62.     Specifically, the applicable IWC V/age Order provides that Defendants

                  20   are and were required to pay Plaintiffs and the other class members ernployed by

                  21   Defendants, and working more than eight (8) hours in a day or rnore than forty (40)

                  22   hours in a workweek, at the rate of tirne-and-one-half the regular rate of pay for all
                  z5   hours worked in excess of eight (8) hours in a day or lnore than forty (40) hours in a

                  24   workweek.
                  25              63.    The applicable IWC Wage Order further provides that Defendants are and

                  26   were required to pay Plaintiff's and the other class lnembers overtime colnpensation at a

                  27   rate of two times their regul ar rate of pay for all hours worked in excess of twelve ( 12)
                  28   hours in a day.
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                           FìRs]'AMENI)ED CI-ASS AC.I"IoN COMPLAIN].FOII DAMACES & ENFOÍì.CEMJ]N.I   UNDITR THE PRIVAI.E ATTORNEYS
                                     GENERAT- AcT', CALIT'oRNtA LABoR CoDË S   2698,8T   SEQ, AND DEMAND   non Junv Tntnl
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 75 of 114 Page ID #:75




            1            64.     California Labor Code section 510 codifies the right to overlime

            2     compensation at one-and-one-half tirnes the regular hourly rate for hours worked in

            J     excess of eight (8) hours in a day or forty (40) hours in a week or for the first eight (8)

            4     hours worked on the seventh day of work, and to overtime compensation at twice the

            5     regular hourly rate for hours worked in excess of twelve (12) hours in a day or in
            6     excess of eight (8) hours in a day on the seventh day of work.

            7            65.     During the relevant tirne period, Plaintiffs and the other class members

            8     worked in excess of eight (8) hours in a day, and/or in excess of forty (40) hours in                a

            9     week performing work duties off the clock and during rneal periods and rest periods

          10      including, but not limited to, performing customer service, responding to business-
(J        11      related inquiries, fTling, and providing coverage.
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Ëee       T2             66.     During the relevant tirne period, Defendants intentionally and willfully
Fa3
(/)9.
          13      failed to pay overtime wages owed to Plaintiffs and the other class rnembers. Plaintiffs
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.P;8      14      ancl the other class mernbers did not receive overtime compensation and one-and-one-
pËË        15     half times their regul ar rate of pay for all hours spent performing job duties in excess of
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           16     eight (8) hours in a day or forty (40) hours in a week or for the first eight (8) hours
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=ã.        17     worked on the seventh day of work.

           18             67.    Defendants' failure to pay Plaintiffs and the other class members the

           T9     unpaid balance of oveftirne compensation, as required by California laws, violates the

           20     provisions of California Labor Code sections 5 10 and 1 198, and is therefore unlawful.

           21            68.     Pursuant to California Labor Code section 1794, Plaintiffs and the other
           ')')   class members are entitled to recover unpaid overtime compensation, as well as interest,

           ¿3     costs, and attorneys' fees.

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                   FIIìST AMI]ND¡T) CLASS ACTION COVIPURIN'I'FOIì. DAMACES & ENITORCEMENT UNDEIì ]'HI] PRIVAI.E A.TTOI{NËYS
                              GI,rugnnI 4C1., CAt,II'ORNIA LABOÍì CODË $ 2698,Fl.SEQ. AND DEMAND I'OR JURY TIIIAI,
       Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 76 of 114 Page ID #:76




               1                                     SECO ND CAUS E OF ACTION

               2                     (Violation of California Labor Code $$ 226.7 and 512(a))
               J                     (Against DIAMOND RESORTS MANAGEMENT, INC',

               4           DIAMOND RESORTS INTERNATIONAL, and DOES I through 100)
               5            69.      Plaintiffs incorporate by reference the allegations contained in paragraphs
               6   I   through 68, and each and every part thereof with the same force and effect as though

               7   fully set forth herein.
               8            70.      At all relevant times, the IWC Order and California Labor Code sections
               9   226.7 and 512(a) were applicable to Plaintiffs' and the other class members'

              10   ernploytnent by Defendants.
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              1l            7|   .   At all relevant times, California Labor         Code section 226.7 provides that
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              T2   no ernployer shall require an ernployee to work during any meal or rest period
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       9o     13   rnandated by an applicable order of the California IWC.
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        -_Q   t4            i2.      At all relevant times, the applicable IWC V/age Order and California
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              15   Labor Code section 512(a) provide that an employer may not require, cause or permit
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    o         16   an ernployee to work for a worlc period of more than fîve (5) hours per day without
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              t7   providing the ernployee with          a meal    period of not less than thirty (30) rninutes, except

              18   that if the total work period per day of the employee is no more than six (6) hours, the

              19   rneal period rnay be waived by rnutual consent of both the employer and ernployee.

              20             73.     At all relevant times, the applicable IWC Wage Order               and California

              2I   Labor Code section 512(a) further provide that an ernployer may not require, cause or
              22   perrnit an ernployee to work for a work period of more than ten (10) hours per day

                   without providing the ernployee with a second uninterrupted rneal period of not less
              24   than thirty (30) rninutes, except that if the total hours worked is no tnore than twelve

              25   (12) hours, the second rneal period rnay be waived by rnutual consent of the ernployer

              26   and the employee only          if the first rneal period was not waived'
              27             74.     During the relevant tirne period, Plaintiffs and the other class members
              28   who were scheduled to work for             a   peliod of tirne no longer than six (6) hours, and who
                                                                          t7
                       FlRST AMI]NDED CT.ASS ACTION COMPLAINT FOR DAMACES      &   ENFOI{CEMENT UNDEII TIIE PRIVATE ATTORNEYS
                                 CENERal ACl', CALII-'oRNIA LABOIì COnr $ 2698,8t SnQ. .aNo DUH¿¡No FOIì, JURY TIìlAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 77 of 114 Page ID #:77




              I   did   lot waive their legally-rnandated      rneal periods by rnutual consent, were required to

              2   work for periods longer than five (5) hours without an uninterrupted mealperiod of not
              J   less than thirty (30) minutes and/or rest period.

              4             i5.    During the relevant tirne period, Plaintiffs and the other class lnembers
              5   who were scheduled to work for a period of tirne in excess of six (6) hours were
              6   required to work for periods longer than five (5) hours without an uninterrupted rneal

              7   period of not less than thirty (30) minutes and/or rest period.

              8             76.    During the relevant tirne period Plaintiffs' and the other class members'
              9   rneal periods were rnissed, short, late, and/or interrupted because Defendants required

             10   them to perform work duties, including, but not lirnited to, performing customer
(J           1l   service, responding to business-related inquiries, f,rling, and providing coverage.
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             12             77.    As   a result, Defendant   failed to relieve Plaintiffs and the other class
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      9o     13   members of all duties, failed to relinquish control over Plaintiffs and the other class
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      <=          rnerrbers' activities, failed to perrnit Plaintifß and putative class members a reasonable
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                  opportu¡ity to take, and irnpeded or discouraged them frorn taking thirty (30) rninute
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3     o      t6   uninterrupted meal breaks no later than the end of their fifth hour of work for shifts
      s
             T7   lasting at least six (6) hours andlor to take second thirty (30) rninute uninterrupted meal

             18   breaks no later than their tenth hour of work for shifts lasting more than ten (10) hours.

             r9             i8.    During the relevant tirne period, Defendants intentionally and willfully
             20   required Plaintiffs and the other class metnbers to work during tneal periods and failed

             2l   to compensate Plaintiffs and the other class mernbers the full rneal period prerniurn for

             22   work performed during rneal periods'
             23              79.   During the relevant tirne period, Defendants failed to pay Plaintiffs and
             )4   the other class mernbers the full rneal period premiutn due pursuant to California Labor

             25   Code section 226.7.

             26              80.    Defendants' conduct violates applicable IWC Wage Order and California

             27   Labor Code sections 226,7 and 512(a)'
             28
                                                                      t8
                   FIRS.T   AMENDTP CINSS ACTION COVPIAINT FOR DAMAGES & ENFoRCEMEN].UNDEIì TI"IE PRIVATE AN.ONN¡VS
                               GENljRAr. AC.r, CRr,rr.OlrNlA LABOR COnr 5s 2698,8T SEe. AND DEMAND FOR JUIìY TRIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 78 of 114 Page ID #:78




               1              81.    Pursuant to applicable IWC Wage Order and California Labor Code

               2    section 226.7(b), Plaintiffs and the other class members are entitled to recover from
               J    Defendants one additional hour of pay at the employee's regular rate of compensation

              4     for   each   wofk day that the meal or rest period is not provided.
               5                                       THrRP CAUSE OF ACT,ION
               6                              (Violation of California Labor Code S 226.7)
               7                      (Against DIAMOND RESORTS MANAGEMENT, INC.'

               8             DIAMOND RESORTS INTERNATIONAL, and DOES 1 through 100)
               9              82.    Plaintiffs incorporate by reference the allegations contained in paragraphs
              10    1   through 81, and each and every part thereof with the satne force and effect as though
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              1l    fully set forth herein.
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        o     12              83.    At all times herein set forth, the applicable IWC wage order              and
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3             13    Caiifornia Labor Code section 226.7 were applicable to Plaintiffs' and the other class
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                    members' elnployment by Defendants.
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              15              84.    At all relevant times, California Labor Code section 226.7 provides that
      >(,
3             16    no employer shall require an ernployee to work during any rest period mandated by an
f
      d
      s
              17    applicable order of the California IWC.

              18              85.     At all relevant times, the applicable IWC Wage Order provides that
              19    "[e]very ernployer shall autho rize andpermit all ernployees to take rest periods, which
              20    insofar as practicable shall be in the rniddle of each work period" and that the "rest

              21    period tirne shall be based on the total hours worked daily at the rate of ten (10)

              22    minutes net rest tirne per four (4) hours or majol fraction thereof' unless the total daily

              23    work tirne is less than three and one-half (3 '/r) hours.
              24              86.     During the relevant tirne period, Defendants required Plaintiffs and other
              25    class members to work four (4) or rrore hours without authorizing or perrnitting a ten

              26    (10) rninute rest period per each fbur (4) hour period worked'
              )'7              87.    During the relevant tirne period Plaintiffs' and the other class mentbers'
              28    rest periods were rnissed, short, late, and/or interrupted because Defendant required
                                                                          t9
                                                                                                       .IHE
                        FIRST AMEND.ED CLASS ACTION COMPI,,AINl. I'OR DAMACES   &   ENFORCEMENI-UNDER       PRIVA'TE ATTORNEYS
                                  GENERAL 4C1., CAI.II'OIT.IIIE LRBON CODË s 2698,81.SEQ. ÀND DEMAND Ì'OR JURY  TRIAL
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 79 of 114 Page ID #:79




                1   thern to perform work duties including, but not lirnited to, perfonning customer service,

                2   responding to business-related inquiries, fîling, and providing coverage.

                J          8S.    As a result, Defendants f'ailed to provide, authorize, or permit Plaintiffs

                4   and the other class rnembers to take f'ull, uninterrupted, off-duty rest periods Íor every

                5   shift lasting three-and-one-half (3.5) to six (6) hours and/or two full, uninteruupted, off-
                6   duty rest periods for every shift lasting six (6) to ten (10) hours, and failed to make a
                7   good faith effort to authorize, perrnit, and provide such rest breaks in the middle       of
                8   each work period.

                9          89.    During the relevant time period, Defendants willfully required Plaintiffs
               10   and the other class members to work during rest periods and failed to pay Plaintiffs and
{J             11   the other class rnenbers the full rest period premium for wori< perfonned during rest
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     rN        12   periods.
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               13          90.    During the relevant tirne period, Defendants failed to pay Plaintiffs and
     åÈ
     -õ             the other class members the full rest period premiurn due pursuant to California Labor
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É,  tôC        15   Code section 226.7
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    5tc
    o          16          91.    Defendants' conduct violates applicable IV/C Wage Orders and California
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               t7   Labor Code section 226.7.
               18          92.    Pursuant to the applicable IWC Wage Orders and California Labor Code

               19   section 226.1(b), Plaintiffs and the other class members are entitled to recover from

               20   Defendants one additional hour of pay at the ernployees' regular hourly rate         of
               2t   cornpensation for each work day that the rest period was not provided.
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                     FIRST AMENDED CLASS Ac.TIc¡N CoMPLAINT FOIì DAMAGES & ENFORCËMENl.UNDER I.HTJ PRIVATE AI.TORNEYS
                              GEN¡Tn¡L AcìT, CALIFOIINIA LABOR COD}, $ 2698,81.SFJQ. AND DEMAND FOR JI.JRY TRIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 80 of 114 Page ID #:80




              I                                   FOURTH CAUSE OF               CTION

              2                 (violation of california Labor code $$ 1194, 1197, and 1197.1)
              J                    (Against DIAMOND RESORTS MANAGEMENT, INC',
              A
                           DIAMOND RESORTS INTERNATIONAL, and DOES 1 through 100)
              5             93.    Plaintiffs incorporate by reference the allegations contained in paragraphs
              6   1   through 92,   and each and every part      thereof with the satne force and effect as though

              7   fully set forth herein,
              I             94.    At all relevant times, California Labor Code sections 1194,1197,            and

              9   llgj    .1 provide that the minirnum wage to be paid to ernployees, and the payrnent of a

             10   lesser wage than the minimum so fixed is unlawful.
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             11             95.    During the relevant tirne period, Defendants failed to pay tninimum wage
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l¡J   orn         to Plaintiffs and the other class mernbers as required, pursuant to California Labor
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t)    9o     13   Code sections      IIg4, I\gl,and     1   197.1.
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      <=                    96.    During the relevant tirne period, Plaintiffs and the otlier class members
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l¡l   øC     15   were required to perfonn job duties off the clock, including, but not lirnited to,
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      o      16   performing customer service, responding to business-related inquiries, filing, and
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             17   providing coverage.
             18             97.    Defendants' failure to pay Plaintiffs and the other class rnembers the

             t9   minirnum wage as required violates California Labor Code sections IL94,II97, and
             20   1197    .1. Pursuant to those sections Plaintiffs and the other class members           are entitled to

             2I   recover the unpaid balance of their minirnutn wage compensation as well as interest,

             22   costs, and attorney's fees, and liquidated darnages in an amount equal to the viages

             23   unlawfully unpaid and interest thereon.
             24             93.    Pursuant to California Labor Code section         llgl   .1, Plaintiffs and the other

             25   class members are entitled to recover a penalty of $100.00 for the initial failure to

             26   tirnely pay each ernployee minimum wages, and $250.00 for each subsequent failule to
             27   pay each ernployee minimum wages'

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                      FIRSl'AMENDNO CI¡SS ACTION COUPLNIN'I'FOR DAMACËS & EN}'ORCEMENT UNDEII ]'I'IE PRIVATE ATI.oRNEYS
                                GI,NERAT, AC , CALII,OIìNIA LABOR CODE S 2698,8T SI]Q, AND DEMAND FOR JURY TIì,IAL
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 81 of 114 Page ID #:81




           1             99.      Pursuant to California Labor Code section 1194.2, Plaintiffs and the other

          2     class members are entitled to recover liquidated damages in an amount equal to the
          ô
          J     wages unlawfully unpaid and interest thereon.

          T/1                                       FIFTH CA            OF ACTION

          5                          (Violation of California Labor Code $$ 201 and 202)
          6                        (Against DIAMOND RESORTS MANAGEMENT, INC.,

          7             DIAMOND RESORTS INTERNATIONAL, and DOES                           1   through 100)
          8              100, Plaintiffs incorporate by reference the allegations contained in paragraphs
          9     1   through 99, and each and every part thereof with the satne force and effect         as   though

         10     fully   set   forth herein.
IÉLm     11              101. At all relevant times herein       set forth, California Labor Code sections 201
   o
uee      I2     and202 provide that           if an employer discharges   an employee, the wages earned and
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         13     unpaid at the time of discharge are due and payable imrnediately, and          if   an ernployee
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€-sü     T4     quits his or her ernploynrent, his or her wages shall become due and payable not later
p3Ë      15     than seventy-trvo (72) hours thereafter, unless the ernployee has given seventy-two (72)
lrt85
         16     hours' notice of his or her intention to quit, in which case the ernployee is entitled to
<sf
=3u      T7     his or her wages at the tirne of quitting.
         18               102. Plaintiffs and the other class members did not receive all wages,         earned

         19     and unpaid, within seventy-two (72) hours of leaving Defendants' employ.

         20              103. During the relevant        tirne period, Defendants intentionally and willfully

         21     failed to pay Plaintiffs and the other class rnembers who are no longer employed by
         22     Defendants their wages, earned and unpaid, within seventy-two (72) hours of their

         23     leaving Defendants' ernploy.
         24              104. Defendants' failure to pay Plaintiffs        and the other class tnembers who are

         25     no longer ernployed by Defendants' their wages, earned and unpaid, within seventy-

         26     two (72) hours of their leaving Defendants' ernploy, is in violation of California Labor
         )7     Code sections 201 and202.

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                                                                   22
                 FIIì.S] AMENDUo CInss AC'IIoN COMPLAINT FOR DAMAGËS & ENFORCEMENl.UNDER I'I{E PIUVATE AI]'ORNEYS
                            GENËIIAt, AcT, CALIFoRNIA LABoR C0DI: $ 2698,8T SDQ. AND DEMAND I.OR JURY TIUAT,
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 82 of 114 Page ID #:82




              I           105. California Labor Code section            203 provides that       if   an ernployer   willfully

             2     fails to pay wages owed, in accordance with sections 201 and 202, then the wages of

              J    the employee shall continue as a penalty fi'om the due date thereof at the same rate until
             4     paid or until an action is commenced; but the wages shall not continue for rnore than

              5    thirty (30) days.
              6           106. Plaintiff's     and the other class mernbers are entitled to recover from

              7    Defendants the statutory penalty wages for each day they were not paid, up to a thirty

              8    (30) day maximurr pursuant to California Labor Code section 203.

              9                                      SIXTH CAUSE OF'ACTION
             10                              (Violation of California Labor Code $ 204)
(J           l1                    (Against DIAMOND RESORTS MANAGEMENT, INC.,
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             12          DIAMOND RESORTS INTERNATIONAL, and DOES I through 100)
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f    )'=     t3              107. Plaintiffs incorporate by reference the allegations contained in paragraphs
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      <È                                  each and every part thereof with the same force and effect as though
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   b(J       t4    I through 106, and
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             15    fully set forth herein.
      3('                    108. At all tirnes herein    set forth, California Labor Code section 204 provides
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             t7    that all wages earned by any person in any employment between the lst and 15th days,

             18    inclusive, of any calendar rnonth, other than those wages due upon tennination of                     an

             19    employee, are due and payable between the 16th and the 26rh day of the month during

             20    which the labor was performed'
             21              109. At all tirnes herein set forth, California Labor Code section 204 provides
             22    that all wages ealned by any person in any employrnent between the 16th and the last

             23    day, inclusive, of any calendar month, other than those wages due upon tennination                         of
             24    an employee, are due and payable between the 1st and the I Oth day of the following

             25    rnonth.

             26              110. At all times herein      set forth, California Labor Code section 204 provides

             )'7   that all wages earned for labor in excess of the normal work period shall be paid no
             28    later than the payday for the next regular payroll period.
                                                                        23

                    FIRST AMENDTN CI¡TSS AC,IION   COMPLAINT I..OIì DAMAGES   &   ENFORCEMENT UNDER TIIË PIìIVA'TE ATl'ORNEYS
                               GENËIìAI- ACT, CALIIIOIìNIA LABOTì CODE $ 2698,E,I.SNC¡. ENO DEMAND I.OR JTJRY TRIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 83 of 114 Page ID #:83




                1             1   t   1. During the relevant tirne period, Defendants intentionally and willf'ully
                2   f'ailed to pay Plaintifß and the other class members all wages due to thetn, within any

                J   time period perrnissible under California Labor Code section 204.

                4             1I2. Plaintiffs       and the other class members are entitled to recover all remedies

                5   available for violations of California Labor Code section 204'

                6                                      SEVENTH CAUSE OF ACTION
                7                               (Violation of California Labor Code $ 226(a))
                I                         (Against DIAMOND RESORTS MANAGEMENT' INC.,

                9            DIAMOND RESORTS INTERNATIONAL, and DOES I through 100)
               10             1   13.    Plaintiffs incorporate by reference the allegations contained in paragraphs
(J             i1   1   through 112, and each and every part thereof with the same force and effect                   as though
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      ìN       12   fully set forth herein.
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               13              1I4. At all material      times set forth herein, California Labor Code section
      q=
    -õ              226(a)provides that every ernployer shall furnish each of his or her employees an
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      !þ       15   accurate itemized staternent in writing showing (1) gross wages earned, (2) total hours
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3     o        16   worked by the employee, (3) the nurnber of piece-rate units earned and any applicable
      s
               T7   piece rate if the ernployee is paid on a piece-rate basis, (4) all deductions, provided that

               18   all deductions made on written orders of the ernployee may be aggregated and shown                         as

               19   one item, (5) net wages earned, (6) the inclusive dates of the period for which the

               20   ernployee is paid, (7) the name of the ernployee and his or her social security number,
               )1   (8) the narne and address of the legal entity that is the ernployer, and (9) all applicable

               22   hourly rates in effect during the pay period and the corresponding nurnber of hours
               23   worked aI each hourly rateby the ernployee. The deductions made frorn payments of

               24   wages shall be recorded in ink or other indelible fortn, properly dated, showing the

               25   rnonth, day, and year, and a copy of the statetnent or a record of the deductions shall be

               26   kept on file by the ernployer for at least three years at the place of ernploytnent or at a

               27   central location within the State of California.

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                        FIRsr AIørrupED CLASS AcrIcII.I COMPLAINl. I'Ofì DAMACES & E¡¡I.ONC¡MEN.I. UNDI]R TIIE PIìIVATE ATTORNEYS
                                   GENunnL. ACT, CAL]I'OIINIA L^BOIì CODE $ 2698,8T SEQ. AND DEMAND FOfi JIJIìY TRIAL
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 84 of 114 Page ID #:84




                 I              I   15.   Defendants have intentionally and willfully failed to provide Plaintiffs and

                 2   the other class members with complete and accurate wage statements. The deficiencies

                 )   include, but are not limited to: the failure to include the total nutnber of hours worked
                 4   by Plaintiffs and the other class members.

                 5              l l6. As     a   result of Defendants' violation of California Labor Code section

                 6   226(a),Plaintiffs and the other class members have suffered injury and darnage to their
                 n   statutorily-protected rights.

                 I              lI7.      More specifically, Plaintiffs and the other class members have been
                 9   injured by Defendants' intentional and willful violation of California Labor Code

                10   section 226(a) because they were denied both their legal right to receive, and their
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ô- m            11   protected interest in receiving, accurate and itemized wage statements pursuant to
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                12   California Labor Code section 226(a).
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:) =-           13              118. Ptaintiffs      and the other class members are entitled to recover from
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    4È               ,.Defendants the greater of their actual Camages caused by Defendants' failure to cornply
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                15   with California Labor Code section 226(a), or an aggregate penalty not exceeding four
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     H          16   thousand dollars per ernployee.
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                17              119. Plaintiffs       and the other class members are also entitled to injunctive relief

                18   to ensure cornpliance with this section, pursuant to California Labor Code section
                19   226(Ð.
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                      FIITS.T   AMENDTD   Cuss ACTION CovIpL,¿iINT. }'oR DAN4AGES & ENI,ORCEMEN IJNDER ].HE PRIVATE ATToRNEYS
                                     GrtrRnl Acr, CRt.l¡oRNlA LABOIì CooE $ 2698,81 SEQ, AND DÈMAND FOR JURY TRIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 85 of 114 Page ID #:85




               1                                    EIG          CAUSE OF         CTION

               2                           (Violation of California Labor Code $ 1174(d))
               J                    (Against DIAMOND RESORTS MANAGEMENT, INC.'

               4            DIAMOND RESORTS INTERNATIONAL, and DOES                               1   through 100)

               5             lZ0. Plaintiffs incorporate      by reference the allegations contained in paragraphs

               6   1   through I 19, and each and every part thereof with the same force and effect as though

               7   fully set forth herein.
               I             I2L    Pursuant to California Labor Code section 1174(d), an employer shall

               I   keep, at a central location in the state or at the plants or establishtnents at which

              10   ernployees are ernployed, payroll records showing the hours worked daily by and the
(J            11   wages paid to, and the nurnber of piece-rate units earned by and any applicable piece
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              t2   rate paid to, employees employed at the respective plants or establishrnents. These
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      9o      13   records shall be kept in accordance with rules established for this purpose by the
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.o bu-o       t1   comnrission, but in any case sha.ll be kept on file for not less than two years.
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      øc      15             I22. Defendants      have intentionally and     willfully failed to keep    accurate and
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3 Õ=r¡        T6   complete payroll records showing the hours worked daily and the wages paid, to
f  $

              t7   Plaintiffs and the other class tnembers.
              18              I23. As a result of Defendants'violation         of California Labor Code section

              t9   lI74(d),Plaintiffs and the other class members have suffered injury and darnage to
              20   their statutorily-protected rights.
              21             I24.   More specifically, Plaintiff's and the other class members have been
              22   injured by Defendants' intentional and willful violation of California Labor Code

              23   section 1174(d) because they were denied both their legal right and protected interest,

              24   in having available, accurate and cornplete payroll records pursuant to California Labor
              25   Code section 1174(d).

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                       FINS'I AVTNOED CLASS ACI'ION COMPI.AIN'| FOR D^M^GES & ENFORCEMÈNT UNDER TI{E PRtVAl'E 41.1'OIìNEYS
                                 GENERAL ACT, CALII'ORNIA LABOIì CODIJ S 2698,8.1 SI1Q. AND DEMAND }:OIì JURY TRIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 86 of 114 Page ID #:86




                I                                    EIGH         CAUSE OF         CTION

                2                           (Violation of California Labor Code $ 1174(d))
                J                     (Against DIAMOND RESORTS MANAGEMENT, INC.,
                4            DIAMOND RESORTS INTERNATIONAL' and DOES                              1   through 100)

                5             120. Plaintiffs incorporate by reference the allegations contained in paragraphs
                6   1   through I 19, and each and every part thereof with the satne force and effect as though

                7   fully set forth herein,
                I             1211 Pursuant to California Labor Code section 1174(d), an employer shall
                9   keep, at a central location in the state or at the plants or establishments at which

               10   employees are ernployed, payroll records showing the hours worked daily by and the
(J             11   wages paid to, and the number of piece-rate units earned by and any applicable piece
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               T2   rate paid to, employees employed at the respective plants or establishrnents. These
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      ¿'¿      13   records shall be kept in accordance with rules established for this purpose by the
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    b(J        t1   commission, but in any case shall be hept on file for not less than two years.
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               15             I22.   Defendants have intentionally and       willfully failed to keep    accurate and
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3     o        16   complete payroll records showing the hours worked daily and the wages paid, to
f     $

               t7   Plaintiffs and the other class members.
               18              I23. As a result of Defendants'      violation of California Labor Code seotion

               19   lI74(d), Plaintiffs and the other class mernbers have suffered injury and             darnage to

               20   their statutorily-protected rights.
               21             124. More specifically, Plaintiff's      and the other class members have been

               22   injured by Defendants' intentional and willful violation of California Labor Code
               )1   section 1174(d) because they were denied both their legal right and protected interest,

               24   in having available, accurafe and cornplete payroll records pursuant to California Labor

               25   Code section      ll74(d).
               26

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               28   lll
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                        FINSr'AVTNOËD CI-ASS ACl"tON COMPLAIN'f FOR DAMAGES & ENFORCEMI]NT UNDËR TIIB PRIVAI'E AI]'OIìNEYS
                                  GENËRAL Ac'r, CALtI'oRNl,A LABOR Cool: $ 2698,8't SÈQ, AND DEMAND lìolì JURY TRI^L
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 87 of 114 Page ID #:87




            1                                  NINTH CAU             OF'ACTION

            2                     (Violation of California Labor Code $$ 2800 and 2802)
            J                    (Against DIAMOND RESORTS MANAGEMENT, lNC.'

            4         DIAMOND RESORTS INTERNATIONAL, and DOES I through 100)
            5          I25.     Plaintiffs incorporate by reference the allegations contained in paragraphs
            6   I through     124, and each and ever)/ part thereof with the same f'orce and effect as though

            7   fully set forth herein.
            I          126. Pursuant to CaliforniaLabor Code sections 2800            and 2802, an ernployer

            9   must reimburse its employee for all necessary expenditures incurred by the ernployee in

           10   direct consequence of the discharge of his orher job duties or in direct consequence of
(J         11   his or her job duties or in direct consequence of his or her obedience to the directions          o
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           t2   the employer.
(/l g- o                                   and the other class members incurred necessary business-related
           13           127. Plaintiffs
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 ¡*{E
€.st       14   expenses and costs that were not fully reimbursed by Defendants including, but not
p¡€        15   lirnited to, the use of personal cell phones for business-related purposes, the costs of
I¡J3F
           t6   cleaning and maintaining clothing in cornpliance with Defendants' dress code and/or
f"
=ã.        17   uniform policy, and the costs of necessary office supplies'
           18           IZ8.    Defendants have intentionally and     willfully failed to reirnburse Plaintiffs
           19   and the other class mernbers for all necessary business-related expenses and costs'

           20   Plaintiffs and the other class members are entitled to recover from Defendants their
           2I   business-related expenses and costs incurred during the course and scope oftheir
           ))   employrnent, plus interest accrued from the date on which the ernployee incurred the

           ¿J   necessary expenditures at the same rate as judgrnents in       civil actions in the State of
           24   California.
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                 FIIìS,I AMENDED CLASS AC.TION COMPLAINl.FOR DAMAGES & ENFORCEMENT UNDEIì l.IIE PRIVATË ATTOIìNËYS
                            CENtjRAL ACT, CALII'OIìNIA LABOR CODE $ 2698,F1.SEQ, AND DDMAND FOR JUIì\, TRIAL
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 88 of 114 Page ID #:88




            1                                   TENTII CAUSE OF ACTIOIN
           2             (Violation of California Business & Professions Code $$ 17200' et seq.)
           J                     (Against DIAMOND RESORTS MANAGEMENT, INC.'
           4             DIAMOND RESORTS INTERNATIONAL, and DOES                          1   through 100)

            5             I29. Plaintiffs   incorporate by reference the allegations contained in paragraphs

           6    1   through I28, and each and every part thereof with the satne force and effect       as   though

           7    fully set forth herein.
            8             130. Defendants'     conduct, as alleged herein, has been, and continues to be,

           9    unfair, unlawful and harrnfl¡l to Plaintiffs, other class members, to the general public,
          10    and Defendants' competitors. Accordingly, Plaintiffs seeks to enforce irnportant rights
(J        i1    affecting the pubtic interest within the rneaning of Code of Civil Procedure section
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          12    1021.5.
(/t I.                    131. Defendants' activities    as alleged herein are   violations of California law,
          13
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                and constitute unlawful business acts and practices in violation of California Business
€.; I     14

BEË        15   & Professions Code section t7200, et seq.
Ëså
53        i6              I32. A violation    of California Business & Professions Code section 17200, eI
f*         t7   seq. may be predicated on the      violation of any state or federal law. In this instant    case,

           18   Defendants'policies and practices of requiring ernployees, including Plaintiffs and the
           T9   other class rnembers, to work overtime without paying thern proper compensation

          20    violate Califonia Labor Code sections 510 and 1198. Additionally, Defendants'
          2L    policies and practices of requiring ernployees, including Plaintiffs and the other class

          22    rnembers, to work through their rneal and rest periods without paying thern proper

          23    cornpensation violate California Labor Code sections 226.7 and 5Iz(a). Defendants'

          24    policies and practices of failing to pay minilnum wages violate California Labor Code

           25   sections 1.194,    II97, and I 197.1, Moreover, Defendants' policies       and practices    of
           26   failing to timely pay wages to Plaintiffs and the other class rnembers violate California
           27   Labor Code sections 20t,202 and204, Defendants also violated California Labor

           28   Code sections 226(a),1174(d),2800 and 2802.
                                                                  28

                    FIRST AMËNDED CLASS ACTION COMPLAINT FOIì DAMACES & ENFORCEMENl.UNDER THE PRIVATE AI.TORNEYSj
                             GI-]NERAL ACT, CALII.ORNIA LABOIì CODE $ 2698,8T STJQ. AND D¡VANP TON JURY TRIEI
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 89 of 114 Page ID #:89




              I             133. As a result of the herein     described violations of California law,

              2    Defendants unlawfully gained an unfair advantage over other businesses.

              J             134, Plaintiffs and the other class lnembers have been personally injured by
              4    Defendants' unlawful business acts and practices as alleged herein, including but not
              5    necessarily lirnited to the loss of money and/or property.

              6             135.      Pursuant to California Business & Professions Code sections 17200, et

              7    seq., Plaintiffs and the other class members are entitled to lestitution of the wages

              8    withheld and retained by Defendants during          a   period that commences August 28,2011;

              9    an award of attorneys' fees pursuant to California Code of           Civil procedure section
             i0    l02l.5   and other applicable laws; and an award of costs,
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CL (n
             11                                  ELEVENTH CAUSE OF AçTION
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IJJ   orñ                               (Violation of California Labor Code
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             1,2                                                                   $S 2698' et seq.)
tt, 9o                                (Against DIAMOND RESORTS MANAGEMENT, INC.,
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             l4     '       DIAMONÐ RESORTS INTERNATIONAL, and DOES I through 100)
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      qC     15             136. Plaintiff SMITH incorporates by reference the allegations contained in
      OJU
      5t9
      o      16    pangraphs      I through 135, and each and every part thereof with         the same force and
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f            17    effect as though fully set forth herein.
             18             137. PAGA expressly        establishes that any provision of the California Labor

             T9    Code which provides for a civil penalty to be assessed and collected by the LWDA, or

             20    any of its departrnents, divisions, colnlnissions, boards, agencies or employees for a

             2t    violation of the California Labor Code, rnay be recovered through a civil action brought
             22    by an aggrieved ernployee on behalf of himself or herself, and other current or former
             ¿J    ernployees.

             24             l3   8.   Whenever the LWDA, er any of its departtnents, divisions, cotntnissions,

             25    boards, agencies, or employees has discretion to assess a civil penalty, a court in a civil

             26    action is authorized to exercise the satne discretion, subieot to the sarne limitafions and

             27    conditions, to assess a civil penalty.

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                    FIRST AMENDED CLASS ACTION CoMPI.AINT pon DAH¡RCTS & ENI:ORCEMËNT. UNDEIì,I-I.IE PRIVA,IE ATI.OI{NEYS
                             GrNen¡\L AcT, CALII'ORNI^ LAI]oR CoDE $ 2698,E1- STQ. ANU DËM^ND I.OR .IUIìY TRIAL
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               1            139. Plaintiff SMITH    and the other hourly-paid or non-exelnpt employees, are

               2   "aggrieved elnployees" as defined by Califbrnia Labor Code section 2699(c) in that
               3   they are all current or former employees of Defendants, and one or more of the alleged
               4   rriolations was colnütitted against thern.

               5                                     Failure to PaY Overtime

               6            140. Defendants' failure to pay legally required overtime wages to Plaintiff
               1   SMITH and the other aggrieved ernployees is in violation of the Wage Orders and
               8   constitutes unlawful or unfair activity prohibited by California Labor Code sections

               9   510 and I 198.

              10                                 Failure to Provide Meal Periods
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              11            I4I.   Defendants' failure to provide legally required meal periods to Plaintiff
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              12   SMITH and the other aggrieved ernployees is in violation of the Wage Orders and
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:f            13   constitutes unlawful or unfair activity prohibited by California Labor Code sections
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              t4   226.1 and 512(a).
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       øq     15                                 Failure to Provide Rest Periods
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3     =o
      o       16            142. Defendants' failure to provide legally required      rest periods to   Plaintiff
f
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              17   SMITH and the other aggrieved employees is in violation of the Wage Orders and
              18   constitutes unlawful or unfair activity prohibited by California Labor Code section

              19   226.7.

              20                                 Failure to Pay Minimum Wages

              2l            I43.   Defendants' fäilure to pay legally required tninimutn wages to Plaintiff

              22   SMITH and the other aggrieved ernployees is in violation of the Wage Orders and
              23   constitutes unlawful or unfair activity prohibited by California Labor Code sections

              24   1194, 1197 and lI97 .1.

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                    FIRST AMËNDED CLASS ACI'ION COMPLAINl'IìOII DAMAGES & ENFORCEMEN'I IJNDER l'HE PRIVATE ATTORNEYS
                             GENERAL ACr., C¡r,I-II.ORN]A LABOIì CODIJ $ 2698,81.SEQ. AND DEMAND I.OIT JUNV T¡UNI
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             1                       Failure to Timely Pay Wages Upon Termination
             2          144. Defendants' failure to tirnely pay \ilages to Piaintiff SMITH and the other
             3   aggrieved employees upon terrnination in accordance with Labor Code sections 201

             4   and 202 constitutes   unlawful and/or unfair activity prohibited by California Labor Code
             5   sections 201 and 202.

             6                      Failure to Timely Pay Wages During Employment
             7          145. Defendants' failure to tirnely pay wages to Plaintiff SMITH             and the other

             I   aggrieved ernployees during ernployment in accordance with Labor Code section 204

             9   constitutes unlawful and/or unfair activity prohibited by California Labor Code section

            10   204.
ICL   o     11                Failure to Provide complete and Accurate wage statements
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      c.l
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I (ãÈ       12          146. Defendants' failure to provide cornplete         and accurate wage statements to
tr -N-ot
ttt 9o      13   Piaintiff SMITH and the other aggrieved employees in accordance with Labor Code
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.o bL)
   -o       T4   section 226(a) constitutes unlawful and/or unfair activity prohibited by California
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            15   Labor Code section 226(a).
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      5o
      o     i6                  Failure to Keep Complete and Accurate Payroll Records
= {
f           t7          147. Defendants' failure to keep cornplete and accurate payroll records relating
            18   to Plaintiff SMITH and the other aggrieved etnployees in accordance with California

            T9   Labor Code section 1174(d) constitutes unlawful and/or unfair activity prohibited by
            20   California Labor Code section 1174(d),
            21           Failure to Reimburse Necessary Business-Related Expenses and Costs
            22          148. Defendants' failure to reirnburse Plaintiff SMITH            and the other aggrieved

            23   ernployees   fol necessary business-related expenses and costs in accordance with
            24   California Labor Code sections 2800 and 2802 constitutes unlawful and/or unfair

            25   activity prohibited by California Labor Code sections 2800 and 2802.
            26           149. Pursuant to California Labor Code section 2699, Plaintiff SMITI-I,
            27   individually, and on behalf of all aggrieved employees, requests and is entitled to
            28   recover frorn Defendants and each of thetn, business expenses, unpaid wages, and/or
                                                                  31

                  FIRSl'AMËNDPN CIASS ACTION COMPLAINl'J'OIì DAMAOES & ENI'ORCEMENT UNDER TI-{IT PIìIVATE A].IOt{NËYS
                            GpNBnRr- AC'r, CAt,lFOtìNl,^ LABOR COou $ 2698,8't'SuQ. nruo DEMAND I'OR.IURY TRIAL
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              1   ulltimely wages according to proof, interest, attorneys' fees and costs pursuallt to
              2   California Labor Code section 218.5,        as   r//ell as all statutory penalties against

              J   Defendants, and each of them, including but not lirnited to:

              4                  a.      Penalties under California l,abor Code section 26,99 inthe amount               of
              5                          a hundred dollars ($100)      for each aggrieved ernployee per pay

              6                          period for the initial violation, and two hundred dollars ($200) fbr

              7                          each aggrieved ernployee per pay period for each subsequent

              I                          violation;

              9                  b.      Penalties under California Code of Regulations Title          I section 11070
             10                          in the arnount of   fifly dollars   ($SO¡ for each aggrieved employee per

L)
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             1t                          pay period for the initial violation, and one hundred dollars ($1OO¡
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             12                          for each aggrieved ernployee per pay period for each subsequent
     (ãd
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tt) 9o                                   violation;
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    bu       14     "            c.      Penalties under California Labor Code section 210 in addition to,
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             15                          and entirely independent and apart frorn, any other penalty provided
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             16                          in the California Labor Code in the amount of         a   hundred dollars
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             t7                          ($1OO; for each aggrieved ernployee per pay period for the            initial

             18                          violation, and two hundred dollars ($ZOO¡ for each aggrieved

             19                          employee per pay period for each subsequent violation; and

             20                  d.      Any and all additional penalties and sums as provided by the
             2T                          California Labor Code and/or other statutes.

             22          150.    Pursuant to California Labor Code section 2692(i), civil penalties

             23   recovered by aggrieved ernployees shall be distributed as follows: seventy-fîve percent

             24   (75%) to the Labor and Workforce Developrnent Agency for the enforcement of labor

             25   laws and education of ernployers and ernployees about their rights and responsibilities

             26   and twenty-five percent (25%) to the aggrieved etnployees.

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                   FI}ìSI.AMENDED CLASS ACTIoN CoMPI.AIN.T FOR DAMAGES & ENPORCT.JMEN'T UNDIIR TIIE PRIVAI'E ATI.ORNEYS
                              Gr,;NElìAL Acr, CALIFoRNIA LABOR CoDE $ 2698,81'SI]Q. AND DEM^ND FoR JTJRY TRIAL
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                I            151. Further, Plaintiff SMITH is entitled to seek and recover         reasonable

                2   attorneys' fees and costs pursuant to California Labor Code sections 2 10,218.5 and
                J   2699 and any other applicable statute.
                4                                  DEMAND FOR JURY TRIAL
                5            Plaintiff SMITH, individually, and on behalf of other members of the general
                6   public sirnilarly situated and on behalf of other aggrieved ernployees pursuant to the
                7   California Private Attorney General Act, and Plaintiff ALVAREZ, individually, and
                8   on behalf of other mernbers of the general public sirnilarly situated, request a frial by

                9   jury.
               r0                                      PRAYER FOR RELIEF
L'             1t            WHEREFOR-E, Plaintiff SMITH, individually and on behalf of all other
CL m
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I              l2   members of the general public similarly situated and on behalf of other aggrieved
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3              13   ernployees pursuant to the California Private Attorney General Act, and Plaintiff
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e   bo-o       14   ALVAREZ, individually, and on behalf of other rnembers of the general public
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      øc       l5   sirnilarly situated, pray for relief   and   judgrnent against Defendants, jointly and
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               t6   severally, as follows:
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               l7                                          CIass Certification

               18            1.    That this action be certified as a class action;
               T9            2.    That Plaintiff SMITH be appointed as the representative of the Class as to
               20   all Causes of Action;
               2l            3.    That Plaintiff AI-VAREZ be appointed as the representative of the Class
               22   as   to the First through Tenth Causes of Action;
               23            4.    That counsel for Plaintiffs be appointed as Class Counsel; and
               24            5.    That Defendants provide to Class Counsel irnmediately the names and
               25   rnost curent/last known contact inforrnation (address, e-mail and telephone nurnbers)

               26   of all class members.
               27

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                     FIIISl.AMËNDED Ct,AsjS ACTIoN COMPLAINl. I.OR DAMAGES & ENI.ORCEMENT IJNDËR THE PRIVATE ATTORNEYS
                                GUNËnnr. Acl , CAI-il'oRNlA LABOR CoDË $ 2698,8'|SEe. AND DEMAND rron Junv TR|RL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 94 of 114 Page ID #:94




              1                                  As to the First        use of Äction

              2          6.       That the Court declare, adjudge and decree that Defendants violated

              J   California Labor Code sections 510 and 1198 and applioable IWC Wage Orders by
              4   willf'ully failing to pay all overtime wages due to Plaintiffs and the other       class

              5   rnernbers;

              6          7.       For general unpaid wages at overtime wage rates and such general and
              7   special damages as may be appropriate;

              8          8.       For pre-judgment interest on any unpaid overtime compensation

              9   colnmencing frorn the date such amounts were due;
             10          9.       For reasonable attorneys' fees and costs of suit incurred herein pursuant to
(J                California Labor Code section     II94;
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rJ    orf)
      rN     12          10.      For civil penalties pursuant to California Labor Code sections 2699(a), (f         ,
      6d
.tt    -or
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:)    ¿'F    13   and (g); and
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e   E8       14          1   1.   For such other and further relief     as   the Court rnay deem just and proper.
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      !'õ    15                                As to the Second Ceuse of Action
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             16          12.      That the Court declare, adjudge and decree that Defendants violated
S
             11   California Labor Code sections 226.7 and 512 and applicable IWC Wage Orders by

             18   willfully failing to provide all rneal periods (including        second meal periods) to

             19   Plaintiffs and the other class members;
             20          13.      That the Court rnake an award to Plaintiffs and the other class tnembers of

             21   one ( t ) hour oll pay at each employee's regular rate of compensation for each workday

             22   that a meal period was not provided;

             23          14.      For all actual, consequential, and incidental losses and damages,
             24   according to proof;

             25          15.      For prerniurn wages pursuant to Califbrnia Labor Code section226.7(b);
             26          16.      For pre-judgment interest on any unpaid wages frorn the date such

             27   amounts were due;

             28          17.      For reasonable attorneys' fees and costs of suit incurred herein;
                                                                   t4
                   FIRST AMENDEO CIASS ACTION COIVIPININT'POR DNV¿CPS & ENFORCEMENI' IJNDERTHE PRIVATE ATI'OIìNEYS
                            GENERAL Ac , CALIT,oRNIA L^BoR CODË $ 2698,8.T SEQ, AND DEMAND I.OR JUIìY TIìIAL
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 95 of 114 Page ID #:95




               I              18.   For civil penalties pursuant to California Labor Code sections 2699(a), (Ð,

               2   and (g); and

               J              19.   For such other and further relief as the Court may deern just and proper.
               4                                      As to the Third Causq of Action

               5             20.    That the Court declare, ad.judge and decree that Defendants violated

               6   California Labor Code section 226.7 and applicable IWC Wage Orders by willfully
                   failing to provide all rest periods to Plaintiffs and the other class metnbers;
               8              21.   That the Court make an award to Plaintiffs and the other class rnembers              of
               9   one (1) hour of pay at each employee's regular rate of compensation for each workday

              10   thar" a   rest period was not provided;
(J
È   o cn
              11             22.    For all actual, consequential, and incidental losses and damages,
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    .N        12   according to proof;
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ttl   9o      l3         23.        For premium wages pursuant to California Labor Code section 226.1(b);
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              14                    For pre-judgrnent interest on any unpaid wages from the date such
É, qE         15   amounts were due;
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      s
              16             25.    For civil penalties pursuant to California Labor Code sections 2699(a), (f),

              T7   and (g); and

              18              26.   For such other and further relief as the Court may deem just and proper.
              19                                     As to   th_e   Fourth Cause of Action
              20             27.    That the Court declare, adjudge and decree that Defendants violated

              21   California Labor Code sections 1194,1t97, and 1197,1by willfully failing to pay
              22   minimurn wages to Plaintiffs and the other class members;
              23              28.   For general unpaid wages and such general and special darnages as may

              24   be appropriate;

              25              29.   For statutory wage penalties pursuant to California Labor Code section

              26   1197.1 for Plaintiffs and the other class members in the amount as may be established

              27   according to proof at trial;

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                    PIRST AMENDh]D CLASS     ACl.IoN CovpLnINr.rOR    DAH¿nCUS& ENTONCTMENT UNDEII TI.IE PNIVeTg ATTORNEYS
                                GENTRAT-   Acr, CALtI,orìNIA L^Borì CooE $ 2698,8t Srq. nruo DEMAND lìoR.luRy TtìtAL
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 96 of 114 Page ID #:96




            I          30.     For pre-iudgrnent interest on any unpaid compensation from the date such

            2   amounts were due;

            J          31.     For reasonable attorneys' fees and costs of suit incurred herein pursuant to

            4   California Labor Code section 1194(a);
            5          32.     For liquidated damages pursuant to California Labor Code section 1194.2;
            6          33.     For civil penalties pursuant to California Labor Code sections 2699(a), (f),
            7   and (g); and

            8          34.     For such other and further relief     as the Court   may deern just and proper.

            9                                  As to the Fifth Cause of Action

           i0          35.     That the Court declare, adjudge and decree that Defendants violated
(J         11   California Labor Code sections 201,202, and203 by willfully failing to pay all
EL   ¡n
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Uìs        12   compensation owed at the tirne of termination of the ernployment of PlaintifÏs and the
Eifl       13   other class rnembers no longer ernployed by Defendants;
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uáts                ' 36.      For all actual, consequential, and incidental losses and damages,
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PEË
I¡J fì ç   15   according to proof;

           16          37.     For statutory wage penalties pursuant to California Labor Code section
f"
=Ëö        T7   203 for Plaintiffs and the other class rnembers who have left Defendants' employ;

           18          38.     For pre-judgrnent interest on any unpaid compensation from the date such
           t9   amounts were due;

           20          39.     For civil penalties pursuant to California Labor Code sections 2699(a), (f),
           2t   and (g); and

           22          40.     For such other and further relief     as the   Court may deem just and proper,

           23                                  As to the Sixth Cause of Action

           24          41.     That the Court declare, adjudge and decree that Defendants violated
           25   California Labor Code section 204 by willfully failing to pay all compensation owed at
           26   the time required   by California Labor Code section 204 to Plaintiffs        and the other class

           27   rnembers;

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                 FIRST AMENDED CLASS ACTIoN CoMPT,AIN,I TìOIì DAMACES & ENFORCEMEN.T UNDER TNN PRIv¡,T¡ AT.IORNEYS
                          GENERAL ACT, CALIFOI{NIA LABOR CODE S 2698,8I SEQ. AND DEMAND }.OR JURY TRIAL
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           1            42.    For all actual, consequential, and incidental losses and damages,
           )   according to proof;
           J            43.    For pre-judgment interest on any unpaid colnpensation from the date such

           4   amounts were due;

           5            44.    For civil penalties pursuant to California Labor Code sections 2699(a), (Í),

           6   and (g); and

           7            45.    For such other and further relief as the Court may deem .just and proper.

           8                                As to the Seven        Cause of Action

           9            46.    That the Court declare, adjudge and decree that Defendants violated the

          10   record keeping provisions of California Labor Code section 226(a) and applicable IIWC
               .Wage
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CLm       11            Orders as to Plaintiffs and the other class members, and       willfully failed to
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uEs       12   provide accurate iternized wage statements thereto;
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          l3            47.    For actual, consequential and incidental losses and damages, according to
-rgõ
 ¡-{E
,Oc,l     14   proof;
p3€       15            48.    For statutory penalties pursuant to California Labor Code section 226(e);
Ësg
s"        16            49.    For iniunctive relief to ensure cornpliance with this section, pursuant to
<s
          17   California Labor Code section 226(Ð;
          18            50.    For civil penalties pursuant to California Labor Code sections 2699(a), (f),

          19   and (g); and

          20            51.    For such other and further relief       as the Court rnay deem   just and proper.

          2T                                 As to-the Eiehth Cause of Action

          22            52,    That the Court declare, adjudge and decree that Defendants violated

          23   California Labor Code section I 174(d) by rvillfully failing to keep accurate           and

          24   complete payroll records for Plaintiffs and the other class members as required by
          25   California Labor Code section n7a@);
          26            53.    For actual, consequential and incidental losses and darnages, according to
          27   proof;
          28             54.   For statutory penalties pursuant to California Labor Code section 1174.5;
                                                                3',7


                FIRST AVUI.IOED CLASS ACTION COMPI.AINT TON DRVIRCPS & ENFORCEMENT UNDER,IIIE PRIVATE Al.TOIìNEYs
                          GENERAI Afl, CAI.II'ORNIA LABOR COD}' {i 2698,8lSEQ. AND DEMAND FOR JURY TRIAL
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 98 of 114 Page ID #:98




              1
                               55     For civil penalties pursuant to California Labor Code sections 2699(a), (Ð,

              2   and (g); and

              J                56.    For such other and further relief as the Court may deetn just and proper.

              4                                        As to the Ninth Cause of Action

              5                57.    That the Court declare, adjudge and decree that Defendants violated

              6   California Labor Cocle sections 2800 and 2802 by willfully failing to reimburse
              1   Plaintiffs and the other class rnembers for all necessary business-related expenses                   as

              8   required by California Labor Code sections 2800 and 2802;

              9               58.     For actual, consequential ancl incidental losses and damages, according to

             10   proof;
IÊLm
   O
             11               59.     I;or the imposition of civil penalties andlor statutory penalties;

Ëen          12               60.     For reasonable attorneys' fees and costs of suit incurred herein;
h i*         l3               61.     For civil penalties pursuant to California Labor Code sections 2699(a), (f),
-rgõ
 ¡-{E
€.¡     ¿-   14   and (g); and

B5Ë          15               62,    For such other and further relief as the Court may deem just and proper,

Ëås          T6                                        As to the Tenth Cause of Action
f*           I7               63.    That the Court decree, adjudge and decree that Defendants violated

             18   California Business and Professions Code sections 17200, et seq. by failing to provide
             T9   Plaintiffs and the other class rnernbers all overtime cempensation due to them, failing
             20   to provide all rneal and rest periods to Plaintiffs and the other class members, failing to

             2T   pay aI least rninimum wages to Plaintiffs and the other class tnetnbers, failing to pay

             22   Plaintiffs' and the other class mernbers' wages tirnely              as required   by California Labor
             )?   Code section 201,202 and 204 and by violating California Labor Code sections 226(a),

             24   lI74(d),2800 and 2802.
             25                64.     For restitution of unpaid wages to Plaintiffs and all the other class

             26   mernbers and all pre-judgrnent interest frorn the day such amounts were due and

             27   payable;

             28
                                                                          Jô

                   I.-IIìST   AMENDgo CL,,rss Acl.IoN CoIr¿pInINr.Ton DnVAGTS & ENFOIìCËMEN]. UNDER 1.I-IE PRIVATE ATI.ORNEYS
                                 CeNsRnr- Ac'Ì', CALìFORNrA LABOR CooLi $ 2698,8't'SEQ.   DEMAND FoR JIJIìY'ItuAt,
                                                                                        ^ND
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 99 of 114 Page ID #:99




               1          65.      For the appointment of a receiver to receive, manage and distribute any

               2   and all funds disgolged frorn Defendants and determined to have been wrongfully

               J   acquired by Defendants as a result of violation of California Business and Professions

               4   Code sections 77200, et seq.;

               5          66.      For reasonable attorneys' fees and costs of suit incurred herein pursuant to

               6   California Code of Civil Procedure section IQZI.5;
               7          67   .   For injunctive relief to ensure compliance with this section, pursuant to
               8   California Business and Professions Code sections 1720Q, et seq.; and
               9          68.      For such other and further relief       as   the Court may deem just and proper.

              10                                 As to the                 Cause of Action
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o- co
   o
              11          69.      For civil penalties and wages pursuant to California Labor Code sections
   c{
¡¿l
(J    0J fn
              T2   2699(a), (f) and (g) and 558 plus costs and attorneys' fees for violation of California
tr
.n     .Ol

:)    9o
      r.=     13   Labor Code sections 201,202,203,2A4,226(a),226.7,510,                     5   IZ(a),Ill4(d),1194,
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e   -õ
    bu        14   II97 , tI97 .1, 1 198, 2800 and 2BA2; and
(t, 90
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    oro
              15          70.      For such other and further relief       as the   Court may deetn equitable and
      3r,
3     o       T6   appropriate.
f     <f

              17
                   Dated: October    30,2015                                    LAWYERS for JUSTICE, PC
              18

              I9
                                                                      By:
              20                                                                Edwin Aiwazian
                                                                                Attorneys for PIaintiff
              21

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                                                                      39

                    FIIìS]' AMENDTo CIess ACTIoN CoIr¡pL¡,IN.I I'OR DAMAGES & ENFORCEMDNT UNDT.]R.INT PITIVNTP ATI.ORNËYS
                               GENeual Acr, CAt-rFoRNtA t,AIloR CoDE $ 2698,8't'SEQ. AND DEMAND roR Junv TruRl
  Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 100 of 114 Page ID #:100




                     I                                               PROOF'OF SERVICE
                 2       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                 5
                                I am ernployed in the County of Los Angeles, State of California. I am over the age of I 8
                 4       and not a party to the within action. My business address is 4 I 0 West Arden Avenue, Suite 203,
                         Glendale, California 91203.
                 5
                              On October 30,2015, I served the foregoing document(s) described as: FIRST
                 6
                         AMENDED SUMMONS AND FIRST AMENDED CLASS ACTION COMPLAINT F'OR
                 7       DAMAGES & ENFORCEMENT UNDER THE PIIIVATE ATTORNEYS GENERAI,
                         ACT, CALIFORNIA LABOR CODE $2698, ET SEQ. on interested parties in this action by
                 8       placing a true and correct copy thereof enclosed in a sealecl envelope addressed as fsllows:

                 9       Brian Miils
                         Snell & Wilmer LLP
                10
                         600 Anton Boulevard, Suite 1400
                11       Costa Mesa, California 92626-7689
U
 õôN
Ê;ì
ii      o .fr
                12       A t t or n ey s   for Defendants
\r,, -{i o
Hf,N
f¡r/)il
(h9ø            13       National Registered Agents, Inc.
HJ'=
IJCF
r-9õ                     818 West Seventh Street, Suite 930
 - tþ           T4
                         Los Angeles, Californi a 90017
Ø'T       -E'   15
lÉl s -ó                 Agent             Service of Process for Defendants
r-ìØC
F(oo
                                  for
>3õ
>o              t6
                T7
                         lxl        BY u.s. MArL
                                    As follows: I am "readily familiar" with the firm's practice of collection and processing
Ê
                                    coruespondence for mailing. lJnder that practice, it would be deposited with U.S. Postal
                18
                                    Service on that day with postage thereon fully prepaid at l,os Angeles, California in the
                T9                  ordinary course of business. I am aware that on motion of the party served, service is
                                    presumed invalid if postal cancellatiorr date or postage meter date is more than one day
                20                  after date of deposit for mailing an affidavit.

                2t       txl        STATE
                ))                  I declare under penalty of perjury under the laws of the   State of California that the above
                                    is true and correct.
                23
                                    Executed on October 30,20L5, at Glendale, California.
                24

                25
                                                                         Rebecca Bock
                26

                27

                28



                                                                       PRooF oF SERVICB
Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 101 of 114 Page ID #:101




                                                       Exhibit 3
 Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 102 of 114 Page ID #:102




                    I   Brian J. Mills (#216078)
                        Attne l)rvycr' (/128tì2 t 6)
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                 2      SNEt,L & WiLMAI{ L.L.P.
                        600 Anton Blvd, Suite 1400
                 J      Costa Mesa, Califomia 926?6-7689
                                                                                                     ì11ü      it,:    ill15
                        'l'clcphonc: 714.427.7000
                 4      lracsinrile; 714.427.7199                                                   iî. Fl*rrrf""¡l¡*x
                 5      Attorneys for Dclcnclants
                        Dianlond Resol'ts Mnnn¡:,crncut, Inc. and
                 6      Diamond Resclr(s lnteruãtional

                 7

                 I                         STIPERIOR COIJRT OF THE ST,,\TE, OF CALIFORNIA

                 9                                          COUNTY OIì RIVÐRSIDE
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                        bchall' of' othcr nlcnibcrs ol' the þcneral
                        public sirnilarly situttccl nncl on bchnlf'of"      Hoti,    Sharon J. Waters
FIBi                    otltcr aggrievccl cnrployces pr¡rsu¿lnt to tllc     Dnpr.    10
Fi'#fi         l3       Cal i f'ornia Pri vate,,\ttorncys C crr eral Act;
glii           t4
                        AL.lCliì ALV¡\RllZl individually. arrcl o¡r
                        llchall'oI"otl¡or nrcnibcrs of thc [úncrtrl
                                                                            DEFENDANTS DIAMOND RESORTS
                                                                            MANAGNMENT,INC, AND
u-J   I   gÍ            public si rtti lar[¡' situated;                     DÍAMOND RESORT'S
ät'B           l5                                                           INT'IIRNATIONAL'S ANSWE R TO
                                            Plaintiffs,                     PLAINTIF'IÌS' IIIRST AIVIEN ÐED
               t6                                                           CLASS ACTION COMPLAINT
                                V
               t7
                        DIAMOND RBS O]ìTS MANAGI]IVIEN T,                   Dnre oF lìrr,rNc:         .Â.ugust 28, 2015
               l8       INC.. an u¡rl<norvn business entity;                Trunt,   D¿'ln:          No Date Set
                        DIAMOND R]]SOIII'S
               r9       INTIRNATIONAL, an unknorvn business
                        entity; and DOIIS I through 100, inclusive,
               20
                                            Dcfendants.
               2t
               1')

               /.J              Defcndants Diamond lìesorts Management, Inc. ancl DizunonclResorts

               24       International ("Dcl'endatrts") hercby answer thc unvcrified lTirst Amcndcd Complaint

               25       ("Cotnplaint") of plaintiffs Autunrn Snrith and Alice Alvarez. ("Plaintiffs") as follows

               26
               an              Ljndcr the provisions of $ 431.30(d) of the Califomia Clode of Civil Proccclure,
               ¿t

               28       Def'endants detry each and every allegation, both specifically andgenerally, of eaclr cause


                                                DETENDANTS' ANSWER TO PT"AINTIFFS' COMFLAINT
      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 103 of 114 Page ID #:103




              1   of action contained in Plaintiffs' Complaint on file herein and the whole thereof, and deny
             2    that Plaintiffs were damaged in any sum or sums, at all.

             J

             4                                      AFFIRMATIVE DEF'ENSES
             5                                   TßËl ATFIRMêUV, p DEFpNSE
             6               The Complaint and each of its purported causes of action fail to state facts

             7    suffrcient to constitute a cause or causes of action against Defendants.

             I
             9                                 SRçQND      A-.AHT.RMí+T   TVP DEFE   ¡"{q   E
            10               As a further and separate affirmative defense, the Complaint, as well as each
            11    purported cause of action therein, is baned by the applicable statute of limitations
&
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       3
,à    sÊ    1,2   including, but not limited to, California Code of Civil Procedure $$ 338(a) & (c) and 340,
'l
F g Øz
    Qö      13    California Labor Code $ 2699, and California Business and Professions Code $ 17208.
,4  ÁH
      äd
j     ìr¡
      äg    t4
F.l   ¡5a
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V)
       t¿
       U    15                                   THIRD AFFIRMATIVE DEFENSE.
            16               As a further and separate affirmative defense, Plaintiffs' claims are barred, in
            l7    whole or in part, to the extent Plaintiffs failed to exhaust required administrative remedies
            18    and/or to the extent their claims exceed the claims raised in any complaint or charge filed.

            r9
            20                                 FOURTH AI'FTRMATTYE DET'EI..IS4
            2t               As a further and separate afftrmative defense, Plaintiffs acknowledged, ratiflred,
            22    consented to, and acquiesced in the alleged acts or omissions, if any, of Defendants, thus

            23    barring Plaintiffs from any relief as prayed for herein.

            24

            25                                   rrFIH   ATTTRM_ATIy*E_p. S F Er\{ $E

            26               As a further and separate affirmative defense, Defendants allege that any and all
            27    conduct of which Plaintiffs complain and which is attributed to Defendants was         a   just and

            28    proper exercise of management's discretion and was undertaken for a fair and honest
                                                                   -2-
                                            DEFENDANTS' ANSWER TO PLAINTIFFS' COMPLAINT

                  11^nO41i
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 104 of 114 Page ID #:104




             I   reason.

             2

             3                                   SIXTII å EFIBMATTYE pE FErr-{"s p
             4              As a further and separate affirmative defcnse, the practices of which Plaintiffs
             5   complain were and are not unlawful.

             6

             7                                S_E*)1-E   I-'ITH   A{N'"IRIIATIYE DEFEN s q
             I              As a further and separate afÍîrmative defense, Defendants allege that their conduct
             I   with respect to Plaintiffs, and other purported class members and "aggrieved employees",
            10   was at all times justified and/or privileged under state or federal law.

ú.      s
            11

Hles        t2                                 EIGHTH AFFIRMATIYE DEFENSE
-lleä
FlËÉ        13              As a further and separate affirmative defense, Plaintifß' Complaint fails to state

Éigå        t4   facts sufficient to constitute a cause of action upon which relief can be granted because

ä luå       1s   Plaintiffs, and other purported class members and "aggrieved employees", received proper
            T6   payment for all time worked and/or all compensable time.

            t7
            18                                  NINTH- AFTIRMATIY''E. DE FENS E
            T9              As a further and separate affirmative defense, Plaintiffs have failed to set forth a
            2A   prima facie case that Defendants violated any of the statutes or wage orders upon which

            2t   Plaintifß rely.
            22

            23                                  TE-TTTH AFNTBS{AT IY.P_ ÐETEN         S   4"

            24              As a further and separate affirmative defense, Defendants allege that Plaintiffs'
            25   Complaint fails to state facts sufficient to constitute a cause of action upon which relief
            26   can be granted because Plaintiffs, and other purported class members and "aggrieved

            27   employees", were at all times provided with legally-compliant meal periods, including a

            28   second meal period when entitled to one.
                                                                       -3-
                                           DEFENDANTS' ANSWER TO PLAINTIFFS' COMPLATNT

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    Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 105 of 114 Page ID #:105




           I                           ETEVENTH AF'IIRM,ATIYH p4T'pNS.H
           2          As a further and separate affirmative defense, Defendants allege that Plaintiffs'

           3   Complaint fails to state facts sufficient to constitute a cause of aotion upon which relief
           4   can be granted beoause, to the extent Plaintiffs, and other purported class members and
               o'aggrieved employees", ffiây not have
           5                                          taken a full, unintenupted and timely meal periods,

           6   Plaintiffs, and other purported class members and "aggrieved employeeso', voluntarily
           7   waived such meal periods.

           I
           9                                                            vE   p       FEN sE
                                       T)4{p.t,aTrr   A   HF.'IRM-#Lr            E

          10          As a further and separate affirmative defense, Defendants allege that Plaintíffs'
          11   Complaint fails to state facts sufficient to constitute a cause of açtion upon which relief

ÉrsË      12   can be granted because Plaintiffs, and other purported class members and "aggrieved

FlåË      13   employees", were at all times provided with legally-compliant rest periods.

ÉiËã      t4
å   luË   15                         THIRTEENTH AFFIRMATIVE DEFENSE
          16          As a further and separate affirmative defense, Defendants allege that Plaintifß'
          T7   Complaint fails to state facts sufticient to constitnte a cause of action upon which relief
          18   can be granted because, to the extent Plaintiffs, and other purported class members and

          t9   "aggrieved employees'n, ffiây not have taken a full, unintemrpted and timely rest periods,
          20   Plaintiffs, and other purported class members and'oaggrieved employees", voluntarily
          2l   waived such rest periods.
          22

          23                         FQT]BTEHNffi"*AHAISMATIY...E.PS"FEI{qS
          24          As a further and separate afflrmative defense, Defendants allege that Plaintiffs are
          25   not entitled to recover penalties, the existence of which are specifically denied, as

          26   Defendants acted in good faith and had reasonable grounds to believe they were not

          27   violating applicable state and/or federal law.
          28
                                                              -4-
                                     DEFENDANTS' ANSWER TO PLAINTIFFS' COMPLAINT
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          I
          2           As a further   r"O                                                        mission of any
          J   violation of law, Defendants allege that any failure to timely pay wages was not willful
          4   and therefore the Complaint fails to state a claim for penalties under the Califomia Labor

          5   Code.

          6

          7                               S",I-N   #.PNTII A*HFIRMATIVE DPFEIYSE
          I           As a further and separate affirmative defense, Defendants allege that Plaintiffs, and
          9   purported class members and'oaggrieved employees", \ilere provided with compliant

         t0   itemized wage statements.

         11

Ël'fi    t2                          S   HY,{].ì{TP ENTT{    ANFI4MATIVq D.EF.HIfi -q
FlåË     13           As a further and separate affirmative defense, Defendants allege that Plaintiffs' and
,øi*ä
Jläd     t4   purported class members and "aggrieved employees", claims are barred, in whole or in
P l8Ë
(Í)' ð   15   part, to the extent Plaintiffs, and the purported class members and "aggrieved employees",

         16   have released them.

         T7

         18                           E-IGHÏE ENTH AF'F'IRMATI.VE DEFENSE
         19           As a further and separate affirmative defense, Plaintiffs have failed to satisfy the
         20   prerequisites for class certification or a representative action and, therefore, cannot

         2t   represent the interests ofothers

         22

         23                              I{INET-B   E   NTII A]FFIBM ATIYH.   ".qPH"E
                                                                                        N   S   E
         24           As a further and separate affirmative defense, certain of the interests of the
         25   proposed class members and the proposed "aggrieved employees" are in conflict with

         26   interests of all or certain sub-groups of the members of the alleged class of persons which

         27   Plaintiffs purports to represent, the existenoe of which is expressly denied,
         28
                                                                 5
                                     DEFENDANTS' ANSWER TO PLAINTIFFS' COMPLAINT
     Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 107 of 114 Page ID #:107




           1                              T\ryENTIETH AF'F'IRMATIVE DEF'ENSE
           2               As a further and separate affirmative defense, Defendants allege Plaintiffs are not
           3   adequate representatives of the alleged class or tho "aggrieved employees".

           4

           5                            T,Y"vRN.TX:{IRÇT     AHIIßMATIYH RFFHI'{S4
           6               As a further and separate affrrmative defense, Defendants allege Plaintifß' claims
           7   are not common or typioal of the putative class        Plaintifß seek to represent.
           I
           9                           TW4 NT Y- SE C q ND*A F',,4'IRM-ATTVE pEFpNSE
          10               As a further and separate affirmative defense, Defendants allege the types of claims
          ll   alleged by the named Plaintiffs on behalf of themselves and the putative class members
Ët,8      I2   are matters to     which individual questions predominate and, accordingly, are not
*llpâ
'5 lËs
ÈËåäã     13   appropriate for class or representativo treatment.
,øiE3
ilid      t4
ä   luË   15                            TWENTY.THTRD AF'FIRMATIVE DEF'ET{SE
          t6               As a further and separate afflrrmative defense, Defendants allege the class of
          T7   persons that the named Plaintifß purport to represent is not so nulnerous that joinder is

          18   impracticable.

          19

          20                           TW ENT Y-.TOI.JRTH AF'FIRiVIATI VE          D P"F.HN.Ë   --
          2t               As a further and separate affirmative defense, Defendants allege there is not    a

          22   community of interest among the purported class members.
          23

          24                            r JYFNT,yTFLSTH AnHIßMAJrYp pE FD NS E"
          25               As a further and separate afÍirmative defense, Defendants allege there is not    a   risk
          26   of substantial prejudice from separate actions.
          27

          28
                                                                -6-
                                         DEFENDANTS' ANSWER TO PLAINTÏFFS' COMPLAINT

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      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 108 of 114 Page ID #:108




            I                           TWENTY:SIXIIT AFFIRMATIVE DEF'ENS-E
            2              As a further and separate affirmative defense, Defendants allege Plaintiffs lack
            3   standing to assert some or all of the causes of action against the Defendants.

            4

            5                         TW-ENTY: S EYElf TIf, AFTIRMA.TIY_E .p E FE        NS   E
            6              As a further and separate affirmative defense, although Defendants deny that they
            7   committed or have responsibility for any act that could support recovery under the PAGA,

            I   if and to the extent, any such liability is found, recovery   against Defendants under PAGA

            9   is unconstitutionally excessive and violates Defendants' due prooess rights.

           l0
           ll                          T\ryE   NrY-äç_ HTH 4,F4IRn4ATIyH          P4.F ENS E
Ér*Ë
   p3      t2              As a frrther and separate affirmative defense, Plaintiffs, and the individuals on
-ll
Fläå       13   whose behalf Plaintiffs seek relief, are not entitled to recovery of penalties under PAGA

EiËl       t4   to the extent that such penalties are sought in addition to penalties for the same claims and
älsfiö
u)'        15   such duplicative recovery is baned and constitutes unjust enrichment.

           16

           t7                           T]YENTY-NINTH AFFIRMATIYE DEFENSE
           18              As a further and separate afärmative defense, Plaintiffs' complaint and each and
           19   every cause of action alleged therein against Diamond Resorts International is barred in

           20   that Plaintifß were not employed by Diamond Resorts International during the relevant

           2l   times alleged in the Complaint.

           22

           23                              THIRITpIH aF{IßMAJI yR             .ÐHR mf'{,S*

           24              Discovery in this matter may reveal basis for an avoidance or affrrmative defense.
           25   Defendants reserve the right to amend this answer to plead such affirmative defenses

           26   should they be discovered.

           27   l/t
           28
                                                                 -7 -
                                          DEFENDANTS' ANSWER TO PLAINTIFFS' COMPLAINT

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             Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 109 of 114 Page ID #:109




                     I   WHEREFORE, Defendants pray           as   follows:
                     2              1.   That Plaintiffs take nothing by reason of their Complaint;

                     )              2,   That the Complaint be dismissed in its entirety with prejudice;

                     4              3.   That judgment be entered for Defendants; and

                     5              4.   That Defendants be awarded their reasonable attorneys' fees, costs and other

                     6   expenses incurred in connection    with the defense of the action.
                     7

                     8   Dated:Decemberi ,2015                                SNELL &, WILMER L.L.P.
                     9

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                                                DEFENDANTS' ANSWËR TO PLAINTIFFS' COMPLAINT

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      Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 110 of 114 Page ID #:110




            I                                                I'ROOF OF SE-RVICE
            2                                 Smith v, Diamond Resorts Management, Inc., et al.
                                           Riverside County Superior Court - Case No. RIC1510389
            â
            J

            4           I am employed in the County of Orange, State of California. I am over the age of 18, and
                not a party to the within action. My business address is Snell & Wilmer, 600 Anton Blvd,, Suite
            5   1400, Costa Mesa, California 92626-7689.

            6            On December 3, 2015 I caused to be served the foregoing document(s) desuibed as
                DEFDNDANTS DIAMOND RESORTS MANAGEMENT,INC. AND DIAMOND
            7   RESORTS INTERNATIONAL'S ANS\ryER TO PLAINTIFFS' FIRST AMENDED
                CLASS ACTION COMPLAINT upon the interested parties by placing a true and conect copy
            8   thereof in a sealed envelope(s) addressed as follows:

            9         Edwin Aiwazian, Esq.                                       Attorneys for Plaintiffs
                      410 Arden Ave., Ste. 203
           l0         Glendale, CA9l203                                          Tel:   (818) 265-1020

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           1l
Hlç*       t2                    VIA ELECTRONIC MAIL \ryHERE INDICATED: Pursuant to C.R.C. 2060,I                     served
                                 the foregoing document described by emailing to it each of the aforementioned electronio
ËIËä       13                    mail addresses and the transmission was reported as complete and without eruor.

EîäË       t4        X           BY MAIL¡ I caused such envelope, with postage thereon fully prepaid, to be placed in the
                                 United States mail at Costa Mesa, California, I am readily familiar with the praotice of
    lug                          collection and processing correspondence for mailing. Under that practice, it would be
ä          15                    dcposited with the United States Postal Service on that same day with postage thereon fully
                                 prepaid at Costa Mesa, California in the ordinary Çourse of business. I am aware that on
           16                    motion of the party served, service is presumed invalid if postal cancellation date or postage
                                 meter date is more than one day after date of deposit for mailing in affidavit.
           17
                                 BY FÀCSIMILE: I caused said documen(s) to be transmitted to a facsimile machine
           18                    maintained by the office of the addressee(s) at the faosimile machine number(s) indicated.
                                 Said facsimile nunrber(s) are the most recerìt numbers appearing on doouments filed and
           19                    served by the addressee(s). I received electronic confirmation from the facsimile machine
                                 that said document was successfully transmitted without error. A copy of said electronic
           2A                    confinnation is maintained in this office.
                                 SERVED BY PERSONAL DELIVERY: I oaused to be upon served the following
           2T                    persons and/or entities by personal delivery.

           22                    BY OVERNIGHT DELIV RY: I am readily farniliar with the practice of                  fbr the
                                 collection and processing ofcorrespondence for overnight delivery and know that the
           23                    document(s) described herein will be deposited in a box or other facility regularly
                                 maintairred by the overnight delivery canier.
           24                    STATE: I declare under penalty of perjury under the laws of the State of California that the
                                 above is true and correct.
           25
                             Executed on December 3, 2015, at Costa                California.
           26

           27                                                          ¡\
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                                                                 PROOF OF SERVICE

                2303?033.1
Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 111 of 114 Page ID #:111




                                                       Exhibit 4
         Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 112 of 114 Page ID #:112



            I   Brian J. Mills (#2 I 6078)
                Anne           #2882r6)
            2   SNELL                  L.L.P
                600 Anton Blvd, Suite 1400
            3   Costa Mesa, California 92626-7689
                Telephone: 714.427.7000
            4   Facsimile: 714.427.1799
            5   Attorneys for Defendants
                Diamond Resorts Management, Inc. and
            6   Diamond Resorts International

            7

            I                   SUPEzuOR COURT OF THE STATE OF CALIFORNIA
            9                                   COTINTY OF RIVERSIDE
           10

           t1   AUTLMN SMITH; individually,       and on         Case No. zuC I 5 I 03 89
glcr            behalf of other members of the general
JleS       t2   oublic similarlv situated and on behalf of        NOTICE TO ADVERSE PARTY OF
                'other aggrieveá employees pursuant to the        REMOVAL TO FEDERAL COURT
"=l!s
> L?e,     13   Califorñia Private Ättorneyô General Act;
gîäË            ALICE ALVAREZ; individually, and on
           T4   behalf of other members of the general
                public similarly situated;                        FrLpo:         Au5.28,2015
âluË       15                                                     TRrnl DnrB     None set
                                 Plaintiffs,
           t6
                      v
           t7
                DIAMOND RESORTS MANAGEMENT,
           18   INC., an unknown business entity;
                DIAMOND RESORTS
           19   INTERNATIONAL, an unknown business
                entity; and DOES 1 through 100, inclusive,
           20
                                 Defendants.
           2T

           22

           23          TO THE, CLERK OF THE COURT AND ALL PARTIES AND THEIR

           24   ATTORNEYS OF RECORD:

           25          PLEASF TAKE NOTICE that aNotice of Removal of this action was filed in the

           26   in the ljnited States District Court of the Central District of California on Decembet 4,

           27

           28   ut
                                           NOTICE TO ADVERSE PARTY OF REMOVAL
            Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 113 of 114 Page ID #:113



                I   2015. A copy of the Notice of Removal is attached to this Notice and served and filed
                2   herewith.

                3

                4   Dated:Decembe{ ,2015                             SNELL & WILMER L.L.P
                5

                6                                                    By
                                                                               J     lls
                l                                                         Anne Dwyer
                                                                          Attorneys for Defendant
                8                                                         Diamond Resorts Management, Inc.
                                                                          and Diamond Resorts International
                9

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                                              NOTICE TO ADVERSE PARTY OF REMOVAL
             Case 5:15-cv-02477-VAP-SP Document 1 Filed 12/04/15 Page 114 of 114 Page ID #:114



                 I                                                PROOF OF SERVICE
                                                     Smith v. Diamond Resorts Management, Inc., et al
                 2

                 J
                             I am employed in the County of Orange, State of California. I am over the age of 18, and
                 4   not a party to thé within action. My business address is Snell & Wilmer, 600 Anton Blvd., Suite
                     1400, Costa Mesa, California 92626-7689.
                 5
                             On December 4,2015 I caused to be served the foregoing document(s) described as
                 6
                     NOTTCE OF REMOVAL OF ACTION UNDER 28 U.S.C. S$1441(B) (DIVERSITY) &
                     1453 (CLASS ACTION) upon the interested parties by placing a true and correct copy thereof in
                     a sealed envelope(s) addressed as follows:
                 7
                          Edwin Aiwazian, Esq.                                          Attomeys for Plaintiffs
                 8
                          410 Arden Ave., Ste. 203
                 9        Glendale, CA91203                                             Tel:  (818) 265-1020
                                                                                        edwin@lûpc.com
                10

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ú
f!                                      VIA ELECTRONIC MAIL WHERE INDICATED:                      Pursuant to C.R.C. 2060,I served
     leË        t2                      the foregoing document described by emailing to it each of the aforementioned electronic

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     a*,        13
                                        mail addresses and the transmission was reported as complete and without error.
                                        BY MAIL: I caused such envelope, with postage thereon fully prepaid, to be placed in the
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       6u^                              United States mail at Costa Mesa, California. I am readily familiar with the practice of
 J              t4
 J                                      collection and processing correspondence for mailing. Under that practice, it would be
 ç!
 z lãË                                  deposited with the United States Postal Service on that same day with postage thereon fully
(t)             15                      prepaid at Costa Mesa, California in the ordinary course of business. I am aware that on
                                        motion of the party served, service is presumed invalid if postal cancellation date or postage
                t6                      meter date is more than one day after date of deposit for mailing in affidavit.

                t7                      BY FACSIMILE: I caused said document(s) to be transmitted to a facsimile machine
                                        maintained by the office of the addressee(s) at the facsimile machine number(s) indicated.
                18
                                    .   Said facsimile number(s) are the most recent numbers appearing on documents filed and
                                        served by the addressee(s). I received electronic confirmation from the facsimile machine
                t9                      that said document was successfully transmitted without eror. A copy of said electronic
                                        confirmation is maintained in this office.
                20                      SERVED BY PERSONAL DELIVERY: I caused to be upon served the following
                                        persons andlor entities by personal delivery.
                2t
                                        BY OVERNIGHT DELMRY: I am readily familiar with the practice of                       for the
                                        collection and processing of correspondence  for overnight delivery and  know  that the
                22
                                        document(s) described herein will be deposited in a box or other facility regularly
                23                      maintained by the ovemight delivery carrier.

                24
                         X              STATE: I declare    under penalty of perjury under the laws of the State of California that the
                                        above is true and conect.

                25                Executed on December 4,2015, at Costa Mesa, California.

                26                                                            /s/Anne Dwver
                                                                              Anne Dwyer
                27

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                                                                        PROOF OF SERVICE

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